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                    EXHIBIT A
                 Purchase Agreement
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([KLELW)            9RWH6KDULQJ$JUHHPHQW
([KLELW*            %X\HU¶V2IILFHU¶V&HUWLILFDWH
([KLELW+            6HOOHU¶V2IILFHU¶V&HUWLILFDWH
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XWLOLW\FRUSRUDWLRQ ³Seller´ %X\HUDQG6HOOHUDUHVRPHWLPHVUHIHUUHGWRKHUHLQLQGLYLGXDOO\DVD
³Party´DQGFROOHFWLYHO\DVWKH³Parties´

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IDFLOLW\ORFDWHGLQ&ROVWULS0RQWDQD ³Colstrip Unit 4´ DQGLQDOODVVRFLDWHGUHDOSURSHUW\
HTXLSPHQWFRPPRQUHDOSURSHUW\DQGFRPPRQHTXLSPHQWDQGIDFLOLWLHVDQGDOOULJKWVLQFLGHQWDO
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                :+(5($66HOOHUGHVLUHVWRVHOODQGFRQYH\WR%X\HUDQG%X\HUGHVLUHVWR
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        ³AAA´LVGHILQHGLQ6HFWLRQ D 

       ³Action´PHDQVDQ\DFWLRQVXLWLQYHVWLJDWLRQRIZKLFK6HOOHUKDV.QRZOHGJH
SURFHHGLQJFRQGHPQDWLRQRUDXGLWE\RUEHIRUHDQ\FRXUWRURWKHU*RYHUQPHQWDO$XWKRULW\RU
DQ\DUELWUDWLRQSURFHHGLQJ

        ³Ad Valorem Property´LVGHILQHGLQ6HFWLRQ D 

        ³Affiliate´PHDQVDVWRWKH3HUVRQVSHFLILHGDQ\3HUVRQFRQWUROOLQJFRQWUROOHGE\RU
XQGHUFRPPRQFRQWUROZLWKVXFKVSHFLILHG3HUVRQ7KHFRQFHSWRIFRQWUROFRQWUROOLQJRU
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SRZHUWRGLUHFWRUFDXVHWKHGLUHFWLRQRIWKHPDQDJHPHQWDQGSROLFLHVRIDQRWKHUZKHWKHU
WKURXJKWKHRZQHUVKLSRIYRWLQJVHFXULWLHVE\FRQWUDFWRURWKHUZLVH1R3HUVRQVKDOOEHGHHPHG
DQ$IILOLDWHRIDQ\3HUVRQVROHO\E\UHDVRQRIWKHH[HUFLVHRUH[LVWHQFHRIULJKWVLQWHUHVWVRU
UHPHGLHVXQGHUWKLV$JUHHPHQW

       ³Agreement´LVGHILQHGLQWKHSUHDPEOH

       ³Allocation Dispute Notice´LVGHILQHGLQ6HFWLRQ

       ³Allocation Dispute Notice Response´LVGHILQHGLQ6HFWLRQ

        ³AOC´PHDQVWKHPHDQVWKH$GPLQLVWUDWLYH2UGHURQ&RQVHQW5HJDUGLQJ,PSDFWV
5HODWHGWR:DVWHZDWHU)DFLOLWLHV&RPSURPLVLQJWKH&ORVHG/RRS6\VWHPDW&ROVWULS6WHDP
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        ³Assignment and Assumption Agreement´PHDQVDQ$VVLJQPHQWRIWKH0DWHULDO
&RQWUDFWVIURP6HOOHUWR%X\HUWREHGDWHGDVRIWKH&ORVLQJ'DWHDQGVXEVWDQWLDOO\LQWKHIRUP
VHWIRUWKRQ([KLELW$

       ³Assumed Liabilities´LVGHILQHGLQ6HFWLRQ

        ³Business Day´PHDQVDQ\GD\ZKLFKLVQRWD6DWXUGD\6XQGD\RUOHJDOKROLGD\LQWKH
VWDWHRI0RQWDQD

       ³Buyer´LVGHILQHGLQWKHSUHDPEOH

       ³Buyer’s Consents´PHDQVWKHFRQVHQWVILOLQJVDQGQRWLFHVUHTXLUHGWREHREWDLQHGE\
%X\HUDQGGHOLYHUHGDWWKH&ORVLQJDVOLVWHGRQ6HFWLRQ

       ³Buyer Fundamental Representations´PHDQVWKHUHSUHVHQWDWLRQVDQGZDUUDQWLHVRI
%X\HUVHWIRUWKLQ6HFWLRQ 2UJDQL]DWLRQDQG4XDOLILFDWLRQ 6HFWLRQ $XWKRULW\ 
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       ³CCR Rules´PHDQVWKRVH(QYLURQPHQWDO/DZVUHODWLQJWRWKHUHOHDVHGLVFKDUJH
GLVSRVDOVWRUDJHUHPHGLDWLRQRUUHPRYDORIFRDOFRPEXVWLRQUHVLGXDOVLQFOXGLQJWKRVHUXOHV
LVVXHGE\WKH8QLWHG6WDWHV(QYLURQPHQWDO3URWHFWLRQ$JHQF\SXUVXDQWWRVXEWLWOH'RIWKH
5HVRXUFH&RQVHUYDWLRQDQG5HFRYHU\$FW

        ³Closing´PHDQVWKHFRQVXPPDWLRQRIWKHWUDQVDFWLRQFRQWHPSODWHGE\WKLV$JUHHPHQWDV
IXUWKHUGHILQHGLQ6HFWLRQ

       ³Closing Date´LVGHILQHGLQ6HFWLRQ

       ³Closing Documents´PHDQVWKHGRFXPHQWVWREHGHOLYHUHGE\%X\HUDQG6HOOHUDWWKH
&ORVLQJLQDFFRUGDQFHZLWK6HFWLRQDQG6HFWLRQUHVSHFWLYHO\




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       ³Code´PHDQVWKH,QWHUQDO5HYHQXH&RGHRIDVDPHQGHG

       ³Colstrip 4 Interests´LVGHILQHGLQWKH5HFLWDOVDQGIXUWKHUGHILQHGLQ6HFWLRQ

        ³Colstrip Unit 3´PHDQVWKHFRDOILUHGWKHUPDOJHQHUDWLQJSODQWFRPPRQO\UHIHUUHGWRDV
&ROVWULS8QLWORFDWHGQHDU&ROVWULS0RQWDQD

       ³Colstrip Unit 4´LVGHILQHGLQWKH5HFLWDOV

        ³Colstrip Units 1 & 2´PHDQVWKHFRDOILUHGWKHUPDOJHQHUDWLQJSODQWFRQVLVWLQJRIWZR
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         ³Commercially Reasonable Efforts´PHDQVHIIRUWVZKLFKDUHUHDVRQDEO\QHFHVVDU\WR
FDXVHRUDVVLVWLQWKHFRQVXPPDWLRQRIWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKLV$JUHHPHQWDQG
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$JUHHPHQW

      ³Committee´KDVWKHPHDQLQJDVVLJQHGWRLWXQGHUWKH2ZQHUVKLSDQG2SHUDWLRQ
$JUHHPHQW

      ³Common Facilities´KDVWKHPHDQLQJDVVLJQHGWRLWXQGHUWKH2ZQHUVKLSDQG2SHUDWLRQ
$JUHHPHQW

       ³Common Facilities Interest´LVGHILQHGLQ6HFWLRQ E 

       ³Confidentiality Agreement´LVGHILQHGLQ6HFWLRQ

       ³Damages´LVGHILQHGLQ6HFWLRQ

        ³Debt´RIDQ\3HUVRQPHDQVDWDQ\GDWHZLWKRXWGXSOLFDWLRQ L DOOREOLJDWLRQVRIVXFK
3HUVRQIRUERUURZHGPRQH\ LL DOOREOLJDWLRQVRIVXFK3HUVRQHYLGHQFHGE\ERQGVGHEHQWXUHV
QRWHVRURWKHUVLPLODULQVWUXPHQWV LLL DOOREOLJDWLRQVRIVXFK3HUVRQWRSD\WKHGHIHUUHG
SXUFKDVHSULFHRISURSHUW\RUVHUYLFHVH[FHSWWUDGHDFFRXQWVSD\DEOHDULVLQJLQWKHRUGLQDU\
FRXUVHRIEXVLQHVVDQGSD\DEOHQRWPRUHWKDQPRQWKVIURPWKHGDWHRILQFXUUHQFH LY DOO
REOLJDWLRQVRIVXFK3HUVRQDVOHVVHHXQGHUDQ\OHDVHRIDQ\SURSHUW\ ZKHWKHUUHDOSHUVRQDORU
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REOLJDWLRQVRIVXFK3HUVRQWRUHLPEXUVHRUSUHSD\DQ\EDQNRURWKHU3HUVRQLQUHVSHFWRIDPRXQWV
SDLGXQGHUDOHWWHURIFUHGLWEDQNHU¶VDFFHSWDQFHRUVLPLODULQVWUXPHQW YL DOO'HEWRURWKHU
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VHFXULW\LQWHUHVWRUHQFXPEUDQFHRIDQ\NLQGRQDQ\DVVHWRIVXFK3HUVRQZKHWKHURUQRWVXFK
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UHSRVVHVVLRQRUVDOHRIWKHSURSHUW\RUDVVHWVFRYHUHGWKHUHE\ DQG L[ DOO'HEWRURWKHU
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LQFOXGLQJZLWKRXWOLPLWDWLRQDQ\JXDUDQWHH

       ³Disclosure Schedule´LVGHILQHGLQWKHSUHDPEOHRI$57,&/(

       ³Dispute´LVGHILQHGLQ6HFWLRQ

       ³Dispute Notice´LVGHILQHGLQ6HFWLRQ

       ³Dispute Notice Response´LVGHILQHGLQ6HFWLRQ

        ³Employee Benefit Plans´PHDQVDQ\UHWLUHPHQWSODQZHOIDUHSODQVWRFNRSWLRQSODQ
HTXLW\RUHTXLW\EDVHGSODQERQXVSODQFKDQJHLQFRQWUROUHWHQWLRQLQFHQWLYHDZDUGSODQ
VHYHUDQFHSD\SODQRUSROLF\GHIHUUHGFRPSHQVDWLRQSODQRUSROLF\H[HFXWLYHFRPSHQVDWLRQRU
VXSSOHPHQWDOLQFRPHSODQRUSROLF\YDFDWLRQVLFNOHDYHGLVDELOLW\GHDWKEHQHILWJURXS
LQVXUDQFHKRVSLWDOL]DWLRQPHGLFDOGHQWDOOLIHRUDQ\RWKHUHPSOR\HHEHQHILWSODQRUSURJUDP
LQFOXGLQJZLWKRXWOLPLWDWLRQHDFK³HPSOR\HHEHQHILWSODQ´ZLWKLQWKHPHDQLQJRI6HFWLRQ  
RIWKH(PSOR\HH5HWLUHPHQW,QFRPH6HFXULW\$FWRIDVDPHQGHG ³(5,6$´ 
³PXOWLHPSOR\HUSODQ´ZLWKLQWKHPHDQLQJRI6HFWLRQ D  RI(5,6$DQGRWKHUHPSOR\HH
EHQHILWSODQSURJUDPSROLF\SUDFWLFHDJUHHPHQWRUDUUDQJHPHQWZKHWKHURUQRWVXEMHFWWR
(5,6$

         ³Environmental Laws´PHDQVDQ\/DZUHODWLQJWRSROOXWLRQFRQWURORUWKHSURWHFWLRQRI
WKHHQYLURQPHQWLQFOXGLQJ D  L WKH&RPSUHKHQVLYH(QYLURQPHQWDO5HVSRQVH&RPSHQVDWLRQ
DQG/LDELOLW\$FW86&HWVHT LL WKH6ROLG:DVWH'LVSRVDO$FWHWVHT
 LLL WKH)HGHUDO:DWHU3ROOXWLRQ&RQWURO$FW86&HWVHT LY WKH&OHDQ$LU$FW
86&HWVHT Y WKH+D]DUGRXV0DWHULDOV7UDQVSRUWDWLRQ$FW86&HW
VHT YL WKH7R[LF6XEVWDQFHV&RQWURO$FW86&HWVHTDQG YLL WKH6DIH
'ULQNLQJ:DWHU$FW86&IMDQG E VXFK/DZVLPSRVLQJUHTXLUHPHQWV
SHUWDLQLQJWR L DQ\+D]DUGRXV6XEVWDQFH LL WKHPDQXIDFWXUHSRVVHVVLRQSUHVHQFHXVH
JHQHUDWLRQWUDQVSRUWDWLRQWUHDWPHQWVWRUDJHGLVSRVDO5HOHDVHRUWKUHDWHQHG5HOHDVHRIDQ\
+D]DUGRXV6XEVWDQFH LLL UHSRUWLQJOLFHQVLQJSHUPLWWLQJRULQYHVWLJDWLRQLQFRQQHFWLRQZLWK
VXFKDFWLYLWLHVRU LY DQ\DEDWHPHQWUHPRYDOUHPHGLDOFRUUHFWLYHRURWKHUFRUUHFWLYHDFWLRQLQ
FRQQHFWLRQZLWKDQ\+D]DUGRXV6XEVWDQFHDQG F VXFK/DZVLPSRVLQJUHTXLUHPHQWVSHUWDLQLQJ
WRWKHSURWHFWLRQRIKHDOWKRUVDIHW\RIHPSOR\HHVRUWKHSXEOLF

       ³Environmental Liabilities´PHDQVDOOOLDELOLWLHVLQYROYLQJRUDULVLQJRXWRIWKHRSHUDWLRQ
RURZQHUVKLSRIWKH&ROVWULS,QWHUHVWVDQGDULVLQJRXWRIRUUHVXOWLQJIURPRUUHODWLQJWRDQ\
(QYLURQPHQWDO/DZRUDQ\+D]DUGRXV6XEVWDQFH

       ³ERISA Affiliate Liability´PHDQVDQ\OLDELOLWLHVREOLJDWLRQVRUUHVSRQVLELOLWLHV ZKHWKHU
FRQWLQJHQWRURWKHUZLVH LPSRVHGE\ODZRQ6HOOHUUHODWLQJWRDQ\(PSOR\HH%HQHILW3ODQ
PDLQWDLQHGE\DQ\WUDGHRUEXVLQHVV ZKHWKHURUQRWLQFRUSRUDWHG ZKLFKDUHRUKDYHEHHQZLWKLQ


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WKHODVWVL[\HDUVXQGHUFRPPRQFRQWUROZLWK6HOOHUZLWKLQWKHPHDQLQJRI6HFWLRQ E  F 
 P RU R RIWKH&RGH DQ³ERISA Affiliate´ LQFOXGLQJ L OLDELOLW\WRDQ\PXOWLHPSOR\HUSODQ
FRQWULEXWHGWRRUREOLJDWHGWRFRQWULEXWHWRE\WKH6HOOHURUDQ\RIWKHLU(5,6$$IILOLDWHV
LQFOXGLQJZLWKRXWOLPLWDWLRQDQ\OLDELOLW\WRWKH3HQVLRQ%HQHILW*XDUDQW\&RUSRUDWLRQXQGHU
7LWOH,9RI(5,6$DQG LL OLDELOLW\ZLWKUHVSHFWWRQRQFRPSOLDQFHZLWKWKHQRWLFHDQGEHQHILW
FRQWLQXDWLRQUHTXLUHPHQWVRI&2%5$

       ³Excluded Assets´PHDQVWKRVHDVVHWVOLVWHGRQ([KLELW%

       ³FERC´PHDQVWKH)HGHUDO(QHUJ\5HJXODWRU\&RPPLVVLRQRUDQ\VXFFHVVRUWRLWV
IXQFWLRQV

        ³FERC 203 Approval´PHDQVWKHDXWKRUL]DWLRQIURP)(5&WRWUDQVIHUFHUWDLQRIWKH
&ROVWULS,QWHUHVWVWR%X\HUSXUVXDQWWR6HFWLRQRIWKH)HGHUDO3RZHU$FW

       ³Final Order´LVGHILQHGLQ6HFWLRQ K 

        ³GAAP´PHDQVJHQHUDOO\DFFHSWHGDFFRXQWLQJSULQFLSOHVFRQVLVWHQWO\DSSOLHGDVLQHIIHFW
RQWKHGDWHRIWKLV$JUHHPHQWLQWKH8QLWHG6WDWHV

       ³Governmental Authority´PHDQV L WKHIHGHUDOJRYHUQPHQWRIWKH8QLWHG6WDWHVRI
$PHULFD LL DQ\VWDWHFRXQW\PXQLFLSDOLW\RURWKHUJRYHUQPHQWDOVXEGLYLVLRQZLWKLQWKH
8QLWHG6WDWHVRI$PHULFDDQG LLL DQ\H[HFXWLYHOHJLVODWLYHRUMXGLFLDOFRXUWGHSDUWPHQW
FRPPLVVLRQERDUGEXUHDXDJHQF\RURWKHULQVWUXPHQWDOLW\RIWKHIHGHUDOJRYHUQPHQWRIWKH
8QLWHG6WDWHVRI$PHULFDRURIDQ\VWDWHFRXQW\PXQLFLSDOLW\RURWKHUJRYHUQPHQWDO
VXEGLYLVLRQZLWKLQWKH8QLWHG6WDWHVRI$PHULFD

        ³Hazardous Substance´PHDQVDQ\VXEVWDQFHRUPDWHULDOOLVWHGGHILQHGRUFODVVLILHGDVD
SROOXWDQWFRQWDPLQDQWKD]DUGRXVVXEVWDQFHWR[LFVXEVWDQFHKD]DUGRXVZDVWHRUZRUGVRI
VLPLODULPSRUWXQGHUDQ\(QYLURQPHQWDO/DZLQFOXGLQJSHWUROHXPSRO\FKORULQDWHGELSKHQ\OV
DQGDVEHVWRVLQDQ\IRUPRUDQ\FRDOFRPEXVWLRQPDWHULDOVRUE\SURGXFWV

       ³Indemnification Dispute Notice´LVGHILQHGLQ6HFWLRQ E 

       ³Indemnified Party´LVGHILQHGLQ6HFWLRQ D 

       ³Indemnifying Party´LVGHILQHGLQ6HFWLRQ D 

       ³Indemnity Claim Amount´LVGHILQHGLQ6HFWLRQ E 

       ³Knowledge´PHDQVZLWKUHVSHFWWR6HOOHUWKHDFWXDONQRZOHGJHRIDQ\IDFW
FLUFXPVWDQFHRUFRQGLWLRQDVVXPLQJUHDVRQDEOHLQTXLU\RIWKHLUGLUHFWUHSRUWVE\5RQ5REHUWV
DQGZLWKUHVSHFWWR%X\HUWKHDFWXDONQRZOHGJHRIDQ\IDFWFLUFXPVWDQFHRUFRQGLWLRQ
DVVXPLQJUHDVRQDEOHLQTXLU\RIWKHLUGLUHFWUHSRUWVE\-RKQ+LQHV

        ³Labor Laws´PHDQVDQ\DQGDOO/DZVUHODWLQJLQDQ\PDQQHUWRHPSOR\PHQWHPSOR\HHV
DQGRULQGLYLGXDOVSHUIRUPLQJZRUNDVFRQVXOWDQWVRUFRQWUDFWRUVLQFOXGLQJHPSOR\PHQW
VWDQGDUGVHPSOR\PHQWRIPLQRUVHPSOR\PHQWGLVFULPLQDWLRQKHDOWKDQGVDIHW\ODERUUHODWLRQV


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XQLRQVZLWKKROGLQJZDJHVDQGKRXUVDQGRYHUWLPHRIDQ\NLQGZRUNDXWKRUL]DWLRQYHULILFDWLRQ
ZRUNSODFHVDIHW\DQGLQVXUDQFHDQGSD\HTXLW\

         ³Law´PHDQVDQ\ODZVWDWXWHUXOHUHJXODWLRQRUGLQDQFHVWDQGDUGFRGHRUGHU
MXGJPHQWGHFLVLRQZULWLQMXQFWLRQGHFUHHFHUWLILFDWHRIQHHGDZDUGRURWKHUJRYHUQPHQWDO
UHVWULFWLRQLQFOXGLQJDQ\SXEOLVKHGDQGSXEOLFO\DYDLODEOHSROLF\RUSURFHGXUHHQIRUFHDEOHE\
DQ\*RYHUQPHQWDO$XWKRULW\

         ³Lien´PHDQVDQ\OLHQVHFXULW\LQWHUHVWFKDUJHFODLPPRUWJDJHGHHGRIWUXVWRSWLRQ
ZDUUDQWSXUFKDVHULJKWOHDVHSOHGJHHDVHPHQWULJKWRIZD\HQFURDFKPHQWEXLOGLQJRUXVH
UHVWULFWLRQVFRQGLWLRQDOVDOHVDJUHHPHQWRURWKHUHQFXPEUDQFH

        ³Losses´PHDQVDQ\DQGDOOFODLPVOLDELOLWLHVORVVHVFDXVHVRIDFWLRQGDPDJHV
MXGJPHQWVREOLJDWLRQVGHILFLHQFLHVGHPDQGVILQHVSHQDOWLHVOLWLJDWLRQODZVXLWV
DGPLQLVWUDWLYHSURFHHGLQJVDGPLQLVWUDWLYHLQYHVWLJDWLRQVFRVWVDQGH[SHQVHV(QYLURQPHQWDO
/LDELOLWLHVDQG(5,6$$IILOLDWH/LDELOLW\LQFOXGLQJUHDVRQDEOHDWWRUQH\V¶IHHVFRXUWFRVWV
LQYHVWLJDWRUH[SHQVHVDQGRWKHUFRVWVRIVXLW

         ³Material Adverse Effect´PHDQVDPDWHULDODQGDGYHUVHHIIHFWRQ L WKHDELOLW\RI6HOOHU
RU%X\HUWRFRQVXPPDWHWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKLV$JUHHPHQWRURWKHUZLVHWR
FRPSO\ZLWKLWVREOLJDWLRQVKHUHXQGHURU LL WKHEXVLQHVVDVVHWVILQDQFLDOFRQGLWLRQRUUHVXOWVRI
RSHUDWLRQVFRPSULVLQJWKH&ROVWULS,QWHUHVWVLQHDFKFDVHWDNHQDVDZKROHLQFOXGLQJZLWKRXW
OLPLWDWLRQ D DQ\FKDQJHLQDQ\DSSOLFDEOH/DZLIVXFKFKDQJHKDVDQHIIHFWRQWKH&ROVWULS
,QWHUHVWVWKDWLVGLVSURSRUWLRQDWHWRWKHHIIHFWRQRWKHUFRDOJHQHUDWLRQIDFLOLWLHV E WKH&ROVWULS
,QWHUHVWVDUHVXEVWDQWLDOO\GDPDJHGRUGHVWUR\HGE\DQ\FDVXDOW\HYHQWRUDVXEVWDQWLDOSRUWLRQRI
WKH&ROVWULS,QWHUHVWVDUHWDNHQLQSDUWRURQZKROHE\DQ\*RYHUQPHQWDO$XWKRULW\ F 
FKDQJHVRUGHYHORSPHQWVLQQDWLRQDOUHJLRQDOVWDWHRUORFDOZKROHVDOHRUUHWDLOPDUNHWVIRU
HOHFWULFSRZHUIXHORUUHODWHGSURGXFWVLQFOXGLQJVHDVRQDOFKDQJHV LQFOXGLQJFKDQJHVLQ
FRPPRGLW\SULFHVRUWKHHIIHFWVRIDFWLRQVE\FRPSHWLWRUV LIVXFKPDWWHUVKDYHDQHIIHFWRQWKH
&ROVWULS,QWHUHVWVWKDWLVGLVSURSRUWLRQDWHWRWKHHIIHFWRQRWKHUFRDOJHQHUDWLRQIDFLOLWLHVDQG
 G FKDQJHVRUGHYHORSPHQWVLQQDWLRQDOUHJLRQDOVWDWHRUORFDOHOHFWULFWUDQVPLVVLRQRU
GLVWULEXWLRQV\VWHPVLIVXFKPDWWHUVKDYHDQHIIHFWRQWKH&ROVWULS,QWHUHVWVWKDWLV
GLVSURSRUWLRQDWHWRWKHHIIHFWRQRWKHUFRDOJHQHUDWLRQIDFLOLWLHVprovidedhoweverWKDWVXFK
GHWHUPLQDWLRQVKDOOH[FOXGH $ JHQHUDOHFRQRPLFRUSROLWLFDOFRQGLWLRQV % FRQGLWLRQV
JHQHUDOO\DIIHFWLQJWKHLQGXVWULHVLQZKLFKWKH&ROVWULS,QWHUHVWVRSHUDWH & DQ\FKDQJHVLQ
ILQDQFLDOEDQNLQJRUVHFXULWLHVPDUNHWVLQJHQHUDOLQFOXGLQJDQ\GLVUXSWLRQDQGDQ\GHFOLQHLQ
WKHSULFHRIDQ\VHFXULW\RUDQ\PDUNHWLQGH[RUFKDQJHLQSUHYDLOLQJLQWHUHVWUDWHV ' DQ\
DGYHUVHFKDQJHRUHIIHFWSULQFLSDOO\DWWULEXWDEOHWRWKHDQQRXQFHPHQWSHQGHQF\RU
FRQVXPPDWLRQRIWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKLV$JUHHPHQW LQFOXGLQJDQ\DFWLRQ
UHTXLUHGRUSHUPLWWHGE\WKLV$JUHHPHQWZLWKWKHZULWWHQFRQVHQWRIRUDWWKHZULWWHQUHTXHVWRI
%X\HUGHFUHDVHLQFXVWRPHUGHPDQGDQ\UHGXFWLRQLQUHYHQXHVDQ\GLVUXSWLRQLQVXSSOLHU
SDUWQHURUVLPLODUUHODWLRQVKLSVRUDQ\ORVVRIHPSOR\HHVDWWULEXWDEOHWKHUHWREXWH[FOXGLQJDQ\
IDLOXUHWRREWDLQ5HTXLUHG5HJXODWRU\$SSURYDOV  ( DQ\RXWEUHDNRUHVFDODWLRQRIKRVWLOLWLHVRU
WKHGHFODUDWLRQE\WKH8QLWHG6WDWHVRIDQDWLRQDOHPHUJHQF\RUZDU ) DQ\IDLOXUHE\WKH
&ROVWULS,QWHUHVWVPHHWDQ\LQWHUQDORUSXEOLVKHGSURMHFWLRQVIRUHFDVWVRUVXSSO\SUHGLFWLRQV
 * DQ\PDWWHURIZKLFK%X\HULVDZDUHRIRQWKHGDWHKHUHRIRU + DQ\DFWVRIWHUURULVPDQ\
RWKHULQWHUQDWLRQDORUGRPHVWLFFDODPLW\RUFULVLVRUJHRSROLWLFDOHYHQWH[FHSWWRWKHH[WHQWVXFK


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PDWWHUVLQVXEVHFWLRQV $  %  &  ( RU ) KDYHDQHIIHFWRQWKH&ROVWULS,QWHUHVWVWKDWLV
GLVSURSRUWLRQDWHWRWKHHIIHFWRQRWKHUFRDOJHQHUDWLRQIDFLOLWLHV

       ³Material Contracts´LVGHILQHGLQ6HFWLRQ F 

       ³MPSC´PHDQVWKH0RQWDQD3XEOLF6HUYLFH&RPPLVVLRQ

       ³Notice of Claim´LVGHILQHGLQ6HFWLRQ D 

       ³Operator´PHDQV7DOHQ0RQWDQD//&WKHRSHUDWRURI&ROVWULS8QLWDQG&ROVWULS8QLW


       ³Owner´KDVWKHPHDQLQJDVVLJQHGWRLWXQGHUWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW

       ³Ownership and Operation Agreement´PHDQVWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW
GDWHG0D\DVDPHQGHGE\$PHQGPHQW1RGDWHG2FWREHU$PHQGPHQW
1RGDWHG-XO\$PHQGPHQW1RHQWHUHGLQWRLQDQG$PHQGPHQW1R
HQWHUHGLQWRLQEHWZHHQ%X\HU6HOOHU3RUWODQG*HQHUDO(OHFWULF&RPSDQ\WKH:DVKLQJWRQ
:DWHU3RZHU&RPSDQ\ QRZ$YLVWD DQG3DFLILF3RZHU /LJKW&RPSDQ\ QRZ3DFLIL&RUS 

       ³Party´LVGHILQHGLQWKHSUHDPEOH

      ³Permits´PHDQVZULWWHQSHUPLWVOLFHQVHVIUDQFKLVHVUHJLVWUDWLRQVYDULDQFHVDQG
DSSURYDOVREWDLQHGIURPDQ\*RYHUQPHQWDO$XWKRULW\

         ³Permitted Liens´PHDQV L /LHQVIRU7D[HVQRW\HWGXHDQGSD\DEOHSOHGJHVRUGHSRVLWV
PDGHLQWKHRUGLQDU\FRXUVHRIEXVLQHVVXQGHUZRUNHUV¶FRPSHQVDWLRQOHJLVODWLRQXQHPSOR\PHQW
LQVXUDQFH/DZVRUVLPLODU/DZVJRRGIDLWKGHSRVLWVPDGHLQWKHRUGLQDU\FRXUVHRIEXVLQHVVLQ
FRQQHFWLRQZLWKELGVWHQGHUVRUFRQWUDFWVLQFOXGLQJUHQWVHFXULW\GHSRVLWV LL LQWKHFDVHRIWKH
5HDO3URSHUW\HQFXPEUDQFHVDQGRWKHUUHVWULFWLRQVDQGLUUHJXODULWLHVWRWLWOHZKLFKH[LVWRQWKH
GDWHKHUHRIRURQWKH&ORVLQJ'DWHDQGZKLFKZHUHQRWFUHDWHGE\WKURXJKRUXQGHUWKH6HOOHU
 LLL ULJKWVUHVHUYHGWRRUYHVWHGEXWQRW\HWDVVHUWHGUHVSHFWLQJDQ\&ROVWULS,QWHUHVWVE\DQ\
*RYHUQPHQWDO$XWKRULW\E\WKHWHUPVRIDQ\IUDQFKLVHJUDQWOLFHQVH3HUPLWRUSURYLVLRQRI
DSSOLFDEOH/DZWRSXUFKDVHFRQGHPQDSSURSULDWHRUUHFDSWXUHRUGHVLJQDWHDEX\HURIWKHUHDO
SURSHUW\ LY ULJKWVUHVHUYHGWRRUYHVWHGLQDQ\PXQLFLSDOLW\RUSXEOLFDXWKRULW\WRFRQWURORU
UHJXODWHWKHXVHRIWKHUHDOSURSHUW\RUWRXVHWKHUHDOSURSHUW\LQDQ\PDQQHULQFOXGLQJ]RQLQJ
DQGODQGXVHUHJXODWLRQVDQG Y PHFKDQLFDQGRWKHUVLPLODUOLHQVIRUDPRXQWVQRW\HWGXHRU
SD\DEOH

        ³Person´PHDQVDQ\*RYHUQPHQWDO$XWKRULW\RUDQ\LQGLYLGXDOILUPSDUWQHUVKLS
FRUSRUDWLRQOLPLWHGOLDELOLW\FRPSDQ\MRLQWYHQWXUHWUXVWXQLQFRUSRUDWHGRUJDQL]DWLRQRURWKHU
HQWLW\RURUJDQL]DWLRQ

       ³post-Closing Date Project Share´PHDQVWKH3URMHFW6KDUHDWWULEXWDEOHWRHDFKRI%X\HU
DQG6HOOHUDIWHUJLYLQJHIIHFWWRWKHWUDQVDFWLRQVFRQWHPSODWHGE\WKLV$JUHHPHQW

        ³PPA´PHDQVWKH3RZHU3XUFKDVH$JUHHPHQWEHWZHHQ%X\HUDQG6HOOHULQWKHIRUPVHW
IRUWKRQ([KLELW&


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       ³pre-Closing Date Project Share´PHDQVWKH3URMHFW6KDUHDWWULEXWDEOHWRHDFKRI%X\HU
DQG6HOOHUDVVSHFLILHGLQWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW

       ³Pre-Closing Period´LVGHILQHGLQ6HFWLRQ D 

       ³Project´KDVWKHPHDQLQJDVVLJQHGWRLWXQGHUWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW

       ³Project Share´KDVWKHPHDQLQJVHWIRUWKLQWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW

      ³Project Users´KDVWKHPHDQLQJDVVLJQHGWRLWXQGHUWKH2ZQHUVKLSDQG2SHUDWLRQ
$JUHHPHQW

        ³Prudent Utility Practices´PHDQVWKHSUDFWLFHVPHWKRGVDQGDFWVJHQHUDOO\HQJDJHGLQ
RUDSSURYHGE\WKHHOHFWULFXWLOLW\LQGXVWU\LQWKH8QLWHG6WDWHVIRUVLPLODUO\VLWXDWHGIDFLOLWLHVLQ
WKH8QLWHG6WDWHVGXULQJDSDUWLFXODUWLPHSHULRGLQDPDQQHUFRQVLVWHQWZLWK/DZVUHOLDELOLW\
VDIHW\DQGHQYLURQPHQWDOSURWHFWLRQDQGWDNLQJLQWRFRQVLGHUDWLRQWKHUHTXLUHPHQWVRIWKLV
$JUHHPHQWWKH0DWHULDO&RQWUDFWVDQGWKHRWKHUFRQWUDFWVDIIHFWLQJWKHRSHUDWLRQRIWKH&ROVWULS
,QWHUHVWV3UXGHQW8WLOLW\3UDFWLFHVDUHQRWQHFHVVDULO\LQWHQGHGWRUHTXLUHWKHRSWLPXPRUEHVW
SUDFWLFHVPHWKRGVRUDFWVWRWKHH[FOXVLRQRIDOORWKHUVEXWUDWKHUWRLQFOXGHDVSHFWUXPRI
SRVVLEOHSUDFWLFHVPHWKRGVRUDFWVFRQVLVWHQWZLWKWKHLPPHGLDWHO\SUHFHGLQJVHQWHQFH

       ³Purchase Price´LVGHILQHGLQ6HFWLRQ

        ³Real Property´PHDQVWKHUHDOSURSHUW\LQWHUHVWVZKLFKDUHLQFOXGHGDVSDUWRIWKH
&ROVWULS,QWHUHVWDVVHWIRUWKRQ6FKHGXOH D 

         ³Records´PHDQVDQ\DQGDOORIWKHERRNVUHFRUGVFRQWUDFWVDJUHHPHQWVDQGILOHVRIWKH
6HOOHUH[LVWLQJRQWKH&ORVLQJ'DWHDQGSHUWDLQLQJWRWKH&ROVWULS,QWHUHVWVH[FOXGLQJDQ\
LQIRUPDWLRQLIGLVFORVXUHWR%X\HUZRXOGLQ6HOOHU¶VVROHGLVFUHWLRQMHRSDUGL]HDQ\DWWRUQH\
FOLHQWZRUNSURGXFWRURWKHUSULYLOHJHRURWKHULQIRUPDWLRQUHDVRQDEO\GHHPHGFRQILGHQWLDOE\
6HOOHU

       ³Release´PHDQVDQ\VSLOOLQJOHDNLQJSXPSLQJSRXULQJHPLWWLQJHPSW\LQJ
GLVFKDUJLQJLQMHFWLQJHVFDSLQJOHDFKLQJGXPSLQJRUGLVSRVLQJLQWRWKHHQYLURQPHQW

       ³Representatives´PHDQVRIILFHUVGLUHFWRUVHPSOR\HHVDQGRWKHUDJHQWVRIDSDUWLFXODU
3HUVRQ

       ³Required Regulatory Approvals´PHDQVWKH)(5&$SSURYDODQGVXFKDSSURYDOVDV
PD\EHQHFHVVDU\IURPWKH036&DQGWKH:DVKLQJWRQ8WLOLWLHVDQG7UDQVSRUWDWLRQ&RPPLVVLRQ
providedWKDWDQDSSURYDOZLOOQRWEHGHHPHGWRKDYHEHHQREWDLQHGXQWLOWKHGDWHDIWHUZKLFKDOO
DSSHDOVKDYHEHHQIXOO\DGMXGLFDWHGDQGDQDSSHDOPD\QRORQJHUEHILOHGUHJDUGOHVVRIZKHWKHU
DQDSSHDOLVILOHG

       ³Retained Liabilities´LVGHILQHGLQ6HFWLRQ

       ³Rules´LVGHILQHGLQ6HFWLRQ



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       ³Seller´LVGHILQHGLQWKHSUHDPEOH

        ³Seller’s Consents´PHDQVWKHFRQVHQWVILOLQJVDQGQRWLFHVUHTXLUHGWREHREWDLQHGE\
6HOOHU RWKHUWKDQWKH5HTXLUHG5HJXODWRU\$SSURYDOV DQGGHOLYHUHGDWWKH&ORVLQJDVOLVWHGRQ
6FKHGXOH

        ³Seller Fundamental Representations´PHDQVWKHUHSUHVHQWDWLRQVDQGZDUUDQWLHVRI%X\HU
VHWIRUWKLQ6HFWLRQ 2UJDQL]DWLRQDQG*RRG6WDQGLQJ 6HFWLRQ $XWKRULW\ 6HFWLRQ
 (QIRUFHDELOLW\ 6HFWLRQ 7LWOHWR&ROVWULS,QWHUHVWV DQG6HFWLRQ %URNHUDJH)HHVDQG
&RPPLVVLRQV 

       ³Straddle Period´LVGHILQHGLQ6HFWLRQ F 

        ³Tax´RU³Taxes´PHDQVDOOIHGHUDOVWDWHORFDOIRUHLJQDQGRWKHUQHWLQFRPHJURVV
LQFRPHHVWLPDWHGJURVVUHFHLSWVVDOHVXVHDGYDORUHPWUDQVIHUIUDQFKLVHSURILWVOLFHQVH
OHDVHVHUYLFHVHUYLFHXVHZLWKKROGLQJSD\UROOHPSOR\PHQWH[FLVHVHYHUDQFHVWDPS
RFFXSDWLRQSUHPLXPSURSHUW\WD[HVDQGOHYLHGDQGSHQGLQJDVVHVVPHQWVZLQGIDOOSURILWVYDOXH
DGGHGFRPPHUFLDOUHQWFXVWRPVGXWLHVFDSLWDOJDLQVRFLDOVHFXULW\UR\DOW\GRFXPHQWDU\
HQYLURQPHQWDORURWKHUWD[HVRUIHHVDVVHVVPHQWVGXWLHVRUFKDUJHVLQWKHQDWXUHRUWD[HVRIDQ\
NLQGZKDWHYHUWRJHWKHUZLWKDQ\LQWHUHVWDQGDQ\SHQDOWLHVDGGLWLRQVWRWD[RUDGGLWLRQDO
DPRXQWVZLWKUHVSHFWWKHUHWR

       ³Tax Return´PHDQVDOOUHWXUQVDQGUHSRUWV LQFOXGLQJHOHFWLRQVGHFODUDWLRQVGLVFORVXUHV
DWWDFKPHQWVVFKHGXOHVHVWLPDWHVLQIRUPDWLRQUHWXUQVDQGDPHQGHGUHWXUQVDQGUHSRUWV 
UHTXLUHGWREHILOHGZLWKUHVSHFWWR7D[HV

       ³Third Party Claim´LVGHILQHGLQ6HFWLRQ D 

       ³Transfer Taxes´PHDQVDOOVDOHVXVHH[FLVHVWRFNVWDPSGRFXPHQWDU\ILOLQJ
UHFRUGLQJSHUPLWOLFHQVHDXWKRUL]DWLRQDQGRWKHUVLPLODU7D[HVILOLQJIHHVDQGVLPLODUFKDUJHV
LQFXUUHGE\HLWKHU3DUW\LQFRQQHFWLRQZLWKWKHWUDQVDFWLRQVFRQWHPSODWHGKHUHE\

        ³Transmission Acquisition Agreement´PHDQVWKH3XUFKDVHDQG6DOH$JUHHPHQWEHWZHHQ
%X\HUDQG6HOOHULQFRQQHFWLRQZLWK%X\HU¶VSXUFKDVHRI6HOOHU¶VXQGLYLGHGLQWHUHVWLQWKH
NLORYROW&ROVWULS3URMHFW7UDQVPLVVLRQ6\VWHP

       ³Update´LVGHILQHGLQ6HFWLRQ

        ³Vote Sharing Agreement´PHDQVWKH9RWH6KDULQJ$JUHHPHQWEHWZHHQ%X\HUDQG6HOOHU
LQWKHIRUPVHWIRUWKRQ([KLELW)

        ³Water Rights Transfer Certificate´PHDQVDZDWHUULJKWVWUDQVIHUFHUWLILFDWHLQWKHIRUP
VHWIRUWKRQ([KLELW(SXUVXDQWWRZKLFK6HOOHUVKDOOFRQYH\WR%X\HUWKHZDWHUULJKWVOLVWHGRQ
6FKHGXOH

                    ,QWHUSUHWDWLRQ7KLV$JUHHPHQWVKDOOQRWEHFRQVWUXHGDJDLQVWHLWKHU
3DUW\DQGQRFRQVLGHUDWLRQVKDOOEHJLYHQRUSUHVXPSWLRQPDGHRQWKHEDVLVRIZKRGUDIWHGWKLV



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$JUHHPHQWRUDQ\SDUWLFXODUSURYLVLRQKHUHRIRUZKRVXSSOLHGWKHIRUPRIWKLV$JUHHPHQW,Q
FRQVWUXLQJWKLV$JUHHPHQW

              DOOUHIHUHQFHVLQWKLV$JUHHPHQWWRDQ³$UWLFOH´³6HFWLRQ´³VXEVHFWLRQ´
³([KLELW´RU³6FKHGXOH´VKDOOEHWRDQ$UWLFOH6HFWLRQVXEVHFWLRQ([KLELWRU6FKHGXOHRIWKLV
$JUHHPHQWXQOHVVWKHFRQWH[WUHTXLUHVRWKHUZLVH

             XQOHVVWKHFRQWH[WRWKHUZLVHUHTXLUHVWKHZRUGV³WKLV$JUHHPHQW´³KHUHRI´
³KHUHXQGHU´³KHUHLQ´³KHUHE\´RUZRUGVRIVLPLODULPSRUWVKDOOUHIHUWRWKLV$JUHHPHQWDVD
ZKROHDQGQRWWRDSDUWLFXODU$UWLFOH6HFWLRQVXEVHFWLRQFODXVHRURWKHUVXEGLYLVLRQKHUHRI

             ZKHQHYHUWKHFRQWH[WUHTXLUHVWKHZRUGVXVHGKHUHLQVKDOOLQFOXGHWKHPDVFXOLQH
IHPLQLQHDQGQHXWHUJHQGHUDQGWKHVLQJXODUDQGWKHSOXUDO

                 H[DPSOHVVKDOOQRWEHFRQVWUXHGWROLPLWH[SUHVVO\RUE\LPSOLFDWLRQWKHPDWWHU
WKH\LOOXVWUDWH

             WKHZRUG³LQFOXGHV´DQGLWVGHULYDWLYHVPHDQV³LQFOXGHVEXWLVQRWOLPLWHGWR´DQG
FRUUHVSRQGLQJGHULYDWLYHH[SUHVVLRQV

             DGHILQHGWHUPKDVLWVGHILQHGPHDQLQJWKURXJKRXWWKLV$JUHHPHQWDQGLQHDFK
([KLELWDQG6FKHGXOHKHUHWRUHJDUGOHVVRIZKHWKHULWDSSHDUVEHIRUHRUDIWHUWKHSODFHZKHUHLWLV
GHILQHG

             HDFK([KLELWDQG6FKHGXOHWRWKLV$JUHHPHQWLVDSDUWRIWKLV$JUHHPHQWDQG
VKRXOGEHFRQVWUXHGLQOLJKWRIHDFKRWKHU

               WKHKHDGLQJVDQGWLWOHVKHUHLQDUHIRUFRQYHQLHQFHRQO\DQGVKDOOKDYHQR
VLJQLILFDQFHLQWKHLQWHUSUHWDWLRQKHUHRIDQG

             UHIHUHQFHVWRD/DZUXOHUHJXODWLRQFRQWUDFWDJUHHPHQWRURWKHUGRFXPHQW
PHDQWKDW/DZUXOHUHJXODWLRQFRQWUDFWDJUHHPHQWRUGRFXPHQWDVDPHQGHGPRGLILHGRU
VXSSOHPHQWHGLIDSSOLFDEOH

                                 $57,&/(
                385&+$6($1'6$/(2)7+(&2/675,3,17(5(676

                       3XUFKDVHDQG6DOHRI&ROVWULS,QWHUHVWV2QWKHWHUPVDQGVXEMHFWWR
WKHFRQGLWLRQVKHUHRI6HOOHUFRYHQDQWVDQGDJUHHVWRVHOODVVLJQDQGWUDQVIHUWR%X\HUDOORI
6HOOHU¶VULJKWWLWOHDQGLQWHUHVWLQDQG%X\HUFRYHQDQWVDQGDJUHHVWRSXUFKDVHIURP6HOOHU
HIIHFWLYHDVRIWKH&ORVLQJDOORI6HOOHU¶VULJKWWLWOHDQGLQWHUHVWLQDOORIWKH&ROVWULS,QWHUHVWV
IUHHDQGFOHDURIDQ\DQGDOO/LHQVRWKHUWKDQ3HUPLWWHG/LHQVDQGH[FOXGLQJWKH([FOXGHG
$VVHWV DVKHUHLQDIWHUGHILQHG 7KHDVVHWVSURSHUWLHVDQGULJKWVWREHSXUFKDVHGRURWKHUZLVH
WUDQVIHUUHGWR%X\HUXQGHUWKLV$JUHHPHQWDOORIZKLFKVROHO\UHODWHWRWKH&ROVWULS,QWHUHVWV
DQGH[FHSWIRU([FOXGHG$VVHWVFRQVWLWXWHRUZLOOFRQVWLWXWHDVRI&ORVLQJDOORI6HOOHU¶V
LQWHUHVWVLQRUWRWKH&ROVWULS,QWHUHVWVDUHDVIROORZV

               DOORI6HOOHU¶VRZQHUVKLSULJKWVWRWKH5HDO3URSHUW\


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               WKHSRUWLRQRI6HOOHU¶VLQWHUHVWLQWKH&RPPRQ)DFLOLWLHVDQGDVVRFLDWHGDVVHWVDV
GHVFULEHGRQ6FKHGXOH E ZKLFKDUHDVVRFLDWHGZLWKWKH&ROVWULS,QWHUHVWV WKH³Common
Facilities Interest´ 

               WKHSRUWLRQRI6HOOHU¶VULJKWVXQGHUWKHFRQWUDFWVOHDVHVDQGDJUHHPHQWVUHODWHGWR
WKH&ROVWULS,QWHUHVWVDQGZKLFKDUHDVVRFLDWHGZLWKWKH&ROVWULS,QWHUHVWVLQFOXGLQJWKH
FRQWUDFWVOHDVHVDQGDJUHHPHQWWKDWDUHVHWIRUWKRQ6FKHGXOH F  WKH³Material Contracts´ 

               QRWZLWKVWDQGLQJWKHSURYLVLRQVRI6HFWLRQ D  F DERYHWKH&ROVWULS,QWHUHVWV
VKDOOQRWLQFOXGH DQGWKH6HOOHUVKDOOUHWDLQDQGWKH%X\HUVKDOOQRWDVVXPH 

                        L      DOORI6HOOHU¶VULJKWVDQGLQWHUHVWVUHODWHGWRLWVLQWHUHVWLQ&ROVWULS
               8QLWV DQG&ROVWULS8QLWLQFOXGLQJLQWHUHVWVLQ&RPPRQ)DFLOLWLHVDQG
               DVVRFLDWHGDVVHWVULJKWVXQGHUFRQWUDFWVOHDVHVDQGDJUHHPHQWVDQGRZQHUVKLS
               ULJKWVWRUHDOSURSHUW\WRWKHH[WHQWVXFKULJKWVDUHDVVRFLDWHGZLWK6HOOHU¶V
               FRQWLQXHGRZQHUVKLSRI&ROVWULS8QLWV DQGDSRUWLRQRI&ROVWULS8QLW

                       LL    FODLPVDULVLQJRXWRIOLDELOLWLHVRFFXUULQJSULRUWR&ORVLQJ
               LQFOXGLQJ(QYLURQPHQWDO/LDELOLWLHVDQGSHQVLRQOLDELOLWLHVWRWKHH[WHQWDQGDV
               SURYLGHGIRULQ6HFWLRQVDQG

                       LLL  FODLPVDULVLQJRXWRIWKRVHLWHPVOLVWHGRQ6FKHGXOHDQGDV
               SURYLGHGIRULQ6HFWLRQ

                       LY  IXWXUHGHFRPPLVVLRQLQJDQGGHPROLWLRQFRVWVLQFRQQHFWLRQZLWK
               WKH&ROVWULS,QWHUHVWVWRWKHH[WHQWDQGDVSURYLGHGIRULQ6HFWLRQ

                      Y    DQ\REOLJDWLRQRUOLDELOLW\UHODWHGWRRUDULVLQJRXWRIDQ\RIWKH
               ([FOXGHG$VVHWV

                      YL  DQ\REOLJDWLRQRUOLDELOLW\UHODWHGWRRUDULVLQJRXWRI$FWLRQV
               SHQGLQJDVRIWKH&ORVLQJ'DWHDJDLQVWWKH6HOOHURUDQ\RILWV$IILOLDWHV

                        YLL  DQ\REOLJDWLRQRUOLDELOLW\ LQFOXGLQJDQ\IXWXUH$FWLRQV UHODWHGWR
               RUDULVLQJRXWRIWKH6HOOHU¶VFRQGXFWRIWKHEXVLQHVVRURZQHUVKLSRIWKH
               &ROVWULS,QWHUHVWVSULRUWRWKH&ORVLQJ

                        YLLL  DQ\(5,6$$IILOLDWH/LDELOLW\RUDQ\REOLJDWLRQRUOLDELOLW\UHODWHG
               WRRUDULVLQJRXWRIDQ\FROOHFWLYHEDUJDLQLQJDJUHHPHQWRIWKH6HOOHUZKHWKHU
               SULRUWRRQRUDIWHUWKH&ORVLQJ

                       L[  DQ\(5,6$$IILOLDWH/LDELOLW\RUDQ\REOLJDWLRQOLDELOLW\RU
               H[SHQVHUHODWLQJWRRUDULVLQJRXWRI $ WKHHPSOR\PHQWRUWHUPLQDWLRQRI
               HPSOR\PHQWRUFRQVXOWDQF\RIDQ\HPSOR\HHRUFRQVXOWDQWRUIRUPHUHPSOR\HHRU
               FRQVXOWDQWRIWKH2SHUDWRURQRUSULRUWRWKH&ORVLQJ % DQ\FROOHFWLYH
               EDUJDLQLQJDJUHHPHQWRIWKH2SHUDWRURQRUSULRUWRWKH&ORVLQJ & FRPSOLDQFH
               ZLWKRUYLRODWLRQVRIDQ\/DERU/DZVE\WKH2SHUDWRURQRUSULRUWRWKH&ORVLQJ



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                       [     DQ\REOLJDWLRQRUOLDELOLW\RIDQ\NLQGRUQDWXUHUHODWLQJWR $ 
               7D[HVRIWKH6HOOHUDQG % 7D[HVUHODWHGWRWKH6HOOHU¶VFRQGXFWRIWKHEXVLQHVV
               RURZQHUVKLSRIWKH&ROVWULS,QWHUHVWVSULRUWRWKH&ORVLQJ LQWKHFDVHRIUHDO
               SURSHUW\7D[HVDVGHWHUPLQHGLQDFFRUGDQFHZLWK6HFWLRQ D DQG

                        [L    DQ\REOLJDWLRQRUOLDELOLW\RI6HOOHUIRUDQ\'HEW

7KHIRUHJRLQJOLDELOLWLHVOLVWHGLQWKLV6HFWLRQ G DUHFROOHFWLYHO\UHIHUUHGWRDVWKH³Retained
Liabilities´DQGVKDOOUHPDLQDQGEHWKHREOLJDWLRQVDQGOLDELOLWLHVVROHO\RIWKH6HOOHU

                     3XUFKDVH3ULFH7KHDJJUHJDWHSXUFKDVHSULFHDQGDGGLWLRQDO
FRQVLGHUDWLRQIRUWKHVDOHDQGFRQYH\DQFHRIWKH&ROVWULS,QWHUHVWVVKDOOEH2QH'ROODU  
 WKH³Purchase Price´ 

                      $VVXPSWLRQRI/LDELOLWLHV([FHSWDVRWKHUZLVHSURYLGHGLQ$57,&/(
%X\HUVKDOODVVXPHDQGDJUHHWRSD\SHUIRUPDQGGLVFKDUJHWKHOLDELOLWLHVDQGREOLJDWLRQVRI
6HOOHUUHODWHGWRWKH&ROVWULS,QWHUHVWVLQFOXGLQJZLWKRXWOLPLWDWLRQWKRVHOLDELOLWLHVDQG
REOLJDWLRQVFRQWDLQHGLQWKH0DWHULDO&RQWUDFWVEXWVROHO\ZLWKUHVSHFWWROLDELOLWLHVRU
REOLJDWLRQVDULVLQJVROHO\GXULQJSHULRGVIROORZLQJWKH&ORVLQJ'DWH WKH³Assumed Liabilities´ 

                       $G9DORUHP5HDODQG3HUVRQDO3URSHUW\7D[HV

              6HOOHUVKDOOEHUHVSRQVLEOHIRULWVSUH&ORVLQJ'DWH3URMHFW6KDUHRIDOODGYDORUHP
7D[HVLPSRVHGRQRUZLWKUHVSHFWWRWKH5HDO3URSHUW\DQGDQ\SHUVRQDOSURSHUW\ WKH³Ad
Valorem Property´ IRUDOO7D[SHULRGV RUSRUWLRQRIDQ\7D[SHULRGEHJLQQLQJRQRUEHIRUHDQG
HQGLQJDIWHUWKH&ORVLQJ'DWH D³Straddle Period´ HQGLQJRQRUSULRUWRWKH&ORVLQJ'DWH WKH
³Pre-Closing Periods´ 7KHSRUWLRQRIVXFK7D[HVIRUZKLFK6HOOHUVKDOOEHOLDEOHIRUD6WUDGGOH
3HULRGVKDOOEHGHWHUPLQHGE\PXOWLSO\LQJLWVSUH&ORVLQJ'DWH3URMHFW6KDUHRIWKHDPRXQWRI
7D[HVIRUWKHHQWLUH6WUDGGOH3HULRGE\DIUDFWLRQWKHQXPHUDWRURIZKLFKLVWKHQXPEHURIGD\V
LQVXFK6WUDGGOH3HULRGSULRUWRDQGLQFOXGLQJWKH&ORVLQJ'DWHDQGWKHGHQRPLQDWRURIZKLFKLV
WKHWRWDOQXPEHURIGD\VLQVXFK6WUDGGOH3HULRG

               $Q\UHDORUSHUVRQDOSURSHUW\WD[UHGXFWLRQVRUUHIXQGVZLWKUHVSHFWWRWKH$G
9DORUHP3URSHUW\IRURUUHODWLQJWRD3UH&ORVLQJ3HULRG DVGHWHUPLQHGLQDFFRUGDQFHZLWK
6HFWLRQ D VKDOOEHIRUWKHDFFRXQWRI6HOOHU,I%X\HUUHFHLYHVDUHDOSURSHUW\7D[UHIXQGRU
FUHGLWZLWKUHVSHFWWRWKH$G9DORUHP3URSHUW\IRURUUHODWLQJWRD3UH&ORVLQJ3HULRG%X\HU
VKDOOSURPSWO\UHPLWWR6HOOHULWVSUH&ORVLQJ'DWH3URMHFW6KDUHRIVXFKUHIXQGRUFUHGLWUHODWLQJ
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              3ULRUWRWKH&ORVLQJ'DWH6HOOHUVKDOOFRQWURODQGFRQGXFWDOOQHJRWLDWLRQV
SURFHHGLQJVDQGFRPPXQLFDWLRQVZLWKWKH0RQWDQD'HSDUWPHQWRI5HYHQXHUHJDUGLQJUHDO
SURSHUW\7D[HVZLWKUHVSHFWWRWKH$G9DORUHP3URSHUW\VKDOONHHS%X\HULQIRUPHGUHJDUGLQJ
VXFKQHJRWLDWLRQVSURFHHGLQJVDQGFRPPXQLFDWLRQVDQGVKDOOQRWDJUHHWRDQ\VHWWOHPHQWZLWK
WKH0RQWDQD'HSDUWPHQWRI5HYHQXHWKDWDIIHFWVDQ\7D[SHULRGRUSRUWLRQRID6WUDGGOH3HULRG
EHJLQQLQJDIWHUWKH&ORVLQJ'DWHZLWKRXW%X\HU¶VFRQVHQWZKLFKFRQVHQWVKDOOQRWEH
XQUHDVRQDEO\ZLWKKHOGFRQGLWLRQHGRUGHOD\HG)URPDQGDIWHUWKH&ORVLQJ'DWH%X\HUVKDOO
FRQWURODQGFRQGXFWDOOQHJRWLDWLRQVSURFHHGLQJVDQGFRPPXQLFDWLRQVZLWKWKH0RQWDQD
'HSDUWPHQWRI5HYHQXHUHJDUGLQJUHDOSURSHUW\7D[HVZLWKUHVSHFWWRWKH$G9DORUHP3URSHUW\


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VKDOONHHS6HOOHULQIRUPHGUHJDUGLQJVXFKQHJRWLDWLRQVSURFHHGLQJVDQGFRPPXQLFDWLRQVDQG
VKDOOQRWDJUHHWRDQ\VHWWOHPHQWZLWKWKH0RQWDQD'HSDUWPHQWRI5HYHQXHWKDWDIIHFWVDQ\7D[
SHULRGRUSRUWLRQRID6WUDGGOH3HULRGHQGLQJRQRUSULRUWRWKH&ORVLQJ'DWHZLWKRXW6HOOHU¶V
FRQVHQWZKLFKFRQVHQWVKDOOQRWEHXQUHDVRQDEO\ZLWKKHOGFRQGLWLRQHGRUGHOD\HG6HOOHUVKDOO
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VXFKRWKHUWLPHRUSODFHDVPD\EHPXWXDOO\DJUHHGXSRQE\WKH3DUWLHVLQZULWLQJ7KHGDWHRQ
ZKLFKWKH&ORVLQJRFFXUVLVUHIHUUHGWRKHUHLQDVWKH³Closing Date´

                    &ORVLQJ'HOLYHULHVE\%X\HU$WWKH&ORVLQJ%X\HUVKDOOGHOLYHURU
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              7KH3XUFKDVH3ULFHLQFDVKLQDFFRUGDQFHZLWK6HFWLRQKHUHRI

               $FHUWLILFDWHRIDQDXWKRUL]HGRIILFHURI%X\HUGDWHGDVRIWKH&ORVLQJ'DWHLQWKH
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FLUFXPVWDQFHVDVVKDOOQRWLQGLYLGXDOO\RULQWKHDJJUHJDWHKDYHRUUHDVRQDEO\EHH[SHFWHGWR
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              6XFKRWKHUGRFXPHQWVDQGFHUWLILFDWHVDV6HOOHUPD\UHDVRQDEO\UHTXHVWDQGZKLFK
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                     &ORVLQJ'HOLYHULHVE\6HOOHU$WWKH&ORVLQJ6HOOHUVKDOOH[HFXWHDQG
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                $GHHGLQWKHIRUPDWWDFKHGKHUHWRDV([KLELW,FRQYH\LQJ6HOOHU¶VLQWHUHVWLQWKH
5HDO3URSHUW\VXEMHFWRQO\WR3HUPLWWHG/LHQV LHDGHHG L LQZKLFK6HOOHUZDUUDQWVWKDWWKH
5HDO3URSHUW\LVIUHHIURPDOOHQFXPEUDQFHVPDGHE\WKH6HOOHURWKHUWKDQ3HUPLWWHG/LHQVDQG
WKDW6HOOHUZLOOGHIHQGWKHVDPHWRWKH%X\HUDJDLQVWWKHODZIXOFODLPVDQGGHPDQGVRIDOO
SHUVRQVFODLPLQJE\WKURXJKRUXQGHU6HOOHUEXWDJDLQVWQRRWKHUSHUVRQVDQG LL WKDWFRQYH\V
DQ\DIWHUDFTXLUHGWLWOHWRWKH5HDO3URSHUW\WKDW6HOOHUPD\VXEVHTXHQWO\REWDLQEXWUHVHUYLQJ
IRU6HOOHUIRUVRORQJDVWKH&ROVWULS3URMHFW7UDQVPLVVLRQ$JUHHPHQWGDWHG0D\DV
DPHQGHGLVLQHIIHFWVXFKHDVHPHQWVDVPD\EHUHDVRQDEO\QHFHVVDU\IRUWKHSXUSRVHRIRZQLQJ
RSHUDWLQJPDLQWDLQLQJUHSDLULQJUHSODFLQJRUUHPRYLQJDQ\WUDQVPLVVLRQIDFLOLW\DQGDVVRFLDWHG
HTXLSPHQWLQWKHLUFXUUHQWORFDWLRQVRQWKH5HDO3URSHUW\ DOOLQDIRUPUHDVRQDEO\DFFHSWDEOHWR
%X\HU ZKLFKVKDOOLQFOXGHODQJXDJHSURYLGLQJWKDWVXFKHDVHPHQWVVKDOOQRWRWKHUWKDQWRDGH
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               7KH:DWHU5LJKWV7UDQVIHU&HUWLILFDWHDQG

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ZKLFKDUHFXVWRPDULO\DQGRUGLQDULO\GHOLYHUHGLQWUDQVDFWLRQVVLPLODUWRWKHWUDQVDFWLRQVWREH
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              1RRUGHURUGHFUHHE\DQ\IHGHUDORUVWDWHFRXUWRU*RYHUQPHQWDO$XWKRULW\ZKLFK
SUHYHQWVWKHFRQVXPPDWLRQRIWKHVDOHRIWKH&ROVWULS,QWHUHVWVFRQWHPSODWHGKHUHLQVKDOOKDYH
EHHQLVVXHGDQGUHPDLQLQHIIHFW HDFK3DUW\DJUHHLQJWRXVHLWV&RPPHUFLDOO\5HDVRQDEOH
(IIRUWVWRKDYHDQ\VXFKRUGHURUGHFUHHOLIWHG DQGQRVWDWXWHUXOHRUUHJXODWLRQVKDOOKDYHEHHQ
HQDFWHGE\DQ\VWDWHRUIHGHUDOJRYHUQPHQWRU*RYHUQPHQWDO$XWKRULW\ZKLFKSURKLELWVWKH
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              1RHYHQWFDXVLQJRUFRQVWLWXWLQJD0DWHULDO$GYHUVH(IIHFWVKDOOKDYHRFFXUUHGRU
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                     &RQGLWLRQV3UHFHGHQWWRWKH&ORVLQJ2EOLJDWLRQVRI6HOOHU7KH
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               7KHUHSUHVHQWDWLRQVDQGZDUUDQWLHVRI%X\HUFRQWDLQHGLQ$57,&/(RIWKLV
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0DWHULDO$GYHUVH(IIHFWRQDQGDVRIWKH&ORVLQJ'DWHH[FHSWLQVXFKFLUFXPVWDQFHVDVVKDOOQRW
LQGLYLGXDOO\RULQWKHDJJUHJDWHKDYHRUUHDVRQDEO\EHH[SHFWHGWRKDYHD0DWHULDO$GYHUVH
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E\7UDQVPLVVLRQ$FTXLVLWLRQ$JUHHPHQW DVVXFKWHUPLVGHILQHGWKHUHLQ 

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              $OO2ZQHUVDQG3URMHFW8VHUVVKDOOKDYHHLWKHUGHFOLQHGWRH[HUFLVHRUH[HFXWHGD
ZDLYHUVXEVWDQWLDOO\LQWKHIRUPDWWDFKHGKHUHWRDV([KLELW-ZLWKUHVSHFWWRWKHLUULJKWVRIILUVW
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KDYHEHHQLVVXHGDQGUHPDLQLQHIIHFW HDFK3DUW\DJUHHLQJWRXVHLWV&RPPHUFLDOO\5HDVRQDEOH
(IIRUWVWRKDYHDQ\VXFKRUGHURUGHFUHHOLIWHG DQGQRVWDWXWHUXOHRUUHJXODWLRQVKDOOKDYHEHHQ
HQDFWHGE\DQ\VWDWHRUIHGHUDOJRYHUQPHQWRU*RYHUQPHQWDO$XWKRULW\ZKLFKSURKLELWVWKH
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JRYHUQPHQWDOVWDWXWRU\UHJXODWRU\RURWKHUFRQVHQWVOLFHQVHVZDLYHUVRUH[HPSWLRQVQHFHVVDU\
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KHUHXQGHUDQGWKHUHXQGHU7KHH[HFXWLRQGHOLYHU\DQGSHUIRUPDQFHRIWKLV$JUHHPHQWDQGWKH
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DFNQRZOHGJHVWKDWWKH6HOOHUKDVHQWHUHGLQWRWKLV$JUHHPHQWLQUHOLDQFHXSRQVXFK
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LQDFFRUGDQFHZLWKWKHLUUHVSHFWLYHWHUPVVXEMHFWWR D DSSOLFDEOHEDQNUXSWF\LQVROYHQF\
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PDNHVXFKFRSLHVDQGLQVSHFWLRQVWKHUHRIDV%X\HUPD\UHDVRQDEO\UHTXHVWDQG LLL IXUQLVK
%X\HUZLWKVXFKILQDQFLDODQGRSHUDWLQJGDWDDQGRWKHULQIRUPDWLRQZLWKUHVSHFWWRWKH&ROVWULS
,QWHUHVWVDV%X\HUPD\IURPWLPHWRWLPHUHDVRQDEO\UHTXHVWprovidedWKDWDQ\VXFKDFFHVVVKDOO
EHFRQGXFWHGDW%X\HU¶VH[SHQVHDWDUHDVRQDEOHWLPHDQGRQUHDVRQDEOHQRWLFHXQGHUWKH
UHDVRQDEOHVXSHUYLVLRQRI6HOOHU¶VRU2SHUDWRU¶VSHUVRQQHODVDSSURSULDWHDQGLQVXFKDPDQQHU
DVWRPDLQWDLQWKHFRQILGHQWLDOLW\RIVXFKLQIRUPDWLRQWKLV$JUHHPHQWDQGWKHWUDQVDFWLRQV
FRQWHPSODWHGKHUHE\DQGQRWWRLQWHUIHUHZLWKWKHQRUPDORSHUDWLRQRIWKHEXVLQHVVRI6HOOHURU
WKH&ROVWULS,QWHUHVWVDQGprovidedfurtherWKDW%X\HUDQGLWVUHSUHVHQWDWLYHVVKDOOFRPSO\
ZLWKDOODSSOLFDEOHVDIHW\UXOHVUHJXODWLRQVDQGSURFHGXUHVLPSOHPHQWHGE\6HOOHURU2SHUDWRU
DVWKHFDVHPD\EH6HOOHUIXUWKHUDJUHHVWRFRRSHUDWHLQIDFLOLWDWLQJWKHSURYLVLRQRILQIRUPDWLRQ
E\WKH2SHUDWRUDQGLWVHPSOR\HHVRIVXFKILQDQFLDORSHUDWLQJHQYLURQPHQWDODQGRWKHU
LQIRUPDWLRQZLWKUHVSHFWWRWKH&ROVWULS,QWHUHVWVDV%X\HUPD\UHDVRQDEO\UHTXHVW

               ,QDGGLWLRQWR6HFWLRQ D DERYH6HOOHUVSHFLILFDOO\DJUHHVWRIDFLOLWDWH%X\HU¶V
HQYLURQPHQWDOGXHGLOLJHQFHE\SURPSWO\SURYLGLQJ%X\HUFRSLHVRIDQ\GRFXPHQWVSUHSDUHGE\
6HOOHU¶VLQWHUQDOHQYLURQPHQWDOSURIHVVLRQDOVRURXWVLGHHQYLURQPHQWDOFRQVXOWDQWVUHWDLQHGE\RU
RQEHKDOIRI6HOOHUZKLFKDQDO\]HTXDQWLI\DXGLWRUUHSRUWRQDFWXDORUSRWHQWLDOHQYLURQPHQWDO
LVVXHVFRQGLWLRQVRU(QYLURQPHQWDO/LDELOLWLHVFRQQHFWHGZLWKWKH&ROVWULS,QWHUHVWV

               1RWKLQJLQWKLV$57,&/(VKDOOEHFRQVWUXHGWRSHUPLW%X\HURULWV
UHSUHVHQWDWLYHVWRKDYHDFFHVVSULRUWRWKH&ORVLQJWR L DQ\ILOHVUHFRUGVFRQWUDFWVRU
GRFXPHQWVRI6HOOHUQRWUHODWLQJWRWKH&ROVWULS,QWHUHVWV LL DQ\ELGVRURIIHUVUHFHLYHGE\
6HOOHUIRUWKHVDOHRIDQ\RIWKH&ROVWULS,QWHUHVWVLWEHLQJDJUHHGWKDWDOOVXFKELGVRURIIHUV
VKDOOEHWKHVROHSURSHUW\RI6HOOHU LLL DQ\MHRSDUGL]HDQ\DWWRUQH\FOLHQWRURWKHUSULYLOHJHDV
GHWHUPLQHGE\6HOOHU¶VVROHGLVFUHWLRQ

                     &RQILGHQWLDO,QIRUPDWLRQ%X\HUDQG6HOOHUDJUHHWRPDLQWDLQLQ
FRQILGHQFHDOOLQIRUPDWLRQPDGHDYDLODEOHWRLWXQGHUWKLV$JUHHPHQWDQGWRFDXVHWKHLU
UHVSHFWLYHRIILFHUVGLUHFWRUVDJHQWVHPSOR\HHVUHSUHVHQWDWLYHVFRQVXOWDQWVDQGDGYLVRUVWR
PDLQWDLQLQFRQILGHQFHDOOLQIRUPDWLRQPDGHDYDLODEOHWRWKHPXQGHUWKLV$JUHHPHQWDOODV
SURYLGHGLQWKDWFHUWDLQ0XWXDO1RQ'LVFORVXUH$JUHHPHQWEHWZHHQ%X\HUDQG6HOOHUGDWHG-XO\
 WKH³Confidentiality Agreement´ DQGWKHWHUPVRIZKLFKDUHLQFRUSRUDWHGKHUHLQE\
UHIHUHQFHDQGPDGHDSDUWRIWKLV$JUHHPHQWprovidedWKDWWKH&RQILGHQWLDOLW\$JUHHPHQWVKDOO
WHUPLQDWHXSRQ&ORVLQJRUWZR\HDUVIROORZLQJWKHGDWHKHUHRI,QWKHHYHQWWKDWWHUPVRIWKH


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&RQILGHQWLDOLW\$JUHHPHQWDQGWKLV$JUHHPHQWFRQIOLFWWKHWHUPVRIWKH&RQILGHQWLDOLW\
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                       &RQGXFWRI%XVLQHVV3HQGLQJ&ORVLQJ6HOOHUFRYHQDQWVDQGDJUHHVWKDW

               Exclusivity8SRQH[HFXWLRQRIWKLV$JUHHPHQWDQGH[FHSWDVQRWHGEHORZ6HOOHU
JUDQWV%X\HUWKHH[FOXVLYHULJKWWRDFTXLUHWKH&ROVWULS,QWHUHVWVXQWLOWKHHDUOLHURIWKH&ORVLQJ
RUWHUPLQDWLRQRIWKLV$JUHHPHQW'XULQJVXFKH[FOXVLYLW\SHULRG6HOOHUDJUHHVWR L GHDOZLWK
%X\HURULWVUHSUHVHQWDWLYHVH[FOXVLYHO\ZLWKUHJDUGWRDOODVSHFWVRIWKHDFTXLVLWLRQRIWKH
&ROVWULS,QWHUHVWVDQG LL UHIUDLQGLUHFWO\RULQGLUHFWO\IURPVROLFLWLQJLQLWLDWLQJHQFRXUDJLQJ
RUHQJDJLQJLQDQ\GLVFXVVLRQVRUQHJRWLDWLRQVZLWKDQ\3HUVRQRUHQWHULQJLQWRDQ\DJUHHPHQW
FRPPLWPHQWXQGHUVWDQGLQJRUWUDQVDFWLRQZLWKDQ\3HUVRQFRQFHUQLQJDQ\SURSRVDOUHJDUGLQJ
WKHDFTXLVLWLRQRIWKH&ROVWULS,QWHUHVWVRUSURYLGLQJDQ\EXVLQHVVILQDQFLDORURWKHU
LQIRUPDWLRQUHODWLQJWRDQ\VXFKWUDQVDFWLRQWRDQ\SHUVRQRUHQWLW\1RWZLWKVWDQGLQJWKH
IRUHJRLQJ%X\HUDQG6HOOHUDFNQRZOHGJHDQGDJUHHWKDWQRWKLQJLQWKLV6HFWLRQRUHOVHZKHUH
LQWKLV$JUHHPHQWVKDOOUHVWULFWRULPSDLU6HOOHU¶VULJKWRUREOLJDWLRQWRSURYLGHDULJKWRIILUVW
UHIXVDOWRWKH3URMHFW8VHUVXQGHUWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQWSXUVXDQWDQGVXEMHFW
WR6HFWLRQ1RWZLWKVWDQGLQJWKLV6HFWLRQ D QRWKLQJLQWKLV6HFWLRQVKDOOEHFRQVWUXHG
DVOLPLWLQJWKHWHUPLQDWLRQULJKWVRIWKH%X\HURU6HOOHUXQGHU$57,&/(RU%X\HU¶VRU6HOOHU¶V
ULJKWVLIDQ\SDUW\VKDOOH[HUFLVHVXFKULJKWRIILUVWUHIXVDO

                Conduct of Business3HQGLQJWKH&ORVLQJDQGWDNLQJLQWRFRQVLGHUDWLRQWKHIDFW
WKDWWKH6HOOHULVQRWWKH2SHUDWRUDQGH[FHSWDVSURYLGHGIRULQ6HFWLRQ D RUDVUHDVRQDEO\
QHFHVVDU\XQGHUHPHUJHQF\FLUFXPVWDQFHV RULIUHTXLUHGRUSURKLELWHGSXUVXDQWWRDSSOLFDEOH
/DZRUWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW DQGDOZD\VVXEMHFWWRDQGFRQVLVWHQWZLWKWKH
H[WHQWRI6HOOHU¶VULJKWVDQGOLPLWDWLRQVXQGHUWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW6HOOHU
VKDOOFRPSO\ZLWKWKHIROORZLQJ

                         L      6HOOHUVKDOOFRQGXFWLWVEXVLQHVVUHODWHGWRWKH&ROVWULS,QWHUHVWV
                DQGXWLOL]HLWV&RPPHUFLDOO\5HDVRQDEOH(IIRUWVWRFDXVHWKH&ROVWULS,QWHUHVWV
                WRFRQGXFWLWVEXVLQHVVLQDPDQQHUZKLFKDVVXPHVWKHORQJWHUPRSHUDWLRQRI
                &ROVWULS8QLWLQWKHRUGLQDU\FRXUVHLQDFFRUGDQFHZLWKSDVWSUDFWLFHDQGQRW
                PDNHDQ\PDWHULDOFKDQJHZLWKUHVSHFWWKHUHWR

                        LL  6HOOHUVKDOOFRPSO\LQDOOPDWHULDOUHVSHFWVZLWKWKH2ZQHUVKLSDQG
                2SHUDWLRQ$JUHHPHQW

                        LLL  6HOOHUVKDOOWDNHDOO&RPPHUFLDOO\5HDVRQDEOH(IIRUWVWRSUHVHUYH
                DQGSURWHFWWKH&ROVWULS,QWHUHVWVVXEMHFWWRWKHWHUPVRIWKH2ZQHUVKLSDQG
                2SHUDWLRQ$JUHHPHQWDQGDSSOLFDEOH/DZV

                        LY  :LWKUHVSHFWWRDQ\DSSURYDOVRIWKH&RPPLWWHH $ %X\HU
                IROORZLQJLWVJRRGIDLWKFRQVLGHUDWLRQRI6HOOHU¶VLQSXWUHJDUGLQJDQ\PDWWHUV
                FRQFHUQLQJWKH&ROVWULS,QWHUHVWVWREHYRWHGXSRQXQGHUWKH2ZQHUVKLSDQG
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               &ROVWULS,QWHUHVWV % 6HOOHUVKDOOFRQWLQXHWRYRWHRQLWVRZQEHKDOILQ
               FRQQHFWLRQZLWKLWVYRWHVDULVLQJIURPLWVRZQHUVKLSLQWHUHVWLQ&ROVWULS8QLWV 
               DQG&ROVWULS8QLWDQG & %X\HUDQG6HOOHUVKDOOFRQVXOWZLWKHDFKRWKHULQ
               JRRGIDLWKUHJDUGLQJDQ\LVVXHVUHJDUGLQJERWK&ROVWULS8QLWDQG&ROVWULS8QLW
               DQGRU&RPPRQ)DFLOLWLHVSULRUWRYRWLQJ

                       Y     H[FHSWDVVHWIRUWKRQ6FKHGXOH6HOOHUVKDOOQRWDVVLJQ
               WHUPLQDWHDPHQGJLYHDQ\FRQVHQWZLWKUHVSHFWWRRUZDLYHDQ\ULJKWVXQGHULQ
               DQ\PDWHULDOUHVSHFWDQ\0DWHULDO&RQWUDFW

                        YL  6HOOHUVKDOOQRWWDNHDQ\DFWLRQRUHQWHULQWRDQ\FRPPLWPHQWZLWK
               UHVSHFWWRRULQFRQWHPSODWLRQRIDQ\OLTXLGDWLRQGLVVROXWLRQUHFDSLWDOL]DWLRQ
               UHRUJDQL]DWLRQRURWKHUZLQGLQJXSRILWVEXVLQHVVRURSHUDWLRQVUHODWHGWRWKH
               &ROVWULS,QWHUHVWVH[FHSWDVUHTXLUHGE\DSSOLFDEOH/DZV

                       YLL  6HOOHUVKDOOQRWJUDQWDQ\H[SUHVVIXUWKHU/LHQRQDQ\RIWKH
               &ROVWULS,QWHUHVWVH[FHSWIRU3HUPLWWHG/LHQVWKRVH/LHQVWKDWZLOOEH
               WHUPLQDWHGZLWKRXWFRVWWR%X\HUDW&ORVLQJ

                        YLLL  6HOOHUVKDOOSURYLGHSURPSWZULWWHQGLVFORVXUHWRWKH%X\HURIDOO
               UHOHYDQWLQIRUPDWLRQZKLFKFRPHVWRWKHDWWHQWLRQRIWKH6HOOHULQUHODWLRQWRDQ\
               IDFWRUPDWWHU ZKHWKHUH[LVWLQJRQRUEHIRUHWKHGDWHRIWKLV$JUHHPHQWRUDULVLQJ
               DIWHUZDUGV ZKLFKPD\FRQVWLWXWHDEUHDFKRIDQ\RIWKH6HOOHU¶VUHSUHVHQWDWLRQV
               DQGZDUUDQWLHVVHWIRUWKLQ$57,&/(DQG

                      3XEOLF$QQRXQFHPHQWV:LWKRXWWKHSULRUZULWWHQDSSURYDORIWKHRWKHU
3DUW\QR3DUW\VKDOOLVVXHRUSHUPLWDQ\DJHQWRU$IILOLDWHRIVXFK3DUW\WRLVVXHDQ\SUHVV
UHOHDVHVRURWKHUZLVHPDNHRUFDXVHDQ\DJHQWRU$IILOLDWHRIVXFK3DUW\WRPDNHDQ\SXEOLF
VWDWHPHQWVZLWKUHVSHFWWRWKLV$JUHHPHQWRUWKH&ORVLQJ'RFXPHQWVRUWKHWUDQVDFWLRQV
FRQWHPSODWHGKHUHE\RUWKHUHE\H[FHSWZKHQDQGWRWKHH[WHQWWKDWVXFKUHOHDVHRUVWDWHPHQWLV
GHHPHGLQJRRGIDLWKE\WKHUHOHDVLQJ3DUW\WREHUHTXLUHGWRREWDLQWKH5HTXLUHG5HJXODWRU\
$SSURYDOVRUE\DSSOLFDEOH/DZRUXQGHUWKHDSSOLFDEOHUXOHVDQGUHJXODWLRQVRIDVWRFN
H[FKDQJHRUPDUNHWRQZKLFKWKHVHFXULWLHVRIWKHUHOHDVLQJ3DUW\RUDQ\RILWV$IILOLDWHVDUH
OLVWHG,QHDFKFDVHWRZKLFKVXFKH[FHSWLRQDSSOLHVWKHUHOHDVLQJ3DUW\ZLOOXVHLWVUHDVRQDEOH
HIIRUWVWRSURYLGHDFRS\RIVXFKUHOHDVHRUVWDWHPHQWWRWKHRWKHU3DUW\DQGLQFRUSRUDWHDQ\
UHDVRQDEOHFKDQJHVZKLFKDUHVXJJHVWHGE\WKHQRQUHOHDVLQJ3DUW\SULRUWRUHOHDVLQJRUPDNLQJ
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                      $FWLRQVE\3DUWLHV(DFK3DUW\DJUHHVWRXVH&RPPHUFLDOO\5HDVRQDEOH
(IIRUWVWRVDWLVI\WKHFRQGLWLRQVWRWKH&ORVLQJVHWIRUWKLQ6HFWLRQVDQGprovided
howeverWKDWQHLWKHU%X\HUQRU6HOOHUVKDOOEHGHHPHGWRKDYHEUHDFKHGLWVREOLJDWLRQVXQGHU
6HFWLRQ6HFWLRQRUWKLV6HFWLRQE\SXUVXLQJWKHGLVFXVVLRQVZLWKWKH036&RUWKH
:DVKLQJWRQ8WLOLWLHVDQG7UDQVSRUWDWLRQ&RPPLVVLRQRUE\PDNLQJDQ\UHTXLUHGILOLQJVLQ
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                      )XUWKHU$VVXUDQFHV6HOOHUDQG%X\HUHDFKDJUHHWKDWIURPWLPHWRWLPH
DIWHUWKH&ORVLQJLWZLOOH[HFXWHDQGGHOLYHURUFDXVHLWVUHVSHFWLYH$IILOLDWHVWRH[HFXWHDQG



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GHOLYHUVXFKIXUWKHUDJUHHPHQWVFHUWLILFDWHVGRFXPHQWVRURSLQLRQVDQGWDNH RUFDXVHLWV
UHVSHFWLYH$IILOLDWHVWRWDNH VXFKRWKHUDFWLRQDVPD\EHUHDVRQDEO\QHFHVVDU\WRFDUU\RXWWKH
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IXUWKHUDFWLRQE\DQ\RWKHU3DUW\WRFDUU\RXWWKHSXUSRVHVRIWKLV$JUHHPHQWDQGWKH&ORVLQJ
'RFXPHQWVRUWRIXUWKHUHIIHFWXDWHWKHWUDQVDFWLRQVFRQWHPSODWHGKHUHE\VXFKRWKHU3DUW\VKDOO
SURPSWO\WDNHVXFKDFWLRQ LQFOXGLQJWKHSURPSWH[HFXWLRQDQGGHOLYHU\RIIXUWKHULQVWUXPHQWV
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UHFRUGVUHWHQWLRQSROLF\DVPDLQWDLQHGLQFRPSOLDQFHZLWKDSSOLFDEOH/DZVDQG%X\HU¶VSDVW
SUDFWLFHVRULIDQ\RIWKH5HFRUGVSHUWDLQWRDQ\FODLPRUGLVSXWHSHQGLQJRQWKHGDWHXSRQ
ZKLFKVXFKUHFRUGVZRXOGEHGHVWUR\HGSXUVXDQWWR%X\HU¶VUHFRUGVUHWHQWLRQSROLF\%X\HUVKDOO
PDLQWDLQDQ\RIWKH5HFRUGVGHVLJQDWHGE\6HOOHUXQWLOVXFKFODLPRUGLVSXWHLVILQDOO\UHVROYHG
DQGWKHWLPHIRUDOODSSHDOVKDVEHHQH[KDXVWHG%X\HUVKDOOJLYH6HOOHUUHDVRQDEOHQRWLFHDQGDQ
RSSRUWXQLW\WRUHWDLQDQ\5HFRUGVUHODWLQJWR7D[HVLQWKHHYHQWWKDW%X\HUGHWHUPLQHVWRGHVWUR\
RUGLVSRVHRIWKHPGXULQJVXFKSHULRG$IWHUWKH&ORVLQJ'DWHH[FHSWDVPLJKWUHVXOWLQDZDLYHU
RIDQ\DWWRUQH\FOLHQWZRUNSURGXFWRUOLNHSULYLOHJHRUYLRODWHDSSOLFDEOH/DZV%X\HUVKDOO
SURYLGH6HOOHUDQGLWVUHSUHVHQWDWLYHVGXULQJQRUPDOEXVLQHVVKRXUVDQGXSRQUHDVRQDEOHQRWLFH
UHDVRQDEOHDFFHVVWRDQGWKHULJKWWRFRS\WKH5HFRUGVH[LVWLQJDVRIWKH&ORVLQJ'DWHDW
6HOOHU¶VFRVWDQGH[SHQVHIRUWKHSXUSRVHVRI

                       L      FRPSO\LQJZLWKDQ\DSSOLFDEOH/DZDIIHFWLQJ6HOOHU¶VRZQHUVKLSRI
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               UHODWLQJWR&ROVWULS8QLWSULRUWRWKH&ORVLQJ'DWHRUUHVSRQGLQJWRDQ\DXGLW
               SUHSDUHGE\VXFKWKLUGSDUWLHV

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                       LY  UHVSRQGLQJWRRUGLVSXWLQJDQ\DXGLWH[DPLQDWLRQFODLPRURWKHU
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                       Y      DVVHUWLQJGHIHQGLQJRURWKHUZLVHGHDOLQJZLWKDQ\LQTXLU\
               LQYHVWLJDWLRQFODLPRUGLVSXWHXQGHUWKLV$JUHHPHQWRUZLWKUHVSHFWWRWKH
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               3ULYLOHJH%X\HUVKDOOQRWDIWHUWKH&ORVLQJ'DWHLQWHQWLRQDOO\ZDLYHWKH
DWWRUQH\FOLHQWZRUNSURGXFWRUOLNHSULYLOHJHRI6HOOHURULWV$IILOLDWHVZLWKUHVSHFWWRDQ\RIWKH
5HFRUGVH[LVWLQJDVRIWKH&ORVLQJ'DWHZLWKRXW6HOOHU¶VSULRUZULWWHQFRQVHQW

                         5HJXODWRU\DQG2WKHU$XWKRUL]DWLRQVDQG&RQVHQWV)LOLQJV

              General(DFK3DUW\VKDOOXVH&RPPHUFLDOO\5HDVRQDEOH(IIRUWVWRREWDLQDOO
DXWKRUL]DWLRQVFRQVHQWVRUGHUVDQGDSSURYDOVRIDQGWRJLYHDOOQRWLFHVWRDQGPDNHDOOILOLQJV
ZLWKDOO*RYHUQPHQWDO$XWKRULWLHVDQGWKLUGSDUWLHVWKDWPD\EHRUEHFRPHQHFHVVDU\IRULWV


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H[HFXWLRQDQGGHOLYHU\RIDQGWKHSHUIRUPDQFHRILWVREOLJDWLRQVXQGHUWKLV$JUHHPHQWDQGZLOO
FRRSHUDWHIXOO\ZLWKWKHRWKHU3DUW\LQSURPSWO\VHHNLQJWRREWDLQDOOVXFKDXWKRUL]DWLRQV
FRQVHQWVRUGHUVDQGDSSURYDOVJLYLQJVXFKQRWLFHVDQGPDNLQJVXFKILOLQJV

               Required Regulatory Approvals:LWKRXWOLPLWLQJWKHJHQHUDOLW\RIWKH
XQGHUWDNLQJVSXUVXDQWWR6HFWLRQ D DERYHHDFK3DUW\VKDOO L XVHLWV&RPPHUFLDOO\
5HDVRQDEOH(IIRUWVWRJDWKHUDQGREWDLQDOOQHFHVVDU\LQIRUPDWLRQWRFRPSOHWHLWVUHVSHFWLYH
ILOLQJVLQFRQQHFWLRQZLWKWKH5HTXLUHG5HJXODWRU\$SSURYDOV LQFOXGLQJDOOUHSRUWVVWXGLHVDQG
H[KLELWVUHODWHGWKHUHWR FRQVXOWZLWKWKHRWKHU3DUW\UHJDUGLQJDQ\VXFKILOLQJVFRQVLGHUDQG
LQFRUSRUDWHDOOUHDVRQDEOHFRPPHQWV LIDQ\ VXEPLWWHGE\WKHRWKHU3DUW\RULWVUHSUHVHQWDWLYHV
DQGWKH3DUWLHVVKDOOPDNHVXFKILOLQJVDVVRRQDVSUDFWLFDEOHIROORZLQJWKHH[HFXWLRQDQG
GHOLYHU\RIWKLV$JUHHPHQWLIQRWDOUHDG\FRPSOHWHG LL SULRUWRDQGGXULQJWKHSHQGHQF\RIDQ\
QRWLFHDQGDSSURYDOSHULRGZLWKUHVSHFWWRVXFKILOLQJV $ FRQVXOWZLWKWKHRWKHU3DUW\SULRUWR
SURYLGLQJDQ\VXSSOHPHQWDOLQIRUPDWLRQWRWKHDSSOLFDEOHUHJXODWRU\DXWKRULW\DQGSURYLGH
SURPSWZULWWHQQRWLFHWRWKHRWKHU3DUW\RIDOOGLVFXVVLRQVDQGFRUUHVSRQGHQFHZLWKWKH
DSSOLFDEOHUHJXODWRU\DXWKRULWLHVWKDWUHDVRQDEO\UHODWHVWRRUEHDUVXSRQVXFKILOLQJVDQG % XVH
DOO&RPPHUFLDOO\5HDVRQDEOH(IIRUWVDQGDFWLQJRRGIDLWKWRH[SHGLWHDQGREWDLQWKH5HTXLUHG
5HJXODWRU\$SSURYDOV,QIXUWKHUDQFHDQGQRWLQOLPLWDWLRQRIWKHIRUHJRLQJHDFKRIWKH3DUWLHV
DJUHHVWRXVHLWV&RPPHUFLDOO\5HDVRQDEOH(IIRUWVWRDSSOLFDWLRQVZLWKDQ\DSSOLFDEOH
*RYHUQPHQWDO$XWKRULW\ZKRVHDSSURYDOLVUHTXLUHGLQFRQQHFWLRQZLWKWKHFRQVXPPDWLRQRIWKH
SXUFKDVHE\%X\HURIWKH&ROVWULS,QWHUHVWVDVSURPSWO\DVSUDFWLFDEOHIROORZLQJWKHGDWHRIWKLV
$JUHHPHQWWKHGDWHRIZKLFKVKDOOEHPXWXDOO\DJUHHGXSRQE\%X\HUDQG6HOOHU

               Transfer,IWKHWUDQVIHURIDQ\LQVWUXPHQWFRQWUDFWOLFHQVHOHDVHSHUPLWRU
0DWHULDO&RQWUDFWWR%X\HUKHUHXQGHUVKDOOUHTXLUHWKHFRQVHQWRIDQ\SDUW\WKHUHWRRWKHUWKDQ
6HOOHUWKHQVXFKLWHPVKDOOQRWEHDVVLJQHGWRRUDVVXPHGE\%X\HULIDQDFWXDORUDWWHPSWHG
DVVLJQPHQWWKHUHRIZRXOGFRQVWLWXWHDEUHDFKWKHUHRIRUGHIDXOWWKHUHXQGHU,QVXFKFDVH6HOOHU
DQG%X\HUVKDOOFRRSHUDWHDQGHDFKVKDOOXVH&RPPHUFLDOO\5HDVRQDEOH(IIRUWVWRREWDLQVXFK
FRQVHQWVWRWKHH[WHQWUHTXLUHGE\VXFKRWKHUSDUWLHVDQGLIDQGZKHQDQ\VXFKFRQVHQWVDUH
REWDLQHGWRWUDQVIHUWKHDSSOLFDEOHLQVWUXPHQWFRQWUDFWOLFHQVHOHDVHSHUPLWRU0DWHULDO
&RQWUDFW,IDQ\VXFKFRQVHQWFDQQRWEHREWDLQHG6HOOHUVKDOODW%X\HU¶VH[SHQVHFRRSHUDWHLQ
DQ\FRPPHUFLDOO\UHDVRQDEOHDUUDQJHPHQWGHVLJQHGWRREWDLQIRU%X\HUDOOEHQHILWVREOLJDWLRQV
DQGSULYLOHJHVRIWKHDSSOLFDEOHLQVWUXPHQWFRQWUDFWOLFHQVHOHDVHSHUPLWRUGRFXPHQW%X\HU
VKDOOLQGHPQLI\DQGKROGKDUPOHVVWKH6HOOHUIURPDQ\DQGDOO/RVVHVDULVLQJIURPRUUHODWHGWR
6HOOHU¶VDFWLRQVWDNHQSXUVXDQWWRWKH%X\HU¶VUHTXHVWDQGRUGLUHFWLRQ RUVXFKQRQDFWLRQDV
UHTXHVWHGDQGRUGLUHFWHGE\WKH%X\HUDVWKHFDVHPD\EH SXUVXDQWWRWKLV6HFWLRQ F 
1RWZLWKVWDQGLQJWKHIRUHJRLQJWKHLQGHPQLILFDWLRQSURYLVLRQVRIWKLV6HFWLRQ F VKDOOQRW
DSSO\WRDQ\DFWLRQVWDNHQE\6HOOHUZLWKUHJDUGWRWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW

               Third Party Consents6HOOHUVKDOOXVHLWV&RPPHUFLDOO\5HDVRQDEOH(IIRUWVDQG
%X\HUVKDOOXVHLWV&RPPHUFLDOO\5HDVRQDEOH(IIRUWVWRDVVLVW6HOOHULQREWDLQLQJDQ\DQGDOO
FRQVHQWVRIWKLUGSDUWLHVDQG*RYHUQPHQWDO$XWKRULWLHVQHFHVVDU\RUDGYLVDEOHLQFRQQHFWLRQZLWK
WKHWUDQVDFWLRQVFRQWHPSODWHGE\WKLV$JUHHPHQWDQGWKH&ORVLQJ'RFXPHQWVLQFOXGLQJWKH
SURYLVLRQE\%X\HUWRVXFKWKLUGSDUWLHVDQG*RYHUQPHQWDO$XWKRULWLHVRIVXFKSXEOLFO\DYDLODEOH
ILQDQFLDOVWDWHPHQWVDQGRWKHUSXEOLFO\DYDLODEOHILQDQFLDOLQIRUPDWLRQZLWKUHVSHFWWR%X\HUDQG
LWVSDUHQWFRPSDQ\RUFRPSDQLHVDVVXFKWKLUGSDUWLHVRU*RYHUQPHQWDO$XWKRULWLHVPD\
UHDVRQDEO\UHTXHVW


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                    )HHVDQG([SHQVHV([FHSWDVRWKHUZLVHH[SUHVVO\SURYLGHGLQWKLV
$JUHHPHQWDOOIHHVDQGH[SHQVHVLQFOXGLQJIHHVDQGH[SHQVHVRIFRXQVHOILQDQFLDODGYLVRUVDQG
DFFRXQWDQWVLQFXUUHGLQFRQQHFWLRQZLWKWKLV$JUHHPHQWDQGWKH&ORVLQJ'RFXPHQWVDQGWKH
WUDQVDFWLRQVFRQWHPSODWHGKHUHE\VKDOOEHSDLGE\WKH3DUW\LQFXUULQJVXFKIHHRUH[SHQVH
ZKHWKHURUQRWWKH&ORVLQJVKDOOKDYHRFFXUUHG

                       7D[0DWWHUV

               $IWHUWKH&ORVLQJ'DWH%X\HUDQG6HOOHUVKDOOSURYLGHHDFKRWKHUZLWKVXFK
FRRSHUDWLRQDQGLQIRUPDWLRQUHODWHGWR&ROVWULS8QLWDQGWKH&ROVWULS,QWHUHVWVDVWKH3DUWLHV
UHDVRQDEO\PD\UHTXHVWLQ L ILOLQJDQ\7D[5HWXUQDPHQGLQJDQ\7D[5HWXUQRUFODLPLQJDQ\
7D[UHIXQG LL GHWHUPLQLQJDQ\OLDELOLW\IRU7D[HVRUDQ\ULJKWWR7D[UHIXQGVRU LLL FRQGXFWLQJ
RUGHIHQGLQJDQ\DXGLWH[DPLQDWLRQFODLPRURWKHUSURFHHGLQJLQUHVSHFWRI7D[HV6HOOHUDQG
%X\HUVKDOOUHWDLQDOO7D[5HWXUQVVFKHGXOHVDQGZRUNSDSHUVDQGDOOPDWHULDOUHFRUGVDQGRWKHU
GRFXPHQWVUHODWHGWKHUHWRXQWLOWKHH[SLUDWLRQRIWKHVWDWXWHRIOLPLWDWLRQVIRUWKHWD[DEOH\HDUVWR
ZKLFKVXFK7D[5HWXUQVDQGRWKHUGRFXPHQWVUHODWH

               %X\HUDQG6HOOHUHDFKVKDOOEHUHVSRQVLEOHXQGHUDSSOLFDEOH/DZIRUSD\PHQWRI
ILIW\SHUFHQW  RIDOO7UDQVIHU7D[HV7KH3DUW\UHVSRQVLEOHIRUSUHSDULQJDQ\7D[5HWXUQV
RURWKHUGRFXPHQWDWLRQUHODWLQJWRVXFK7UDQVIHU7D[HVVKDOOSUHSDUHDQGILOHVXFK7D[5HWXUQV
RURWKHUGRFXPHQWDWLRQprovidedhoweverWKDWWRWKHH[WHQWUHTXLUHGE\DSSOLFDEOH/DZWKH
RWKHU3DUW\VKDOOMRLQLQWKHH[HFXWLRQRIDQ\VXFK7D[5HWXUQVDQGRWKHUGRFXPHQWDWLRQUHODWLQJ
WRVXFK7UDQVIHU7D[HV7KH3DUW\UHVSRQVLEOHIRUSUHSDULQJDQGILOLQJDQ\VXFK7D[5HWXUQRU
RWKHUGRFXPHQWDWLRQVKDOOSURYLGHWRWKHRWKHU3DUW\FRSLHVRIHDFKVXFK7D[5HWXUQRURWKHU
GRFXPHQWDWLRQDWOHDVWILIWHHQ  GD\VSULRUWRWKHGDWHRQZKLFKVXFK7D[5HWXUQLVUHTXLUHGWR
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               ,QWKHHYHQWRIDQ\FRQIOLFWEHWZHHQWKHSURYLVLRQVRI$57,&/(RIWKLV
$JUHHPHQWDQGWKLV6HFWLRQRU6HFWLRQWKHSURYLVLRQVRIWKLV6HFWLRQDQG6HFWLRQ
VKDOOFRQWURO

                      5LJKWRI)LUVW5HIXVDO:LWKRXWOLPLWLQJWKHJHQHUDOLW\RIWKH
XQGHUWDNLQJVSXUVXDQWWR6HFWLRQDERYH6HOOHUVKDOOXVHLWV&RPPHUFLDOO\5HDVRQDEOH(IIRUWV
WR D ZLWKLQILYH  %XVLQHVV'D\VRIWKHGDWHKHUHRIQRWLI\WKH2ZQHUVDQG3URMHFW8VHUV
FRQFHUQLQJWKHLUH[HFXWLRQRIDZDLYHUVXEVWDQWLDOO\LQWKHIRUPDWWDFKHGKHUHWRDV([KLELW-ZLWK
UHVSHFWWRWKHLUULJKWVRIILUVWUHIXVDOFRQWDLQHGLQ6HFWLRQRIWKH2ZQHUVKLSDQG2SHUDWLRQ
$JUHHPHQW E XVHLWV&RPPHUFLDOO\5HDVRQDEOH(IIRUWVWRVDWLVI\WKHFRQGLWLRQWRWKH&ORVLQJ
VHWIRUWKLQ6HFWLRQ J DQG F NHHS%X\HUUHDVRQDEO\LQIRUPHGLQUHVSHFWRIWKHVWDWXVDQG
VXEVWDQFHRIVXFKGLVFXVVLRQVLQFOXGLQJE\SURYLGLQJFRSLHVRIDOOUHOHYDQWFRUUHVSRQGHQFHWR
%X\HU6HOOHUVKDOOLPPHGLDWHO\QRWLI\%X\HULIDWDQ\WLPHDQ\3URMHFW8VHURU2ZQHUVKDOO
H[HUFLVHRULQGLFDWHWKHLULQWHQWWRH[HUFLVHDQ\VXFKULJKWRIILUVWUHIXVDO6HOOHUVKDOO [ DVVRRQ
DVSUDFWLFDEOHEXWLQDQ\HYHQWQRODWHUWKDQ>GDWH@QRWLI\%X\HULQZULWLQJWKDWWKHFRQGLWLRQVHW
IRUWKLQ6HFWLRQ J KDVEHHQVDWLVILHG WKH³ROFR Resolution Notice´ RU \ QRODWHUWKDQ
RQHKXQGUHGWZHQW\  GD\VDIWHUWKHGDWHKHUHRIQRWLI\%X\HULQZULWLQJWKDWWKHFRQGLWLRQ
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                       8SGDWHVWR'LVFORVXUH6FKHGXOHV)URPWLPHWRWLPHSULRUWRDQGXSWR
WKUHH  GD\VSULRUWRWKH&ORVLQJ'DWH6HOOHUVKDOOSURYLGHZULWWHQQRWLFHWR%X\HURIDQ\IDFW
PDWWHUFRQGLWLRQHYHQWRUFLUFXPVWDQFHWKDWRFFXUVIROORZLQJWKHGDWHRIWKLV$JUHHPHQWDQG
WKDWLQGLYLGXDOO\RULQWKHDJJUHJDWHUHQGHUV6HOOHUXQDEOHZLWKRXWDPHQGLQJWKH'LVFORVXUH
6FKHGXOHVWRVDWLVI\WKHFRQGLWLRQSUHFHGHQWXQGHU6HFWLRQ E  HDFKDQ³Update´ )RUWKH
DYRLGDQFHRIGRXEWWKHXSORDGLQJRIGRFXPHQWVWRWKHHOHFWURQLFGDWDVLWHRI6HOOHUUHODWHGWRWKH
&ROVWULS,QWHUHVWVRURWKHUGHOLYHU\RIGRFXPHQWVWR%X\HURU6HOOHUDVDSSOLFDEOHVKDOOQRW
FRQVWLWXWHZULWWHQQRWLFHRIDQ8SGDWH,QWKHHYHQWWKDW%X\HUGRHVQRWWHUPLQDWHWKLV$JUHHPHQW
SXUVXDQWWR6HFWLRQ G L IROORZLQJGHOLYHU\RIVXFK8SGDWHWKHQ6HOOHUVKDOOEHSHUPLWWHGWR
XSGDWHWKHDSSOLFDEOH6FKHGXOH V WRSURSHUO\UHIOHFWWKHIDFWPDWWHUFRQGLWLRQHYHQWRU
FLUFXPVWDQFHGLVFORVHGWR%X\HULQVXFK8SGDWHDQGWKHDSSOLFDEOHUHSUHVHQWDWLRQVDQG
ZDUUDQWLHVRI6HOOHUVHWIRUWKLQWKLV$JUHHPHQWPDGHIROORZLQJWKH8SGDWHVKDOOEHVXEMHFWWRWKH
6FKHGXOHVDWWDFKHGKHUHWRDVPRGLILHGRUDPHQGHGE\VXFK8SGDWHIRUSXUSRVHVRIVDWLVI\LQJ
WKHFRQGLWLRQVWR&ORVLQJVHWIRUWKLQ6HFWLRQprovidedWKDWLIWKH&ORVLQJRFFXUVVXFK
8SGDWHVKDOOQRWEHGHHPHGWRKDYHPRGLILHGWKH6FKHGXOHVIRUSXUSRVHVRIGHWHUPLQLQJZKHWKHU
WKHUHKDVEHHQDEUHDFKRIWKHDSSOLFDEOHUHSUHVHQWDWLRQVDQGZDUUDQWLHVUHODWHGWR6HOOHU¶V
LQGHPQLILFDWLRQREOLJDWLRQVLQ$57,&/(

                      7UDQVIHUVRI,QWHUHVWV,IDWDQ\WLPHEHWZHHQWKHGDWHRIWKLV
$JUHHPHQWDQGRQH\HDUIROORZLQJWKH&ORVLQJ'DWH%X\HUHQWHUVLQWRDQ\FRQWUDFWDJUHHPHQW
DUUDQJHPHQWRURWKHUXQGHUVWDQGLQJZLWKUHVSHFWWRWKHSXUFKDVHRIDQ\LQWHUHVWVRI&ROVWULS
8QLWV &ROVWULS8QLWRU&ROVWULS8QLWRQWHUPV LQGLYLGXDOO\RULQWKHDJJUHJDWH PRUH
IDYRUDEOHWRWKHVHOOHURIVXFKLQWHUHVWVWKDQWKHWHUPVDVDJUHHGXSRQLQWKLV$JUHHPHQW DV
GHWHUPLQHGE\6HOOHULQLWVVROHGLVFUHWLRQ %X\HUKHUHE\DJUHHVWRDPHQGWKLV$JUHHPHQWWR
UHIOHFWVXFKPRUHIDYRUDEOHWHUPVLQWKLV$JUHHPHQW

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                           /,$%,/,7<$1',1'(01,),&$7,21

                     6XUYLYDO7KHUHSUHVHQWDWLRQVDQGZDUUDQWLHVRI%X\HUDQG6HOOHUVKDOO
VXUYLYHXQWLOWKHGDWHWKDWLVHLJKWHHQ  PRQWKVDIWHUWKH&ORVLQJ'DWHH[FHSWWKDWWKH6HOOHU
)XQGDPHQWDO5HSUHVHQWDWLRQVWKH%X\HU)XQGDPHQWDO5HSUHVHQWDWLRQVVKDOOHDFKVXUYLYH
&ORVLQJLQGHILQLWHO\&ODLPVIRUEUHDFKRIDQ\RIWKHFRYHQDQWVDQGDJUHHPHQWVRIWKH3DUWLHVVHW
IRUWKKHUHLQPXVWEHEURXJKWQRODWHUWKDQVL[W\  GD\VIROORZLQJWKHH[SLUDWLRQRIWKH
DSSOLFDEOHVWDWXWHRIOLPLWDWLRQVDSSOLFDEOHWRVXFKFODLPV

                      $2&DQG&&55XOHV7KH3DUWLHVVKDOOEHUHVSRQVLEOHIRU/RVVHVDULVLQJ
IURPWKHRZQHUVKLSRURSHUDWLRQRIWKH&ROVWULS,QWHUHVWVWKH3URMHFWRUWKH&RPPRQ
)DFLOLWLHVLQHDFKFDVHWKDWDUHFDXVHGE\RUDULVHIURPWKH$2&DQGRU&&55XOHVEDVHGRQ
WKHLUUHVSHFWLYHSUH&ORVLQJ'DWH3URMHFW6KDUHVSURYLGHGKRZHYHUWRWKHH[WHQWDQ\VXFK
/RVVHVLQFUHDVHGXHWRYLRODWLRQVRI(QYLURQPHQWDO/DZVE\WKH2SHUDWRURU2ZQHUVRU5HOHDVHV
RI+D]DUGRXV6XEVWDQFHVWKDW D ZKROO\DULVHRUZKROO\WDNHSODFHDIWHUWKH&ORVLQJRU E 
FRPPHQFHGSULRUWR&ORVLQJEXWWKDWDUHDVRQDEOHHQYLURQPHQWDOSURIHVVLRQDOZRXOGGHWHUPLQH
VXEVWDQWLDOO\DOORIVXFKYLRODWLRQVRU5HOHDVHVRI+D]DUGRXV6XEVWDQFHVRFFXUUHGDIWHUWKH
&ORVLQJOLDELOLW\ZLWKUHVSHFWWRWKRVHLQFUHPHQWDO/RVVHVVKDOOEHDVVHWIRUWKLQ6HFWLRQ
7KH3DUWLHVVSHFLILFDOO\UHFRJQL]HWKDWWKH3URMHFWZLOOFRQWLQXHWREXUQFRDODQGJHQHUDWHFRDO
FRPEXVWLRQUHVLGXDOVDIWHU&ORVLQJDQGDJUHHQRWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\LQWKH


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SURYLVRFRQWDLQHGLQWKHSULRUVHQWHQFHWKDW/RVVHVDULVLQJIURPWKHFRQWLQXHGEXUQLQJRIFRDO
DQGWKHJHQHUDWLRQVWRUDJHGHSRVLWDQG5HOHDVHRIFRDOFRPEXVWLRQUHVLGXDOVLQFOXGLQJWKH
GHSRVLWRIFRDOFRPEXVWLRQUHVLGXDOVLQWRSRQGVWKHGU\VWRUDJHRUVWDJLQJRIFRDOFRPEXVWLRQ
UHVLGXDOVDQGDQ\5HOHDVHRIFRDOFRPEXVWLRQUHVLGXDOVRU+D]DUGRXV6XEVWDQFHVUHVXOWLQJIURP
FRDOFRPEXVWLRQUHVLGXDOVIURPH[LVWLQJSRQGVVKDOOQRWEHFRQVLGHUHGLQFUHPHQWDO/RVVHVRIWKH
VRUWGHVFULEHGLQWKHSUHFHGLQJVHQWHQFHDQGVKDOOQRWGHFUHDVH6HOOHU¶VOLDELOLW\RUUHVSRQVLELOLW\
IRUVXFK/RVVHVEDVHGRQWKH3DUWLHV¶UHVSHFWLYHSUH&ORVLQJ'DWH3URMHFW6KDUHVVXFKWKDWDOO
/RVVHVFDXVHGE\RUDULVLQJIURPWKH$2&DQGRU&&55XOHVWKDWDULVHIURPRUDUHFDXVHGE\WKH
GHSRVLWVWRUDJHJHQHUDWLRQVWDJLQJRU5HOHDVHRIFRDOFRPEXVWLRQUHVLGXDOVVKDOOEHEDVHGRQ
SUH&ORVLQJ'DWH3URMHFW6KDUHVZLWKRXWUHJDUGWRZKHWKHUVXFKGHSRVLWVWRUDJHJHQHUDWLRQ
VWDJLQJRU5HOHDVHRFFXUVEHIRUHRUDIWHU&ORVLQJ&RQWLQXHGRSHUDWLRQRIWKH&ROVWULS
,QWHUHVWVFRQVLVWHQWZLWK3UXGHQW8WLOLW\3UDFWLFHVKDOOQRWKDYHDQ\EHDULQJRQWKHDOORFDWLRQRI
/RVVHVSURYLGHGIRULQWKLV6HFWLRQ&KDQJHVLQ/DZLQFOXGLQJFKDQJHVWKDWDOWHUWKHQDWXUH
VFRSHRUH[SHQVHRIREOLJDWLRQVDQG/RVVHVFDXVHGE\RUDULVLQJIURPWKH$2&DQGRUWKH&&5
5XOHVVKDOOQRWDOWHURURWKHUZLVHKDYHDQ\EHDULQJRQWKHDOORFDWLRQRI/RVVHVSURYLGHGIRULQ
WKLV6HFWLRQSURYLGHGWKDWLIDQ\FKDQJHVLQ/DZDIWHUWKH&ORVLQJLPSDFWWKHRSHUDWLRQRI
&ROVWULS8QLW6HOOHU¶VOLDELOLW\IRU/RVVHVDULVLQJIURPVXFKLPSDFWVRQWKHRSHUDWLRQRI
&ROVWULS8QLWVKDOOEHDVVHWIRUWKLQ6HFWLRQ

                     'HFRPPLVVLRQLQJ7KH3DUWLHVVKDOOEHUHVSRQVLEOHIRU/RVVHVDULVLQJ
IURPWKHGHFRPPLVVLRQLQJPRWKEDOOLQJFORVXUHUHWLUHPHQWGHDFWLYDWLRQVKXWGRZQ
GHFRQVWUXFWLRQUHPRYDORUGHPROLWLRQRIDOORUDSRUWLRQRI&ROVWULS8QLWWKH3URMHFWRUWKH
&RPPRQ)DFLOLWLHVEDVHGRQWKHLUUHVSHFWLYHSUH&ORVLQJ'DWH3URMHFW6KDUHVSURYLGHG
KRZHYHUWKDW6HOOHUVKDOOQRWEHUHVSRQVLEOHIRU/RVVHVFDXVHGE\RUDULVLQJIURPWKH
GHFRPPLVVLRQLQJPRWKEDOOLQJFORVXUHUHWLUHPHQWGHDFWLYDWLRQVKXWGRZQGHFRQVWUXFWLRQ
UHPRYDORUGHPROLWLRQRIDQ\EXLOGLQJVFRQVWUXFWHGDIWHU&ORVLQJLQWHQGHGWRSUHGRPLQDQWO\
EHQHILW&ROVWULS8QLW&RQWLQXHGRSHUDWLRQRIWKH&ROVWULS,QWHUHVWVFRQVLVWHQWZLWK3UXGHQW
8WLOLW\3UDFWLFHVKDOOQRWKDYHDQ\EHDULQJRQWKHDOORFDWLRQRI/RVVHVSURYLGHGIRULQWKLV
6HFWLRQ&KDQJHVLQ/DZLQFOXGLQJFKDQJHVWKDWDOWHUWKHQDWXUHVFRSHRUH[SHQVHRI
REOLJDWLRQVDQG/RVVHVFDXVHGE\RUDULVLQJIURPWKHGHFRPPLVVLRQLQJPRWKEDOOLQJFORVXUH
UHWLUHPHQWGHDFWLYDWLRQVKXWGRZQGHFRQVWUXFWLRQUHPRYDORUGHPROLWLRQRIDOORUDSRUWLRQRI
WKH&ROVWULS,QWHUHVWVWKH3URMHFWRUWKH&RPPRQ)DFLOLWLHVVKDOOQRWDOWHURURWKHUZLVHKDYH
DQ\EHDULQJRQWKHDOORFDWLRQRI/RVVHVSURYLGHGIRULQWKLV6HFWLRQprovidedWKDWLIDQ\FKDQJHV
LQ/DZDIWHUWKH&ORVLQJLPSDFWWKHRSHUDWLRQRI&ROVWULS8QLW6HOOHU¶VOLDELOLW\IRU/RVVHV
DULVLQJIURPVXFKLPSDFWVRQ&ROVWULS8QLWVKDOOEHDVVHWIRUWKLQ6HFWLRQ

                      3HQVLRQ&RVWV7KH3DUWLHVVKDOOEHUHVSRQVLEOHIRU/RVVHVDULVLQJIURP
SHQVLRQOLDELOLWLHVWKDWDURVHSULRUWR&ORVLQJRUDUHZKROO\RUSDUWLDOO\FDXVHGE\HYHQWV
LQFLGHQWVOLDELOLWLHVZRUNSHUIRUPHGRUFRQGLWLRQVIURPSULRUWR&ORVLQJLQFOXGLQJFODLPVE\
WKH2SHUDWRUWKDWLWKDVPDGHH[FHVVSHQVLRQFRQWULEXWLRQVEDVHGRQWKHLUUHVSHFWLYHSUH&ORVLQJ
'DWH3URMHFW6KDUHV,IVRPHRUDOORIWKHSHQVLRQVIRUWKRVHHPSOR\HGDWWKH3URMHFWDUH
FRQYHUWHGDIWHU&ORVLQJWRDQQXLWLHVWKH3DUWLHV¶UHVSRQVLELOLW\IRUDQ\FRVWVWRWKH2ZQHUVRI
VXFKFRQYHUVLRQVVKDOOEHEDVHGRQWKHSUH&ORVLQJ'DWH3URMHFW6KDUHVIRUWKDWSRUWLRQRIWKH
FRVWVDWWULEXWDEOHWRHPSOR\PHQWEHIRUH&ORVLQJDQGEDVHGRQSRVW&ORVLQJ'DWH3URMHFW6KDUHV
IRUWKDWSRUWLRQRIWKHFRVWVDWWULEXWDEOHWRHPSOR\PHQWDIWHU&ORVLQJ&KDQJHVLQ/DZVKDOOQRW
KDYHDQ\EHDULQJRQWKHDOORFDWLRQRI/RVVHVSURYLGHGIRULQWKLV6HFWLRQ



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                      2WKHU/RVVHV$OORFDWHG%DVHGRQ3UH&ORVLQJ'DWH3URMHFW6KDUHV
7KH3DUWLHVVSHFLILFDOO\DJUHHWKDWWKH\VKDOOEHUHVSRQVLEOHIRUDOO/RVVHVDULVLQJIURPRUFDXVHG
E\WKHLWHPVOLVWHGRQ6FKHGXOHEDVHGRQWKHLUUHVSHFWLYHSUH&ORVLQJ'DWH3URMHFW6KDUHV
7KH3DUWLHVVKDOOEHUHVSRQVLEOHIRU/RVVHVDULVLQJIURPWKHRZQHUVKLSRURSHUDWLRQRIWKH
&ROVWULS,QWHUHVWVWKH3URMHFWRUWKH&RPPRQ)DFLOLWLHVLQHDFKFDVHWKDWDUHQRWGHVFULEHGLQ
6HFWLRQVRUDQGWKDWGRQRWDULVHIURPRUDUHQRWFDXVHGE\LWHPVOLVWHGRQ
6FKHGXOHRU6FKHGXOHEXWWKDWDUHFDXVHGE\RUZKLFKDULVHIURPHYHQWVRFFXUUHQFHVRU
FRQGLWLRQVZKLFKDUHDVRQDEOHHQYLURQPHQWDOSURIHVVLRQDOZRXOGGHWHUPLQHVXEVWDQWLDOO\DOORI
VXFKHYHQWVRFFXUUHQFHVRUFRQGLWLRQVWRRNSODFHRUH[LVWHGEHIRUH&ORVLQJEDVHGRQWKHLU
UHVSHFWLYHSUH&ORVLQJ'DWH3URMHFW6KDUHVSURYLGHGKRZHYHUWRWKHH[WHQWDQ\VXFK/RVVHV
LQFUHDVHGXHWR D DFWLRQVWDNHQDIWHU&ORVLQJE\WKH2SHUDWRURU2ZQHUV E YLRODWLRQVRI
(QYLURQPHQWDO/DZVE\WKH2SHUDWRURU2ZQHUVWKDWZKROO\DULVHRUZKROO\WDNHSODFHDIWHU
&ORVLQJRUZKLFKDUHDVRQDEOHHQYLURQPHQWDOSURIHVVLRQDOZRXOGGHWHUPLQHVXEVWDQWLDOO\DOORI
VXFKYLRODWLRQVWRRNSODFHDIWHUWKH&ORVLQJRU F 5HOHDVHVRI+D]DUGRXV6XEVWDQFHVDULVLQJIURP
HYHQWVRFFXUUHQFHVRUFRQGLWLRQVWKDWZKROO\DULVHRUWDNHSODFHRUZKLFKDUHDVRQDEOH
HQYLURQPHQWDOSURIHVVLRQDOZRXOGGHWHUPLQHVXEVWDQWLDOO\DOORIVXFKHYHQWVRFFXUUHQFHVRU
FRQGLWLRQVWRRNSODFHDIWHUWKH&ORVLQJ6HOOHU¶VOLDELOLW\ZLWKUHVSHFWWRWKRVHLQFUHPHQWDO/RVVHV
VKDOOEHDVVHWIRUWKLQ6HFWLRQH[FHSWWKDWFRQWLQXHGRSHUDWLRQRIWKH&ROVWULS,QWHUHVWV
FRQVLVWHQWZLWK3UXGHQW8WLOLW\3UDFWLFHVKDOOQRWEHGHHPHGDQDFWLRQZKLFKJLYHVULVHWRDQ
LQFUHDVHLQ/RVVHV&RQWLQXHGRSHUDWLRQRIWKH&ROVWULS,QWHUHVWVFRQVLVWHQWZLWK3UXGHQW
8WLOLW\3UDFWLFHVVKDOOQRWKDYHDQ\EHDULQJRQWKHDOORFDWLRQRI/RVVHVSURYLGHGIRULQWKLV
6HFWLRQ7KH3DUWLHVVSHFLILFDOO\UHFRJQL]HWKDWWKH3URMHFWZLOOFRQWLQXHWREXUQFRDODQG
JHQHUDWHFRDOFRPEXVWLRQUHVLGXDOVDIWHU&ORVLQJDQGDJUHHQRWZLWKVWDQGLQJDQ\WKLQJWRWKH
FRQWUDU\LQWKHSURYLVRFRQWDLQHGLQWKHSULRUVHQWHQFHWKDW/RVVHVDULVLQJIURPWKHFRQWLQXHG
EXUQLQJRIFRDODQGWKHJHQHUDWLRQVWRUDJHGHSRVLWDQG5HOHDVHRIFRDOFRPEXVWLRQUHVLGXDOV
LQFOXGLQJWKHGHSRVLWRIFRDOFRPEXVWLRQUHVLGXDOVLQWRSRQGVWKHGU\VWRUDJHRUVWDJLQJRIFRDO
FRPEXVWLRQUHVLGXDOVDQGDQ\5HOHDVHRIFRDOFRPEXVWLRQUHVLGXDOVRU+D]DUGRXV6XEVWDQFHV
UHVXOWLQJIURPFRDOFRPEXVWLRQUHVLGXDOVIURPH[LVWLQJSRQGVVKDOOQRWUHGXFH6HOOHU¶VOLDELOLW\
RUEHGHHPHGDQLQFUHDVHLQ/RVVHVRIWKHVRUWGHVFULEHGLQWKHSURYLVRWRWKHILUVWVHQWHQFHLQ
WKLV6HFWLRQ&KDQJHVLQ/DZVKDOOQRWKDYHDQ\EHDULQJRQWKHDOORFDWLRQRI/RVVHVSURYLGHGIRU
LQWKLV6HFWLRQprovidedWKDWLIFKDQJHVLQ/DZDIWHUWKH&ORVLQJLPSDFWWKHRSHUDWLRQRI&ROVWULS
8QLW6HOOHU¶VOLDELOLW\IRU/RVVHVDULVLQJIURPVXFKLPSDFWVRQWKHRSHUDWLRQVRI&ROVWULS8QLW
VKDOOEHDVVHWIRUWKLQ6HFWLRQ

                      /RVVHV$OORFDWHG%DVHGRQ3RVW&ORVLQJ'DWH3URMHFW6KDUHV7KH
3DUWLHVVSHFLILFDOO\DJUHHWKDWWKH\VKDOOEHUHVSRQVLEOHIRUDOO/RVVHVDULVLQJIURPRUFDXVHGE\
WKHLWHPVOLVWHGRQ6FKHGXOHEDVHGRQWKHLUUHVSHFWLYHSRVW&ORVLQJ'DWH3URMHFW6KDUHV7KH
3DUWLHVVKDOOEHUHVSRQVLEOHIRU/RVVHVDULVLQJIURPWKHRZQHUVKLSRURSHUDWLRQRIWKH&ROVWULS
,QWHUHVWVWKH3URMHFWRUWKH&RPPRQ)DFLOLWLHVLQHDFKFDVHWKDWDUHQRWJRYHUQHGE\6HFWLRQV
RUDQGWKDWGRQRWDULVHIURPRUDUHQRWFDXVHGE\LWHPVOLVWHGRQ6FKHGXOH
RU6FKHGXOHEXWWKDWDUHZKROO\FDXVHGE\RUDULVHZKROO\IURPHYHQWVRURFFXUUHQFHVZKLFK
WDNHSODFHRUZKLFKDUHDVRQDEOHHQYLURQPHQWDOSURIHVVLRQDOZRXOGGHWHUPLQHVXEVWDQWLDOO\DOO
RIVXFKHYHQWVRURFFXUUHQFHVWRRNSODFHDIWHU&ORVLQJEDVHGRQWKHLUUHVSHFWLYHSRVW&ORVLQJ
'DWH3URMHFW6KDUHV

                   'LVDJUHHPHQWV5HJDUGLQJ&DXVHVRI/RVVHV,IWKH3DUWLHVDUHXQDEOHWR
DJUHHDVWRKRZ6HFWLRQVWKURXJKDSSO\WRWKHDOORFDWLRQRIOLDELOLW\IRUSDUWLFXODU/RVVHV


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WKH3DUWLHVDJUHHLQWKHILUVWLQVWDQFHWRDWWHPSWWRVHWWOHVXFKGLVDJUHHPHQWE\PXWXDOGLVFXVVLRQ
EHWZHHQH[HFXWLYHVIURPERWK3DUWLHV:LWKLQVHYHQ  %XVLQHVV'D\VRIWKHUHFHLSWE\HLWKHU
3DUW\RIDQRWLFHIURPWKHRWKHU3DUW\RIWKHH[LVWHQFHRIDGLVDJUHHPHQWUHIHUULQJWRWKLV
$57,&/( WKH³$OORFDWLRQ'LVSXWH1RWLFH´ WKHUHFHLYLQJ3DUW\VKDOOUHSO\ZLWKDZULWWHQ
UHVSRQVH DQ³$OORFDWLRQ'LVSXWH1RWLFH5HVSRQVH´ %RWKWKH$OORFDWLRQ'LVSXWH1RWLFHDQG
WKH$OORFDWLRQ'LVSXWH1RWLFH5HVSRQVHVKDOOLQFOXGH D DVWDWHPHQWRIWKHUHOHYDQW3DUW\¶V
SRVLWLRQZLWKUHJDUGWRWKH'LVSXWHDQGDVXPPDU\RIDUJXPHQWVVXSSRUWLQJVXFKSRVLWLRQDQG
 E WKHQDPHDQGWLWOHRIWKHH[HFXWLYHZKRZLOOUHSUHVHQWWKDW3DUW\LQDWWHPSWLQJWRUHVROYHWKH
'LVSXWHSXUVXDQWWRWKLV6HFWLRQ:LWKLQVHYHQ  %XVLQHVV'D\VRIGHOLYHU\RIWKH
$OORFDWLRQ'LVSXWH1RWLFH5HVSRQVHWKHGHVLJQDWHGH[HFXWLYHVVKDOOPHHWDQGDWWHPSWWRUHVROYH
WKHGLVDJUHHPHQW$OOQHJRWLDWLRQVSXUVXDQWWRWKLVFODXVHVKDOOEHFRQILGHQWLDODQGVKDOOEH
WUHDWHGDVFRPSURPLVHDQGVHWWOHPHQWQHJRWLDWLRQVDQGQRRUDORUGRFXPHQWDU\UHSUHVHQWDWLRQV
RURIIHUVPDGHE\WKH3DUWLHVGXULQJVXFKQHJRWLDWLRQVVKDOOEHDGPLVVLEOHIRUDQ\SXUSRVHLQDQ\
VXEVHTXHQWSURFHHGLQJV

                       5HVROXWLRQLI([HFXWLYH1HJRWLDWLRQV'R1RW6XFFHHG

                ,IDQ\GLVDJUHHPHQWLVQRWUHVROYHGZLWKLQWKLUW\  'D\VRIUHFHLSWRIDQ
$OORFDWLRQ'LVSXWH1RWLFHSXUVXDQWWR6HFWLRQWKHQXSRQHLWKHU3DUW\¶VUHTXHVWWKH3DUWLHV
VKDOOMRLQWO\UHWDLQDQLQGHSHQGHQWWKLUGSDUW\FRQVXOWDQW ZLWKH[SHUWLVHLQWKHVXEMHFWPDWWHU
JLYLQJULVHWRWKHOLDELOLW\ WRSURPSWO\GHWHUPLQHZKHWKHUWKHHYHQWVRURFFXUUHQFHVWKDWFDXVHG
RUJDYHULVHWRWKH/RVVHVLQTXHVWLRQILWZLWKLQWKHVFRSHRI6HFWLRQ6HFWLRQ6HFWLRQ
6HFWLRQ LQFOXGLQJ6FKHGXOH RU6HFWLRQ LQFOXGLQJ6FKHGXOH DQGKRZVXFK
/RVVHVDUHWREHDOORFDWHGEDVHGRQWKHDSSOLFDWLRQRIWKRVHVHFWLRQV7RWKHH[WHQWSHUPLWWHGE\
ODZWKH3DUWLHVVKDOOSURYLGHIRUWKHFRQILGHQWLDOLW\RIWKHLQGHSHQGHQWWKLUGSDUW\FRQVXOWDQW¶V
GHWHUPLQDWLRQDQGHDFK3DUW\VKDOOSD\KDOIRIWKHFRQVXOWDQW¶VIHHVDQGFRVWV7KH
GHWHUPLQDWLRQRIWKHWKLUGSDUW\FRQVXOWDQWVKDOOEHILQDODQGELQGLQJRQWKH3DUWLHVDQGLVQRW
VXEMHFWWRUHYLHZLQRWKHUDUELWUDWLRQRULQFRXUW$SSRUWLRQPHQWRIOLDELOLW\GLVSXWHVGHVFULEHGLQ
WKLV6HFWLRQVKDOOEHUHVROYHGXVLQJWKLVSURFHGXUHVDQGUHTXLUHPHQWVVHWIRUWKLQWKLV6HFWLRQ
 DQGWKHVXEVHFWLRQVEHORZ DQGQRWXVLQJWKHSURFHGXUHVSURYLGHGIRULQ$57,&/(RIWKLV
$JUHHPHQW

               7KHLQGHSHQGHQWWKLUGSDUW\FRQVXOWDQWVKDOODJUHHWRDFWDVDQLPSDUWLDODQG
QHXWUDODUELWUDWRULQFDUU\LQJRXWWKHGXWLHVVHWIRUWKKHUHLQ7KHLQGHSHQGHQWWKLUGSDUW\
FRQVXOWDQWVKDOOFDUU\RXWKLVRUKHUGXWLHVEDVHGRQWKHVWDQGDUGSURFHGXUHVXVHGE\FRQVXOWDQWV
UHVHDUFKLQJRULQYHVWLJDWLQJPDWWHUVLQWKHLQGXVWU\LQTXHVWLRQDQGQRWE\XVLQJSURFHVVHVWKDW
DUHTXDVLMXGLFLDOLQQDWXUH,QSDUWLFXODUWKHLQGHSHQGHQWWKLUGSDUW\FRQVXOWDQWVKDOOQRWEH
UHTXLUHGWRKROGDKHDULQJ7KH3DUWLHVVKDOOMRLQWO\VXEPLWZULWWHQEDFNJURXQGLQIRUPDWLRQWR
WKHLQGHSHQGHQWWKLUGSDUW\FRQVXOWDQWDQGVKDOOWKHQFRRSHUDWHLQUHVSRQGLQJWRIROORZXS
TXHVWLRQVDQGUHTXHVWVIRUGRFXPHQWVIURPWKHLQGHSHQGHQWWKLUGSDUW\FRQVXOWDQW,IWKH
LQGHSHQGHQWWKLUGSDUW\FRQVXOWDQWDVNVWRFRQGXFWDVLWHYLVLWDQGRULQWHUYLHZ&ROVWULS
SHUVRQQHOWKH3DUWLHVVKDOOFRRSHUDWHLQIDFLOLWDWLQJVXFKDVLWHYLVLWDQGRULQWHUYLHZVLQFOXGLQJ
E\MRLQWO\PDNLQJUHTXHVWVWRWKH2SHUDWRU7KHLQGHSHQGHQWWKLUGSDUW\FRQVXOWDQWVKDOOQRW
FRPPXQLFDWHWRHLWKHU3DUW\ZLWKRXWDOVRLQFOXGLQJRUFRS\LQJWKHRWKHU3DUW\LQVXFK
FRQYHUVDWLRQRUH[FKDQJH7KHLQGHSHQGHQWWKLUGSDUW\FRQVXOWDQWVKDOOSURYLGHKLVRUKHU
GHWHUPLQDWLRQLQDZULWWHQUHSRUWWKDWLVWREHWUDQVPLWWHGWRERWK3DUWLHV



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              ,IWKH3DUWLHVDUHXQDEOHWRDJUHHRQDQLQGHSHQGHQWWKLUGSDUW\FRQVXOWDQWHDFK
3DUW\VKDOODSSRLQWRQHWKLUGSDUW\FRQVXOWDQWHDFKRIZKRPVKDOODJUHHWRVHUYHLPSDUWLDOO\DQG
LQGHSHQGHQWO\DQGWKHQWKHWZRFRQVXOWDQWVVRDSSRLQWHGVKDOOWKHPVHOYHVILQGDQGDSSRLQWD
WKLUGFRQVXOWDQWZKRDJUHHVWRVHUYHDVWKHLQGHSHQGHQWWKLUGSDUW\FRQVXOWDQWFRQWHPSODWHGE\
WKLV6HFWLRQXQGHUWKHSURFHGXUHVDQGUHTXLUHPHQWVVHWIRUWKLQWKLV6HFWLRQ

                      ,QGHPQLILFDWLRQ%\6HOOHU6HOOHUVKDOOLQGHPQLI\VDYHDQGKROG
KDUPOHVV%X\HULWV$IILOLDWHVDQGWKHLUUHVSHFWLYH5HSUHVHQWDWLYHVIURPDQGDJDLQVWDQ\DQGDOO
/RVVHVFRVWVORVVHVOLDELOLWLHV LQFOXGLQJOLDELOLWLHVDULVLQJXQGHUSULQFLSOHVRIVWULFWRUMRLQWDQG
VHYHUDOOLDELOLW\ GDPDJHVODZVXLWVGHILFLHQFLHVFODLPVDQGH[SHQVHV ZKHWKHURUQRWDULVLQJ
RXWRI7KLUG3DUW\&ODLPV LQFOXGLQJLQWHUHVWSHQDOWLHVDGGLWLRQVWUDYHOH[SHQVHVZDJHV
DOORFDEOHWRORVVRIHPSOR\HHWLPHUHDVRQDEOHDWWRUQH\V¶IHHVDQGDOODPRXQWVSDLGLQ
LQYHVWLJDWLRQGHIHQVHRUVHWWOHPHQWRIDQ\RIWKHIRUHJRLQJ FROOHFWLYHO\WKH³Damages´ 
LQFXUUHGLQFRQQHFWLRQZLWKRUDULVLQJRXWRIRUUHVXOWLQJIURP

               DQ\EUHDFKRULQDFFXUDF\LQDQ\RIWKHUHSUHVHQWDWLRQVRUZDUUDQWLHVRI6HOOHU
FRQWDLQHGLQWKLV$JUHHPHQWDQ\&ORVLQJ'RFXPHQWWRZKLFK6HOOHULVDSDUW\RUDQ\FHUWLILFDWH
GHOLYHUHGE\RURQEHKDOIRI6HOOHUSXUVXDQWWRWKLV$JUHHPHQW DQ\VXFKEUHDFKRULQDFFXUDF\WR
EHGHWHUPLQHGZLWKRXWUHJDUGWRDQ\TXDOLILFDWLRQIRU³PDWHULDOLW\´³LQDOOPDWHULDOUHVSHFWV´RU
VLPLODUTXDOLILFDWLRQ 

                DQ\EUHDFKRUYLRODWLRQRIDQ\FRYHQDQWDJUHHPHQWRURWKHUREOLJDWLRQRI6HOOHU
VHWIRUWKLQWKLV$JUHHPHQWRUDQ\&ORVLQJ'RFXPHQWWRZKLFK6HOOHULVDSDUW\

             LIWKH&ORVLQJKDVRFFXUUHGDQ\IDLOXUHE\6HOOHUWRSD\SHUIRUPRUGLVFKDUJHDQ\
5HWDLQHG/LDELOLWLHVDVDQGZKHQGXH

             LIWKH&ORVLQJKDVRFFXUUHGDQ\IDLOXUHE\6HOOHUWRSD\SHUIRUPRUGLVFKDUJHDQ\
5HWDLQHG/LDELOLW\DVDQGZKHQGXH

              LIWKH&ORVLQJKDVRFFXUUHGDQ\OLDELOLW\REOLJDWLRQRUFRPPLWPHQWRI6HOOHURI
DQ\QDWXUH DEVROXWHDFFUXHGFRQWLQJHQWRURWKHUZLVH UHODWLQJWRWKH&ROVWULS,QWHUHVWVDQGQRW
DVVXPHG

               6HOOHU¶VSRUWLRQRIDQ\7UDQVIHU7D[HVLQDFFRUGDQFHZLWK6HFWLRQ E 

            DQ\IUDXGZLOOIXOPLVFRQGXFWRUJURVVQHJOLJHQFHLQFRQQHFWLRQZLWKWKLV
$JUHHPHQWE\6HOOHURULWV$IILOLDWHVRU

              DQ\FODLPE\DWKLUGSDUW\RUOLDELOLW\WRDWKLUGSDUW\LQFOXGLQJDFXUUHQWRU
IRUPHU3URMHFW8VHUWRWKHH[WHQWLWVHHNVWRKROG%X\HUUHVSRQVLEOHIRUPRUHWKDQWKHVKDUHRI
DQ\/RVVHVSURYLGHGIRULQ6HFWLRQVWKURXJKDERYH

                       ,QGHPQLILFDWLRQ%\%X\HU%X\HUVKDOOLQGHPQLI\VDYHDQGKROG
KDUPOHVV6HOOHULWV$IILOLDWHVDQGWKHLUUHVSHFWLYH5HSUHVHQWDWLYHVIURPDQGDJDLQVWDQ\DQGDOO
'DPDJHVLQFXUUHGLQFRQQHFWLRQZLWKRUDULVLQJRXWRIRUUHVXOWLQJIURP




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             DQ\EUHDFKRULQDFFXUDF\RIDQ\UHSUHVHQWDWLRQRUZDUUDQW\PDGHE\%X\HULQWKLV
$JUHHPHQWRUDQ\&ORVLQJ'RFXPHQWWRZKLFK%X\HULVDSDUW\

               DQ\EUHDFKRUYLRODWLRQRIDQ\FRYHQDQWDJUHHPHQWRUREOLJDWLRQRI%X\HUVHW
IRUWKLQWKLV$JUHHPHQWRUDQ\&ORVLQJ'RFXPHQWWRZKLFK%X\HULVDSDUW\

            LIWKH&ORVLQJKDVRFFXUUHGDQ\IDLOXUHRI%X\HUWRSD\GLVFKDUJHRUSHUIRUPDQ\
RIWKH$VVXPHG/LDELOLWLHVDVDQGZKHQGXH

              %X\HU¶VSRUWLRQRIDQ\7UDQVIHU7D[HVLQDFFRUGDQFHZLWK6HFWLRQ E 

            DQ\IUDXGZLOOIXOPLVFRQGXFWRUJURVVQHJOLJHQFHLQFRQQHFWLRQZLWKWKLV
$JUHHPHQWE\%X\HURU

              DQ\FODLPE\DWKLUGSDUW\RUOLDELOLW\WRDWKLUGSDUW\LQFOXGLQJDFXUUHQWRU
IRUPHU3URMHFW8VHUWRWKHH[WHQWLWVHHNVWRKROG6HOOHUUHVSRQVLEOHIRUPRUHWKDQWKHVKDUHRI
DQ\/RVVHVSURYLGHGIRULQ6HFWLRQVWKURXJKDERYH

                     7KLUG3DUW\&ODLPV

               3URPSWO\DIWHUUHFHLSWE\D3DUW\RIQRWLFHRIWKHFRPPHQFHPHQWRIDQ\$FWLRQE\
DWKLUGSDUW\ D³Third Party Claim´ ZLWKUHVSHFWWRDQ\PDWWHUIRUZKLFKLQGHPQLILFDWLRQLVRU
PD\EHRZLQJSXUVXDQWWR6HFWLRQRU6HFWLRQKHUHRI VXFK3DUW\PDNLQJDFODLPXQGHU
WKLV$57,&/(DQ³Indemnified Party´ WKH,QGHPQLILHG3DUW\ZLOOJLYHQRWLFHWKHUHRIWR
%X\HURU6HOOHUDVDSSOLFDEOH WKH³Indemnifying Party´ providedhoweverWKDWWKHIDLOXUHRI
WKH,QGHPQLILHG3DUW\WRQRWLI\WKH,QGHPQLI\LQJ3DUW\ZLOOQRWUHOLHYHWKH,QGHPQLI\LQJ3DUW\RI
DQ\RILWVREOLJDWLRQVKHUHXQGHUH[FHSWWRWKHH[WHQWWKDWWKH,QGHPQLI\LQJ3DUW\GHPRQVWUDWHV
WKDWWKHGHIHQVHRIVXFK7KLUG3DUW\&ODLPKDVEHHQDFWXDOO\SUHMXGLFHGE\WKH,QGHPQLILHG
3DUW\¶VIDLOXUHWRJLYHVXFKQRWLFH

                ,IDQ\$FWLRQUHIHUUHGWRLQWKLV6HFWLRQLVEURXJKWDJDLQVWDQ,QGHPQLILHG3DUW\
DQGWKH,QGHPQLILHG3DUW\JLYHVQRWLFHWRWKH,QGHPQLI\LQJ3DUW\RIWKHFRPPHQFHPHQWRIVXFK
$FWLRQWKH,QGHPQLI\LQJ3DUW\ZLOOEHHQWLWOHGWRSDUWLFLSDWHLQVXFK$FWLRQDQG XQOHVV [ WKH
,QGHPQLI\LQJ3DUW\LVDOVRDSDUW\WRVXFK$FWLRQDQGWKH,QGHPQLILHG3DUW\GHWHUPLQHVLQJRRG
IDLWKWKDWMRLQWUHSUHVHQWDWLRQZRXOGEHLQDSSURSULDWHXSRQWKHDGYLFHRIRXWVLGHFRXQVHOWKDWD
FRQIOLFWRILQWHUHVWH[LVWVEHWZHHQWKH,QGHPQLILHG3DUW\DQGWKH,QGHPQLI\LQJ3DUW\ZLWKUHVSHFW
WRVXFK$FWLRQRU \ WKH,QGHPQLI\LQJ3DUW\IDLOVWRSURYLGHUHDVRQDEOHDVVXUDQFHWRWKH
,QGHPQLILHG3DUW\RILWVILQDQFLDOFDSDFLW\WRGHIHQGVXFK$FWLRQDQGSURYLGHLQGHPQLILFDWLRQ
ZLWKUHVSHFWWRVXFK$FWLRQ PD\DVVXPHWKHGHIHQVHRIVXFK$FWLRQZLWKFRXQVHOUHDVRQDEO\
VDWLVIDFWRU\WRWKH,QGHPQLILHG3DUW\DQGDIWHUQRWLFHIURPWKH,QGHPQLI\LQJ3DUW\WRWKH
,QGHPQLILHG3DUW\RILWVHOHFWLRQWRDVVXPHWKHGHIHQVHRIVXFK$FWLRQWKH,QGHPQLI\LQJ3DUW\
ZLOOQRWDVORQJDVLWGLOLJHQWO\FRQGXFWVVXFKGHIHQVHEHOLDEOHWRWKH,QGHPQLILHG3DUW\XQGHU
WKLV6HFWLRQIRUDQ\IHHVRIRWKHUFRXQVHOZLWKUHVSHFWWRWKHGHIHQVHRIVXFK$FWLRQLQHDFKFDVH
VXEVHTXHQWO\LQFXUUHGE\WKH,QGHPQLILHG3DUW\LQFRQQHFWLRQZLWKWKHGHIHQVHRIVXFK$FWLRQ

              ,IWKH,QGHPQLI\LQJ3DUW\LVHQWLWOHGWRDQGDVVXPHVWKHGHIHQVHRIDQ$FWLRQQR
FRPSURPLVHRUVHWWOHPHQWRIVXFKFODLPVRU$FWLRQPD\EHHIIHFWHGE\WKH,QGHPQLI\LQJ3DUW\
ZLWKRXWWKH,QGHPQLILHG3DUW\¶VZULWWHQFRQVHQWXQOHVV L WKHUHLVQRHIIHFWRQRUJURXQGVIRUWKH


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EDVLVRIDQ\RWKHUFODLPVWKDWPD\EHPDGHDJDLQVWWKH,QGHPQLILHG3DUW\ LL WKHVROHUHOLHI
SURYLGHGLVPRQHWDU\GDPDJHVWKDWDUHSDLGLQIXOOE\WKH,QGHPQLI\LQJ3DUW\DQG LLL WKH
,QGHPQLILHG3DUW\ZLOOKDYHQROLDELOLW\ZLWKUHVSHFWWRDQ\FRPSURPLVHRUVHWWOHPHQWRIVXFK
FODLPVRU$FWLRQ1RWZLWKVWDQGLQJWKHDVVXPSWLRQE\WKH,QGHPQLI\LQJ3DUW\RIWKHGHIHQVHRI
DQ\FODLPRU$FWLRQWKH,QGHPQLILHG3DUW\ZLOOEHSHUPLWWHGWRMRLQLQVXFKGHIHQVHDQGWR
HPSOR\FRXQVHODWLWVRZQH[SHQVH

                1RWZLWKVWDQGLQJWKHIRUHJRLQJLIWKH,QGHPQLILHG3DUW\GHWHUPLQHVLQJRRGIDLWK
WKDWWKHUHLVDUHDVRQDEOHSUREDELOLW\WKDWDQ$FWLRQPD\UHVXOWLQWKH,QGHPQLILHG3DUW\RULWV
$IILOLDWHVKDYLQJWRSD\PRQHWDU\'DPDJHVIRUZKLFKLWZRXOGQRWEHHQWLWOHGWRLQGHPQLILFDWLRQ
XQGHUWKLV$JUHHPHQWRUKDYLQJWRSHUIRUPVSHFLILFSHUIRUPDQFHWKH,QGHPQLILHG3DUW\PD\E\
QRWLFHWRWKH,QGHPQLI\LQJ3DUW\DVVXPHWKHH[FOXVLYHULJKWWRGHIHQGFRPSURPLVHRUVHWWOH
VXFK$FWLRQEXWWKH,QGHPQLI\LQJ3DUW\ZLOOQRWEHERXQGE\DQ\FRPSURPLVHRUVHWWOHPHQW
WKHUHRIHIIHFWHGZLWKRXWLWVZULWWHQFRQVHQW ZKLFKFRQVHQWVKDOOQRWEHXQUHDVRQDEO\ZLWKKHOG
GHOD\HGRUFRQGLWLRQHG 

               7KH,QGHPQLI\LQJ3DUW\DQGWKH,QGHPQLILHG3DUW\DJUHHWRSURYLGHHDFKRWKHU
ZLWKUHDVRQDEOHDFFHVVGXULQJUHJXODUEXVLQHVVKRXUVWRWKHSURSHUWLHVERRNVDQGUHFRUGVDQG
UHSUHVHQWDWLYHVRIWKHRWKHUDVUHDVRQDEO\QHFHVVDU\LQFRQQHFWLRQZLWKWKHSUHSDUDWLRQIRUDQ
H[LVWLQJRUDQWLFLSDWHG$FWLRQLQYROYLQJD7KLUG3DUW\&ODLPDQGLWVREOLJDWLRQVZLWKUHVSHFW
WKHUHWRSXUVXDQWWRWKLV$UWLFOH

                     'LUHFW&ODLPV

             7KHIROORZLQJSURFHGXUHVZLOODSSO\WRDQ\FODLPIRULQGHPQLILFDWLRQE\DQ
,QGHPQLILHG3DUW\WKDWGRHVQRWLQYROYHD7KLUG3DUW\&ODLP

               $Q,QGHPQLILHG3DUW\ZLOOGHOLYHUDQRWLFHWRWKH,QGHPQLI\LQJ3DUW\ D³Notice of
Claim´ DVVRRQDVSUDFWLFDEOHEXWLQQRHYHQWODWHUWKDQVL[W\  GD\VDIWHUWKH,QGHPQLILHG
3DUW\GHWHUPLQHVWKDWLWLVRUPD\EHHQWLWOHGWRLQGHPQLILFDWLRQSXUVXDQWWRWKLV$JUHHPHQW
providedhoweverWKDWIDLOXUHWRSURYLGHQRWLFHZLOOQRWSUHMXGLFHWKH,QGHPQLILHG3DUW\¶VULJKW
WRLQGHPQLW\H[FHSWWRWKHH[WHQWWKH,QGHPQLI\LQJ3DUW\SUHMXGLFHGE\WKH,QGHPQLILHG3DUW\¶V
IDLOXUHWRJLYHVXFKQRWLFH

               ,IWKH,QGHPQLI\LQJ3DUW\GLVSXWHV [ LWVREOLJDWLRQWRLQGHPQLI\WKH,QGHPQLILHG
3DUW\LQUHVSHFWRIDQ\LQGHPQLILFDWLRQFODLPVHWIRUWKLQD1RWLFHRI&ODLPRU \ WKHDPRXQWRI
VXFKLQGHPQLILFDWLRQFODLPVHWIRUWKLQD1RWLFHRI&ODLP WKH³Indemnity Claim Amount´ D
GLVSXWHQRWLFH ³Indemnification Dispute Notice´ ZLOOEHJLYHQDVVRRQDVSUDFWLFDEOHEXWLQQR
HYHQWODWHUWKDQWKLUW\  GD\VDIWHUWKH1RWLFHRI&ODLP,IQR,QGHPQLILFDWLRQ'LVSXWH1RWLFH
LVJLYHQZLWKLQVXFKWKLUW\  GD\SHULRGWKHYDOLGLW\RIWKHFODLPIRULQGHPQLILFDWLRQDQGWKH
DPRXQWRIVXFKFODLPHDFKDVVHWIRUWKLQWKH1RWLFHRI&ODLPZLOOEHGHHPHGWREHDJUHHG
HIIHFWLYHRQWKHILUVW VW GD\IROORZLQJVXFKWKLUW\  GD\SHULRGDQGWKHDPRXQWRIVXFK
FODLPDVVHWIRUWKLQWKH1RWLFHRI&ODLPZLOOLPPHGLDWHO\EHSD\DEOHE\WKH,QGHPQLI\LQJ3DUW\
,IDQ,QGHPQLILFDWLRQ'LVSXWH1RWLFHLVJLYHQZLWKLQVXFKWKLUW\  GD\SHULRGWKHQ

             7KHSRUWLRQLIDQ\RIWKHDPRXQWRIVXFKFODLPZKLFKLVQRWGLVSXWHGLQWKH
,QGHPQLILFDWLRQ'LVSXWH1RWLFHZLOOLPPHGLDWHO\EHSD\DEOHE\WKH,QGHPQLI\LQJ3DUW\



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                %X\HUDQG6HOOHUZLOOQHJRWLDWHLQJRRGIDLWKWRVHWWOHWKHGLVSXWHDQGWKHSRUWLRQ
LIDQ\RIWKHFODLPDPRXQWZKLFK%X\HUDQG6HOOHUDJUHHLQZULWLQJLVSD\DEOHZLOOEH
LPPHGLDWHO\SD\DEOHE\WKH,QGHPQLI\LQJ3DUW\

               ,I%X\HUDQG6HOOHUDUHXQDEOHWRUHVROYHDQ\SRUWLRQRIWKH,QGHPQLW\&ODLP
$PRXQWZLWKLQWZR  PRQWKVIROORZLQJWKHGDWHWKH,QGHPQLILFDWLRQ'LVSXWH1RWLFHLVJLYHQ
HLWKHU%X\HURU6HOOHUPD\LQLWLDWHSURFHHGLQJVLQDFFRUGDQFHZLWK6HFWLRQWRREWDLQ
UHVROXWLRQRIWKHGLVSXWH

               ,IQHLWKHU%X\HUQRU6HOOHULQLWLDWHVOHJDORUDUELWUDWLRQSURFHHGLQJVLQUHVSHFWRI
WKHGLVSXWHZLWKLQWZHOYH  PRQWKVIROORZLQJWKHGDWHWKH,QGHPQLILFDWLRQ'LVSXWH1RWLFHLV
JLYHQWKHSRUWLRQRIWKHFODLPDPRXQWZKLFKLVGLVSXWHGZLOOQRWEHSD\DEOHDQGWKH
,QGHPQLILHG3DUW\ZLOOKDYHQRIXUWKHUULJKWXQGHUWKLV$JUHHPHQWWRVHHNWRUHFRYHUVXFK
DPRXQWIURPWKH,QGHPQLI\LQJ3DUW\

              ,I%X\HURU6HOOHULQLWLDWHVOHJDOSURFHHGLQJVZLWKLQWKHWZHOYH  PRQWKSHULRG
VSHFLILHGLQ6HFWLRQ J WKHDPRXQWLIDQ\GHWHUPLQHGLQDZULWWHQILQDORUGHURIDFRXUWRI
FRPSHWHQWMXULVGLFWLRQRUILQDOQRQDSSHDODEOHGHFLVLRQRIDQDUELWUDWRU ³Final Order´ DV
SD\DEOHE\WKH,QGHPQLI\LQJ3DUW\ZLOOEHSD\DEOHE\WKH,QGHPQLILHG3DUW\DVRIWKHGDWHRI
VXFK)LQDO2UGHU

                      $FNQRZOHGJHPHQW6HOOHUDQG%X\HUHDFKDFNQRZOHGJHWKDW D RQO\
UHSUHVHQWDWLRQVZDUUDQWLHVFRYHQDQWVRUDJUHHPHQWVH[SUHVVO\PDGHLQWKLV$JUHHPHQWRUWKH
&ORVLQJ'RFXPHQWVZLOOEHGHHPHGWREHUHSUHVHQWDWLRQVZDUUDQWLHVFRYHQDQWVRUDJUHHPHQWV
IRUSXUSRVHVRIWKLV$JUHHPHQWDQG E QHLWKHU3DUW\KDVUHOLHGRQDQ\UHSUHVHQWDWLRQZDUUDQW\
FRYHQDQWRUDJUHHPHQWQRWH[SUHVVO\PDGHLQWKLV$JUHHPHQWRUWKH&ORVLQJ'RFXPHQWVLQ
FRQVXPPDWLQJWKHWUDQVDFWLRQVKHUHLQ

                                      $57,&/(
                               7(50,1$7,21$1'5(0(',(6

                   0HWKRGVRI7HUPLQDWLRQ7KLV$JUHHPHQWDQGWKHWUDQVDFWLRQV
FRQWHPSODWHGKHUHE\PD\EHWHUPLQDWHGSULRUWRWKH&ORVLQJ'DWHDVIROORZV

              DWDQ\WLPHE\PXWXDOZULWWHQDJUHHPHQWRI6HOOHUDQG%X\HURU

                E\HLWKHU6HOOHURU%X\HUXSRQWKHPDWHULDOEUHDFKRIWKLV$JUHHPHQWE\WKHRWKHU
WREHHIIHFWLYHLIFXUDEOHXSRQWKHEUHDFKLQJ3DUW\¶VIDLOXUHWRFXUHZLWKLQILYH  %XVLQHVV
'D\VRIQRWLFHJLYHQDQGLILQFXUDEOHXSRQQRWLFHJLYHQprovidedWKDWWKH3DUW\VHHNLQJWR
WHUPLQDWHKDVFRPSOLHGZLWKDQGIXOILOOHGLWVREOLJDWLRQVDQGXQGHUWDNLQJVXQGHUWKLV$JUHHPHQW
LQDOOPDWHULDOUHVSHFWVRU

              E\6HOOHULQWKHIROORZLQJHYHQWV

                       L     DWDQ\WLPHDIWHUDQ\ILQDOQRQDSSHDODEOHGHFLVLRQLVPDGHE\WKH
               DSSOLFDEOH*RYHUQPHQWDO$XWKRULW\GHQ\LQJDQ\5HTXLUHG5HJXODWRU\$SSURYDO
               UHTXHVWHGE\WKH6HOOHURUIDLOLQJWRUHDVRQDEO\PHHWWKHUHTXHVWRIWKH6HOOHULQDOO
               PDWHULDOUHVSHFWVRU


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                       LL     DWDQ\WLPHDIWHU'HFHPEHULIWKH&ORVLQJKDVQRW\HW
               RFFXUUHG

       provided furtherWKDWWKHHYHQWWULJJHULQJ6HOOHU¶VWHUPLQDWLRQULJKWGLGQRWUHVXOWIURP
       WKHIDLOXUHE\6HOOHUWRIXOILOODQ\XQGHUWDNLQJRUFRPPLWPHQWSURYLGHGIRUKHUHLQRQWKH
       SDUWRI6HOOHUWKDWLVUHTXLUHGWREHIXOILOOHGRQRUSULRUWRWKH&ORVLQJ'DWHRUDQ\VXFK
       DSSOLFDEOHGDWH

              E\%X\HULQWKHIROORZLQJHYHQWV

                       L    LIDIDFWPDWWHUFRQGLWLRQHYHQWRUFLUFXPVWDQFHILUVWGLVFORVHGLQ
               DQ8SGDWHIURP6HOOHUKDVKDGRUZRXOGUHDVRQDEO\EHH[SHFWHGWRKDYHD
               0DWHULDO$GYHUVH(IIHFWprovidedWKDW $ %X\HUKDVJLYHQ6HOOHUDWOHDVWILIWHHQ
                 %XVLQHVV'D\V¶SULRUQRWLFHRIWKHLQWHQWWRWHUPLQDWHDQG % 6HOOHUKDVQRW
               FXUHGVXFK0DWHULDO$GYHUVH(IIHFWGXULQJVXFKILIWHHQ  %XVLQHVV'D\SHULRG

                       LL     DWDQ\WLPHDIWHUDQ\ILQDOQRQDSSHDODEOHGHFLVLRQLVPDGHE\WKH
               DSSOLFDEOH*RYHUQPHQWDO$XWKRULW\GHQ\LQJDQ\5HTXLUHG5HJXODWRU\$SSURYDO
               UHTXHVWHGE\WKH%X\HURUIDLOLQJWRUHDVRQDEO\PHHWWKHUHTXHVWRIWKH%X\HULQ
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                        LY  DWDQ\WLPHDIWHU'HFHPEHULIDQ\RUGHURUGHFUHHE\DQ\
               IHGHUDORUVWDWHFRXUWRU*RYHUQPHQWDO$XWKRULW\H[LVWVZKLFKZRXOGGHOD\RU
               RWKHUZLVHLPSDLUWKHFRQVXPPDWLRQRIWKHVDOHRIWKH&ROVWULS,QWHUHVWV

                        Y     DWDQ\WLPHLIDQ\3URMHFW8VHUH[HUFLVHVDULJKWRIILUVWUHIXVDO
               RIIHUHGWRLWE\WKH6HOOHU SXUVXDQWWRWKHWHUPVRIWKH2ZQHUVKLSDQG2SHUDWLRQ
               $JUHHPHQW RU

                       YL  LI6HOOHUKDVIDLOHGWRGHOLYHUWRWKH%X\HUWKH52)55HVROXWLRQ
               1RWLFHE\ZLWKLQWKHWLPHVSHFLILHGLQ6HFWLRQ

       providedWKDWWKHHYHQWWULJJHULQJ%X\HU¶VWHUPLQDWLRQULJKWGLGQRWUHVXOWIURPWKH
       IDLOXUHE\%X\HUWRIXOILOODQ\XQGHUWDNLQJRUFRPPLWPHQWSURYLGHGIRUKHUHLQRQWKHSDUW
       RI%X\HUWKDWLVUHTXLUHGWREHIXOILOOHGRQRUSULRUWRWKH&ORVLQJ'DWHRUDQ\VXFK
       DSSOLFDEOHGDWH

                     (IIHFWRI7HUPLQDWLRQ,QWKHHYHQWHLWKHU3DUW\GHVLUHVWRWHUPLQDWHWKLV
$JUHHPHQWSXUVXDQWWR6HFWLRQZULWWHQQRWLFHWKHUHRIVKDOOSURPSWO\EHJLYHQE\WKH
WHUPLQDWLQJ3DUW\WRWKHRWKHU3DUW\DQGWKLV$JUHHPHQWVKDOOWHUPLQDWHHIIHFWLYHDVRIWKHODWHU
RIWKHGDWHVXFKQRWLFHLVUHFHLYHG RUVXFKODWHUHIIHFWLYHGDWHDVPD\EHVHWIRUWKWKHUHLQ RUWKH
H[SLUDWLRQRIDQ\FXUHSHULRG,IWKLV$JUHHPHQWLVWHUPLQDWHGDVSURYLGHGLQ6HFWLRQDOO
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H[WHQWSUDFWLFDEOHEHZLWKGUDZQIURPWKH*RYHUQPHQWDO$XWKRULW\WRZKLFKWKH\ZHUHPDGH
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FRQWLQXHWREHERXQGQR3DUW\VKDOOKDYHDQ\IXUWKHUREOLJDWLRQKHUHXQGHUprovidedWKDWVXFK
WHUPLQDWLRQVKDOOQRWEHFRQVWUXHGWROLPLWRUZDLYHDQ\ULJKWZLWKUHVSHFWWRDQ\EUHDFKRIWKLV
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                    1R/LDELOLW\7KHUHVKDOOEHQROLDELOLW\RIDQ\VKDUHKROGHUSDUWQHU
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                       0XWXDO'LVFXVVLRQV,IDQ\GLVSXWHRUGLIIHUHQFHRIDQ\NLQGZKDWVRHYHU
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&ORVLQJ'RFXPHQWVRUWKHLQWHUSUHWDWLRQSHUIRUPDQFHEUHDFKWHUPLQDWLRQRUYDOLGLW\KHUHRIRU
WKHUHRILQFOXGLQJZLWKRXWOLPLWDWLRQDQ\FODLPEDVHGRQFRQWUDFWWH[WRUVWDWXWH WKH³Dispute´ 
WKH3DUWLHVVKDOODWWHPSWWRVHWWOHVXFK'LVSXWHLQWKHILUVWLQVWDQFHE\PXWXDOGLVFXVVLRQVLQ
DFFRUGDQFHZLWKWKLV6HFWLRQ:LWKLQVHYHQ  %XVLQHVV'D\VRIWKHUHFHLSWE\HLWKHU3DUW\
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³Dispute Notice´ WKHUHFHLYLQJ3DUW\VKDOOUHSO\ZLWKDZULWWHQUHVSRQVH D³Dispute Notice
Response´ %RWKWKH'LVSXWH1RWLFHDQGWKH'LVSXWH1RWLFH5HVSRQVHVKDOOLQFOXGH D D
VWDWHPHQWRIWKHUHOHYDQW3DUW\¶VSRVLWLRQZLWKUHJDUGWRWKH'LVSXWHDQGDVXPPDU\RIDUJXPHQWV
VXSSRUWLQJVXFKSRVLWLRQDQG E WKHQDPHDQGWLWOHRIWKHH[HFXWLYHZKRZLOOUHSUHVHQWWKDW
3DUW\LQDWWHPSWLQJWRUHVROYHWKH'LVSXWHSXUVXDQWWRWKLV6HFWLRQ:LWKLQVHYHQ
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PHHWDQGDWWHPSWWRUHVROYHWKH'LVSXWH$OOQHJRWLDWLRQVSXUVXDQWWRWKLVFODXVHVKDOOEH
FRQILGHQWLDODQGVKDOOEHWUHDWHGDVFRPSURPLVHDQGVHWWOHPHQWQHJRWLDWLRQVDQGQRRUDORU
GRFXPHQWDU\UHSUHVHQWDWLRQVRURIIHUVPDGHE\WKH3DUWLHVGXULQJVXFKQHJRWLDWLRQVVKDOOEH
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                      $UELWUDWLRQ,IDQ\'LVSXWHLVQRWUHVROYHGZLWKLQWKLUW\  'D\VRI
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             7KHDUELWUDWLRQVKDOOEHKHOGDFFRUGDQFHZLWKWKH&RPPHUFLDO$UELWUDWLRQ5XOHV
WKH³Rules´ RIWKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ WKH³AAA´ WKHQLQHIIHFWH[FHSWDV
PRGLILHGKHUHLQ7KHDUELWUDWLRQVKDOOEHKHOGDQGWKHDZDUGVKDOOEHLVVXHGLQ&KLFDJR,OOLQRLV

              7KH3DUWLHVVKDOODSSRLQWDQDUELWUDWRUVDWLVIDFWRU\WRERWK3DUWLHV,IWKHDUELWUDWRU
LVQRWDSSRLQWHGZLWKLQWKHWLPHOLPLWSURYLGHGKHUHLQVXFKDUELWUDWRUVKDOOEHDSSRLQWHGE\WKH
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H[SHULHQFHDQGDQH[SHULHQFHGDUELWUDWRUDQGLISRVVLEOHVKDOOKDYHH[SHULHQFHZLWKGLVSXWHV
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             7KHKHDULQJVKDOOEHKHOGLISRVVLEOHZLWKLQIRXU  PRQWKVDIWHUWKH
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                %\DJUHHLQJWRDUELWUDWLRQWKHHQWLWLHVVLJQLQJWKLV$JUHHPHQWGRQRWLQWHQGWR
GHSULYHDQ\FRXUWRILWVMXULVGLFWLRQWRLVVXHDSUHDUELWUDOLQMXQFWLRQSUHDUELWUDODWWDFKPHQWRU
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SUHMXGLFHWRVXFKSURYLVLRQDOUHPHGLHVDVPD\EHDYDLODEOHXQGHUWKHMXULVGLFWLRQRIDFRXUWWKH
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WKLV$JUHHPHQWWRUHTXHVWWKDWDQ\FRXUWPRGLI\RUYDFDWHDQ\WHPSRUDU\RUSUHOLPLQDU\UHOLHI
LVVXHGE\VXFKFRXUWDQGWRDZDUGGDPDJHVIRUWKHIDLOXUHRIDQ\HQWLW\VLJQLQJWKLV$JUHHPHQW
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                $Q\DUELWUDWLRQSURFHHGLQJVGHFLVLRQRUDZDUGUHQGHUHGKHUHXQGHUDQGWKH
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               $Q\FRQWURYHUV\FRQFHUQLQJZKHWKHUD'LVSXWHLVDQDUELWUDEOH'LVSXWHRUDVWR
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               7KHDUELWUDWRULVQRWHPSRZHUHGWRDZDUGGDPDJHVLQH[FHVVRIFRPSHQVDWRU\
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H[HPSODU\RUVLPLODUGDPDJHVZLWKUHVSHFWWRDQ\'LVSXWH7KHDZDUGZKLFKVKDOOEHLQZULWLQJ
DQGVKDOOVWDWHWKHILQGLQJVRIIDFWDQGFRQFOXVLRQVRI/DZXSRQZKLFKLWLVEDVHGVKDOOEHILQDO
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                7KHDUELWUDWRU¶VDZDUGVKDOODOORFDWHLQWKHLUGLVFUHWLRQDPRQJWKH3DUWLHVWRWKH
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UHDVRQDEOHDWWRUQH\V¶IHHVFRVWVDQGH[SHUWZLWQHVVH[SHQVHVRIWKH3DUWLHV7KHDZDUGVKDOOEH
ILQDODQGELQGLQJRQWKH3DUWLHVDQGPD\EHHQIRUFHGLQDQ\FRXUWKDYLQJMXULVGLFWLRQ

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VKDOOEHFRPHHIIHFWLYHZKHQRQHRUPRUHFRXQWHUSDUWVKDYHEHHQVLJQHGE\HDFKRIWKH3DUWLHV
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3DUWLHVZLWKUHVSHFWWRWKHVXEMHFWPDWWHUKHUHRIDQGVXSHUVHGHVDQ\SULRUDJUHHPHQWV
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                       1RWLFHV$Q\QRWLFHUHTXHVWLQVWUXFWLRQRURWKHUGRFXPHQWWREHJLYHQ
KHUHXQGHUE\D3DUW\KHUHWRVKDOOEHLQZULWLQJDQGVKDOOEHGHHPHGWRKDYHEHHQJLYHQ D ZKHQ
GHOLYHUHGE\KDQG ZLWKZULWWHQFRQILUPDWLRQRIUHFHLSW  E ZKHQUHFHLYHGE\WKHDGGUHVVHHLI
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PDLORID3')GRFXPHQW ZLWKFRQILUPDWLRQRIWUDQVPLVVLRQ LIVHQWGXULQJQRUPDOEXVLQHVV
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       1RWLFHVWR6HOOHUVKDOOEHDGGUHVVHGDVIROORZV
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        IN WITNESS WHEREOF, this Agreement has been signed by or on behalfofeach ofthe
Parties as of the day first above written.


                                              Buyer:

                                              NORTHWESTERN CORPORATION


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                                              Seller:

                                              PUGET SOUND ENERGY, INC.


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           >Signature Page to Colstrip Unit 4 Assignment and Assumption Agreement@
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 ³%X\HU´  UHJDUGLQJ WKH SXUFKDVH RI 8QLW &RPPLWPHQW 6HUYLFH VXEMHFW WR WKH WHUPV DQG
FRQGLWLRQV RI WKH:HVWHUQ6\VWHPV3RZHU3RRO$JUHHPHQWGDWHGHIIHFWLYHDVRI>-XO\@
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XQGHUVLJQHG 3DUWLHV DJUHH WR VHOO DQG SXUFKDVH HOHFWULF HQHUJ\ SXUVXDQW WR WKH :633
$JUHHPHQW DV LW LV VXSSOHPHQWHG DQGPRGLILHGEHORZ
    6HOOHU                             1RUWK:HVWHUQ&RUSRUDWLRQGED1RUWK:HVWHUQ(QHUJ\

    3XUFKDVHU                          3XJHW6RXQG(QHUJ\,QF

    3HULRGRI'HOLYHU\                 >&RPPHQFLQJRQKRXUHQGLQJ ³+(´ -XQHWKURXJK
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                                        6ZLWFK\DUG RU DW 6HOOHU¶V RSWLRQ DQG ZLWK SULRU QRWLFH WR
                                        3XUFKDVHUDW0LG&

    7\SHRI6HUYLFH                    8QLW&RPPLWPHQW6HUYLFHIURP&ROVWULS8QLW6HUYLFH6FKHGXOH
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    &RQWUDFW4XDQWLW\                  0:DWDQ\WLPHWKDW&ROVWULS8QLWLVRSHUDWLQJDWRUJUHDWHU
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    &RQWUDFW3ULFH                     )RU HDFK KRXU RI WKH WHUP RI WKH FRQWUDFW UHJDUGOHVV RI WKH
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                                        IRU RQSHDN DQG RIISHDN SHULRGV DV DSSOLFDEOH PLQXV 2 0
                                        &RVWV %DVH (TXLOLYDQWDQG LL WKH)ORRU3ULFHDSSOLFDEOHWRVXFK
                                        KRXU,QDGGLWLRQ3XUFKDVHUVKDOOSD\DPRQWKO\SD\PHQWRIWK
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                                        $VXVHGKHUHLQ



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                                       VXEVWLWXWHGWKHUHIRU
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                                       EHFRQWLQXLQJWKH1RQ'HIDXOWLQJ3DUW\XSRQ
                                       ZULWWHQQRWLFHWRWKH'HIDXOWLQJ3DUW\VKDOOKDYH
                                       WKHULJKWWRVXVSHQGUHLQVWDWHDQGUHVXVSHQG
                                       SHUIRUPDQFHRIWUDQVDFWLRQVXQGHUWKLV
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                                                            DSSOLFDWLRQRIWKHODZVRIDQ\MXULVGLFWLRQRWKHUWKDQWKH
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                                                    GXSOLFDWH RULJLQDO DQG DOO FRXQWHUSDUWV WRJHWKHU VKDOO FRQVWLWXWH
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                                                    RWKHU HOHFWURQLF WUDQVPLVVLRQ VKDOO EH GHHPHG WR EH DQ RULJLQDO
                                                    H[HFXWHG GRFXPHQW IRU WKH SXUSRVHV KHUHRI DQG VXFK H[HFXWLRQ
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Form No. 641 (U3-2015)


                   DNRC OWNERSHIP UPDATE
                      DIVIDED INTEREST
            Complete one form for each water right that will be
divided. Your water right will be divided into separate water rights                  FOR DEPARTMENT USE ONLY
based on the information provided.                                        Rec’d Date _____________________________________
                                                                          Rec'd By _______________________________________
Submit all three pages of this form with the filing fee; a deed,
contract for deed, or other recorded document; a water right              Fee Rec'd $ ____________ Check No.______________
abstract; and a map.                                                      Payor _________________________________________

Contact your local DNRC Water Resources Regional Office if you            Refund $ ______________ Date ________________
have any questions.                                                       Deposit Receipt # _______________________________
                      Filing Fee $50.00                                   OUID # _______________________________________

If all interested parties wish to split the water right, each must fill out and sign either part B or part C of this
form. A water right can be split into several portions on one form for one $50 filing fee. All interested
parties must sign off on the split of water rights even if their portions are not split into individual rights.
PART A – GENERAL INFORMATION
1.   DATE OF LAND TRANSFER (SALE) ______________________________________________________________________

2.   WATER RIGHT BEING DIVIDED _________________________________________________________________________
3.   SELLER (Grantor) _____________________________________________________________________________________
     MAILING ADDRESS ___________________________________________________________________________________
     CITY _______________________________________ STATE __________ ZIP_________________________________
     PHONE ____________________________________ EMAIL _________________________________________________
4.   BUYER (Grantee) _____________________________________________________________________________________
     MAILING ADDRESS ___________________________________________________________________________________
     CITY _______________________________________ STATE __________ ZIP_________________________________
     PHONE ____________________________________ EMAIL _________________________________________________
5.   HOW IS THIS WATER RIGHT BEING DIVIDED? Please check only one.
         The water right is being divided as specifically identified in a deed, contract for deed, or other recorded document.
         (Attach a copy and underline the divided interest information.)
         The water right is being divided proportionately between the buyer and seller based on the place of use described in
         the water right. (Attach a copy of the deed, contract for deed, or other recorded document.)
6.   WATER RIGHT ABSTRACT
        A current DNRC general abstract of the water right being divided must be submitted. To receive DNRC generated water
        right abstracts, query the water right at the following web address: http://www.nris.mt.gov/dnrc/waterrights/default.aspx or
        contact the regional office serving your area.
7.   MAP
         A map must be provided. An aerial photo is preferred. You may also use a scaled map, county plat or quad map showing
        township and range, section corners, and a north arrow. The following elements must be identified on the map:
            a. The place of use the seller is retaining;                         c. Point(s) of diversion; and
            b. The place of use the buyer is receiving;                          d. The location of any irrigated acres.

IMPORTANT NOTES
x  If you want to change or add a point of diversion, place of use, place of storage, or purpose of use of a water right you must
   first file a change application with the DNRC.
x  The combined portions of a divided water right cannot exceed the total flow rate, volume, or period of diversion of the
   original right.
x  The DNRC has no jurisdiction concerning easement, right-of-way, and zoning matters. The buyer and seller must make
   these provisions where necessary.
x There may be ongoing court action regarding this water right and terms and conditions applicable to the exercise of the
   divided right. The buyer should be familiar with all aspects of the right received.

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PART B – SELLER’S PORTION
(Attach additional sheets if necessary)

1.   SELLER’S NAME ___________________________________________________________________________________

2.   PORTION OF WATER RIGHT RETAINED
If specifically identified in the attached recorded document, what flow rate will be retained by the Seller? _______    gpm      cfs

Unless specifically divided in the attached recorded document, both the Seller’s and Buyer’s water right will retain the full flow
rate and the use of the flow rate must be shared and/or alternated. Attach an additional sheet explaining how this will be done
such that, in combination, the flow rate of the original water right will not be exceeded.

Purpose of Use ____________________________                      Volume (acre-feet) ___________________
Purpose of Use ____________________________                      Volume (acre-feet) ___________________

3.   POINT OF DIVERSION (describe the location to the nearest 10 acres, three quarter sections)
     _____1/4 _____1/4 _____ 1/4 Sec ________ TWP ________               N     S   RGE ________        E     W
     Lot/Tract _________ Block _________            Subdivision Name __________________________________________________
     COS ___________________          Gov’t Lot __________     County ________________________________________________

     _____1/4 _____1/4 _____ 1/4 Sec ________ TWP ________               N     S   RGE ________        E     W
     Lot/Tract _________ Block _________            Subdivision Name __________________________________________________
     COS ___________________          Gov’t Lot __________     County ________________________________________________

4.   PLACE OF USE
Purpose of Use ____________________________________ County ______________________________________________
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________    TWP ________          N      S   RGE ________         E     W
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________    TWP ________          N      S   RGE ________         E     W
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________    TWP ________          N      S   RGE ________         E     W
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________    TWP ________          N      S   RGE ________         E     W
___________ Total Acres
Lot/Tract _________ Block _________  Subdivision Name ______________________________________________________
COS ___________________________________________ Gov’t Lot ________________________________________________
Geocodes(s) ______________________________________________________________________________________________

Purpose of Use ____________________________________ County ______________________________________________
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________    TWP ________          N      S   RGE ________         E     W
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________    TWP ________          N      S   RGE ________         E     W
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________    TWP ________          N      S   RGE ________         E     W
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________    TWP ________          N      S   RGE ________         E     W
___________ Total Acres
Lot/Tract _________ Block _________  Subdivision Name ______________________________________________________
COS ___________________________________________ Gov’t Lot ________________________________________________
Geocodes(s) ______________________________________________________________________________________________

5.   SIGNATURE

I DECLARE UNDER PENALTY OF PERJURY AND UNDER THE LAWS OF THE STATE OF MONTANA THAT THE
FOREGOING IS TRUE AND CORRECT.
     Seller Signature: _____________________________________________________                   Date: ________________________
     Seller Signature: _____________________________________________________                   Date: ________________________


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PART C - BUYER’S PORTION
(Attach additional sheets if necessary. If more than one buyer, add sheets showing each buyer’s portion.)

1.   BUYER’S NAME ___________________________________________________________________________________

2.   PORTION OF WATER RIGHT ACQUIRED
Flow Rate (gpm/cfs) ______________ (Only if specifically identified in the attached recorded document—see Part B, Number 2)
Purpose of Use ____________________________ Volume (acre-feet) ___________________
Purpose of Use ____________________________ Volume (acre-feet) ___________________

3.   POINT OF DIVERSION (describe the location to the nearest 10 acres, three quarter sections)

     _____1/4 _____1/4 _____ 1/4 Sec ________ TWP ________             N    S   RGE ________       E   W
     Lot/Tract _________ Block _________            Subdivision Name __________________________________________________
     COS ___________________          Gov’t Lot __________    County ________________________________________________

     _____1/4 _____1/4 _____ 1/4 Sec ________ TWP ________             N    S   RGE ________       E   W
     Lot/Tract _________ Block _________            Subdivision Name __________________________________________________
     COS ___________________          Gov’t Lot __________    County ________________________________________________

4.   PLACE OF USE

Purpose of Use ____________________________________ County ______________________________________________
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________   TWP ________     N      S     RGE ________     E    W
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________   TWP ________     N      S     RGE ________     E    W
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________   TWP ________     N      S     RGE ________     E    W
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________   TWP ________     N      S     RGE ________     E    W
___________ Total Acres
Lot/Tract _________ Block _________  Subdivision Name ______________________________________________________
COS ___________________________________________ Gov’t Lot ________________________________________________
Geocodes(s) ______________________________________________________________________________________________

Purpose of Use ____________________________________ County ______________________________________________
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________   TWP ________     N      S     RGE ________     E    W
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________   TWP ________     N      S     RGE ________     E    W
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________   TWP ________     N      S     RGE ________     E    W
_____ acres     _____1/4    _____1/4     _____ 1/4   Sec ________   TWP ________     N      S     RGE ________     E    W
___________ Total Acres
Lot/Tract _________ Block _________  Subdivision Name ______________________________________________________
COS ___________________________________________ Gov’t Lot ________________________________________________
Geocodes(s) ______________________________________________________________________________________________

5.   SIGNATURE

I DECLARE UNDER PENALTY OF PERJURY AND UNDER THE LAWS OF THE STATE OF MONTANA THAT THE
FOREGOING IS TRUE AND CORRECT.


Buyer Signature: ____________________________________________                            Date: ________________________
Buyer Signature: ____________________________________________                            Date: ________________________




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                                             WATER RESOURCES OFFICES

BILLINGS:          AIRPORT INDUSTRIAL PARK, 1371 RIMTOP DR., BILLINGS MT 59105-1978
                   PHONE: 406-247-4415 FAX: 406-247-4416
                   SERVING: Big Horn, Carbon, Carter, Custer, Fallon, Powder River, Prairie, Rosebud, Stillwater, Sweet Grass, Treasure,
                   and Yellowstone Counties

BOZEMAN:           2273 BOOT HILL COURT, SUITE 110, BOZEMAN MT 59715
                   PHONE: 406-586-3136 FAX: 406-587-9726
                   SERVING: Gallatin, Madison, and Park Counties

GLASGOW:           222 6TH STREET SOUTH, PO BOX 1269, GLASGOW MT 59230-1269
                   PHONE: 406-228-2561 FAX: 406-228-8706
                   SERVING: Daniels, Dawson, Garfield, McCone, Phillips, Richland, Roosevelt, Sheridan, Valley, and Wibaux Counties

HAVRE:             210 6TH AVENUE, PO BOX 1828, HAVRE MT 59501-1828
                   PHONE: 406-265-5516 FAX: 406-265-2225
                   SERVING: Blaine, Chouteau, Glacier, Hill, Liberty, Pondera, Teton, and Toole Counties

HELENA:            1424 9TH AVE., PO BOX 201601, HELENA MT 59620-1601
                   PHONE: 406-444-6999 FAX: 406-444-9317
                   SERVING: Beaverhead, Broadwater, Deer Lodge, Jefferson, Lewis and Clark, Powell, and Silver Bow Counties

KALISPELL:         655 TIMBERWOLF PARKWAY, SUITE 4, KALISPELL MT 59901-1215
                   PHONE: 406-752-2288 FAX: 406-752-2843
                   SERVING: Flathead, Lake, Lincoln, and Sanders Counties

LEWISTOWN:         613 NORTHEAST MAIN ST., SUITE E, LEWISTOWN MT 59457-2020
                   PHONE: 406-538-7459 FAX: 406-538-7089
                   SERVING: Cascade, Fergus, Golden Valley, Judith Basin, Meagher, Musselshell, Petroleum, and Wheatland Counties

MISSOULA:          2705 SPURGIN RD. BLDG.C, PO BOX 5004, MISSOULA MT 59806-5004
                   PHONE: 406-721-4284 FAX: 406-542-5899
                   SERVING: Granite, Mineral, Missoula, and Ravalli Counties

          MONTANA DEPARTMENT OF NATURAL RESOURCES AND CONSERVATION
                    Water Resources Division - Water Rights Bureau
                            WEBSITE: http://dnrc.mt.gov/wrd/




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³Shared Vote´ 

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³Appointee´PHDQVDQ\RID1RUWK:HVWHUQ$SSRLQWHHRUD3XJHW$SSRLQWHH

³Authorized Officer´PHDQVZLWKUHVSHFWWRD3DUW\DQ\RIILFHURIVXFK3DUW\
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³Business Day´PHDQVDQ\GD\ZKLFKLVQRWD6DWXUGD\6XQGD\RUOHJDOKROLGD\LQWKHVWDWHRI
0RQWDQD

³Classification Objection´PHDQVDQ2EMHFWLRQRQWKHJURXQGVWKDWWKHRWKHU3DUW\KDV
LQFRUUHFWO\FODVVLILHGWKHVXEMHFWPDWWHURIWKH3URSRVDODVD&ROVWULS3URSRVDO&ROVWULS
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³Colstrip Unit 3´PHDQVVXFKSRUWLRQRIWKH3URMHFWFRPPRQO\NQRZQDV³&ROVWULS8QLW´DQG
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SURSHUW\ULJKWV

³Colstrip 3 Proposal´PHDQVD3URSRVDORWKHUWKDQD8QLW'HFRPPLVVLRQLQJ3URSRVDORU
5HPHGLDWLRQ3URSRVDOWKDWUHODWHVSULPDULO\WR&ROVWULS8QLWEXWQRWWR3URSRVDOVFRQFHUQLQJ
WKH&RPPRQ)DFLOLWLHV

³Colstrip Unit 4´PHDQVVXFKSRUWLRQRIWKH3URMHFWFRPPRQO\NQRZQDV³&ROVWULS8QLW´DQG
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SURSHUW\ULJKWV

³Colstrip 4 Proposal´PHDQVD3URSRVDORWKHUWKDQD8QLW'HFRPPLVVLRQLQJ3URSRVDORU
5HPHGLDWLRQ3URSRVDOWKDWUHODWHVSULPDULO\WR&ROVWULS8QLWEXWQRWWR3URSRVDOVFRQFHUQLQJ
WKH&RPPRQ)DFLOLWLHV

³Colstrip Unit 4 Acquisition Agreement´KDVWKHPHDQLQJDVVLJQHGWRLWLQWKH5HFLWDOV

³Common Facilities´KDVWKHPHDQLQJDVVLJQHGWRLWXQGHUWKH2ZQHUVKLSDQG2SHUDWLRQ
$JUHHPHQW

³Dispute´KDVWKHPHDQLQJDVVLJQHGWRLWLQ6HFWLRQ

³Dispute Notice´KDVWKHPHDQLQJDVVLJQHGWRLWLQ6HFWLRQ

³Dispute Notice Response´KDVWKHPHDQLQJDVVLJQHGWRLWLQ6HFWLRQ

³Disapproval Statement´PHDQVWKHZULWWHQVWDWHPHQWVXEPLWWHGWRWKHRWKHUPHPEHUVRIWKH
3URMHFW&RPPLWWHHSXUVXDQWWR6HFWLRQ K RIWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW

³Governmental Authority´PHDQV L WKHIHGHUDOJRYHUQPHQWRIWKH8QLWHG6WDWHVRI$PHULFD LL 
DQ\VWDWHFRXQW\PXQLFLSDOLW\RURWKHUJRYHUQPHQWDOVXEGLYLVLRQZLWKLQWKH8QLWHG6WDWHVRI
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8QLWHG6WDWHVRI$PHULFD

³Law´PHDQVDQ\DSSOLFDEOHODZVWDWXWHUXOHUHJXODWLRQRUGLQDQFHVWDQGDUGFRGHRUGHU
MXGJPHQWGHFLVLRQZULWLQMXQFWLRQGHFUHHFHUWLILFDWHRIQHHGDZDUGRURWKHUJRYHUQPHQWDO

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³Mixed Proposal´PHDQVD3URSRVDOWKDWLVQRWD&ROVWULS3URSRVDO&ROVWULS3URSRVDO8QLW
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³NorthWestern Appointee´KDVWKHPHDQLQJDVVLJQHGLQ6HFWLRQ F 

³NorthWestern’s Colstrip 4 Project Share´PHDQVWKHXQGLYLGHGLQWHUHVWLQ&ROVWULS8QLW
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WKHRWKHU3DUW\¶V$SSRLQWHHLQWHQGVWRXVHWKH6KDUHG9RWH2QO\WKHIROORZLQJ2EMHFWLRQVPD\
EHDVVHUWHGXQGHUWKLV$JUHHPHQW&ODVVLILFDWLRQ2EMHFWLRQVRU3UXGHQF\2EMHFWLRQV

³Ownership and Operation Agreement´KDVWKHPHDQLQJDVVLJQHGWRLWLQWKH5HFLWDOV

³Party Appointee´PHDQVHLWKHUD1RUWK:HVWHUQ$SSRLQWHHRUD3XJHW$SSRLQWHH

³Person´PHDQVDQ\*RYHUQPHQWDO$XWKRULW\RUDQ\LQGLYLGXDOILUPSDUWQHUVKLSFRUSRUDWLRQ
OLPLWHGOLDELOLW\FRPSDQ\MRLQWYHQWXUHWUXVWXQLQFRUSRUDWHGRUJDQL]DWLRQRURWKHUHQWLW\RU
RUJDQL]DWLRQ

³Poll´KDVWKHPHDQLQJDVVLJQHGLQ6HFWLRQ E 

³Project´KDVWKHPHDQLQJDVVLJQHGWRLWXQGHUWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW

³Project Committee´KDVWKHPHDQLQJDVVLJQHGWRLWXQGHUWKH2ZQHUVKLSDQG2SHUDWLRQ
$JUHHPHQW

³Puget Appointee´KDVWKHPHDQLQJDVVLJQHGLQ6HFWLRQ E 

³Proposal´PHDQVDQ\SURSRVDOEHLQJFRQVLGHUHGIRUDFWLRQE\WKH3URMHFW&RPPLWWHH

³Prudency Objection´PHDQVDQREMHFWLRQE\D3DUW\UHVXOWLQJIURPDJRRGIDLWKGHWHUPLQDWLRQ
E\DQ$XWKRUL]HG2IILFHURIVXFK3DUW\WKDWWKHDOORUDSRUWLRQRID3URSRVDOZRXOGEH
LQFRQVLVWHQWZLWK3UXGHQW8WLOLW\3UDFWLFHV VXFKGHWHUPLQDWLRQWREHPDGHRQWKHDVVXPSWLRQ
WKDWVXFK3DUW\LVDORQJWHUPRZQHU DQGQRWPHUHO\DOHVVHH RI3XJHW¶V&ROVWULS3URMHFW6KDUH
RU1RUWK:HVWHUQ¶V&ROVWULS3URMHFW6KDUHDVDSSURSULDWH 




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³Prudent Utility Practices´PHDQVWKHSUDFWLFHVPHWKRGVDQGDFWVJHQHUDOO\HQJDJHGLQRU
DSSURYHGE\WKHHOHFWULFXWLOLW\LQGXVWU\LQWKH8QLWHG6WDWHVIRUVLPLODUO\VLWXDWHGIDFLOLWLHVLQWKH
8QLWHG6WDWHVGXULQJDSDUWLFXODUWLPHSHULRGLQDPDQQHUFRQVLVWHQWZLWK/DZVUHOLDELOLW\
VDIHW\DQGHQYLURQPHQWDOSURWHFWLRQDQGWDNLQJLQWRFRQVLGHUDWLRQWKHUHTXLUHPHQWVRIWKLV
$JUHHPHQWWKHFRQWUDFWVVHWIRUWKRQ6FKHGXOH F WRWKH&ROVWULS8QLW$FTXLVLWLRQ
$JUHHPHQWDQGWKHRWKHUFRQWUDFWVDIIHFWLQJWKHRSHUDWLRQRIWKH3URMHFW3UXGHQW8WLOLW\
3UDFWLFHVDUHQRWQHFHVVDULO\LQWHQGHGWRUHTXLUHWKHRSWLPXPRUEHVWSUDFWLFHVPHWKRGVRUDFWVWR
WKHH[FOXVLRQRIDOORWKHUVEXWUDWKHUWRLQFOXGHDVSHFWUXPRISRVVLEOHSUDFWLFHVPHWKRGVRUDFWV
FRQVLVWHQWZLWKWKHLPPHGLDWHO\SUHFHGLQJVHQWHQFH

³Puget’s Colstrip 3 Project Share´PHDQVWKHXQGLYLGHGLQWHUHVWLQ&ROVWULS8QLWRZQHG
E\3XJHW

³Remediation Proposal´PHDQVD3URSRVDOSULPDULO\FRQFHUQLQJWKHUHPHGLDWLRQRIJURXQGZDWHU
RUVRLOFRQWDPLQDWLRQORFDWHGDW&ROVWULS8QLWRU&ROVWULS8QLWDVUHTXLUHGXQGHUDSSOLFDEOH
/DZV

³Rules´KDVWKHPHDQLQJDVVLJQHGWRLWLQ6HFWLRQ D 

³Shared Vote´KDVWKHPHDQLQJDVVLJQHGWRLWLQWKH5HFLWDOV

“Unit 3 Budget Proposal”PHDQVD3URSRVDOUHJDUGLQJWKH3URMHFW¶VEXGJHWIRUD\HDUGXULQJ
ZKLFK8QLWLVWKHRQO\XQLWDWWKH3URMHFWIRUZKLFKWKHUHLVDSODQQHGPDLQWHQDQFHRXWDJHRU
LIERWK8QLWDQG8QLWKDYHSODQQHGPDLQWHQDQFHRXWDJHVGXULQJDJLYHQ\HDUD3URSRVDO
UHJDUGLQJWKH3URMHFW¶VEXGJHWIRUWKDW\HDULIWKHVFKHGXOHGGXUDWLRQRIWKHSODQQHGPDLQWHQDQFH
RXWDJHIRU8QLWLVORQJHUWKDQWKHVFKHGXOHGGXUDWLRQRIWKHSODQQHGPDLQWHQDQFHRXWDJHIRU
8QLW

“Unit 4 Budget Proposal”PHDQVD3URSRVDOUHJDUGLQJWKH3URMHFW¶VEXGJHWIRUD\HDUGXULQJ
ZKLFK8QLWLVWKHRQO\XQLWDWWKH3URMHFWIRUZKLFKWKHUHLVDSODQQHGPDLQWHQDQFHRXWDJHRU
LIERWK8QLWDQG8QLWKDYHSODQQHGPDLQWHQDQFHRXWDJHVGXULQJDJLYHQ\HDUD3URSRVDO
UHJDUGLQJWKH3URMHFW¶VEXGJHWIRUWKDW\HDULIWKHVFKHGXOHGGXUDWLRQRIWKHSODQQHGPDLQWHQDQFH
RXWDJHIRU8QLWLVORQJHUWKDQWKHVFKHGXOHGGXUDWLRQRIWKHSODQQHGPDLQWHQDQFHRXWDJHIRU
8QLW

³Unit 3 Decommissioning Proposal´PHDQVD3URSRVDOUHJDUGLQJWKHGHFRPPLVVLRQLQJ
PRWKEDOOLQJFORVXUHUHWLUHPHQWGHDFWLYDWLRQVKXWGRZQGHFRQVWUXFWLRQUHPRYDORUGHPROLWLRQ
RIDOORUDSRUWLRQRI&ROVWULS8QLW

³Unit 4 Decommissioning Proposal´PHDQVD3URSRVDOUHJDUGLQJWKHGHFRPPLVVLRQLQJ
PRWKEDOOLQJFORVXUHUHWLUHPHQWGHDFWLYDWLRQVKXWGRZQGHFRQVWUXFWLRQUHPRYDORUGHPROLWLRQ
RIDOORUDSRUWLRQRI&ROVWULS8QLW

                    2WKHU&DSLWDOL]DWLRQ8QOHVVRWKHUZLVHGHILQHGLQWKLV$JUHHPHQW
 LQFOXGLQJWKH5HFLWDOV DOORWKHUFDSLWDOL]HGWHUPVXVHGLQWKLV$JUHHPHQWKDYHWKHPHDQLQJV
DVVLJQHGWRVXFKWHUPVLQWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW



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                     ,QWHUSUHWDWLRQ8QOHVVWKHFRQWH[WRIWKLV$JUHHPHQWRWKHUZLVHUHTXLUHV
 D ZRUGVRIDQ\JHQGHULQFOXGHHDFKRWKHUJHQGHU E ZRUGVXVLQJWKHVLQJXODURUSOXUDOQXPEHU
DOVRLQFOXGHWKHSOXUDORUVLQJXODUQXPEHUUHVSHFWLYHO\ F WKHWHUPV³KHUHRI´³KHUHLQ´
³KHUHE\´DQGGHULYDWLYHRUVLPLODUZRUGVUHIHUWRWKLVHQWLUH$JUHHPHQW G WKHWHUPV³$UWLFOH´
RU³6HFWLRQ´UHIHUWRWKHVSHFLILHG$UWLFOHRU6HFWLRQRIWKLV$JUHHPHQWDQG H DQ\UHIHUHQFHWR
WKHHQWLUHW\RUDQ\SDUWRIDQ\DJUHHPHQWRUGRFXPHQWVKDOOUHIHUWRDQ\DPHQGPHQWVXSSOHPHQW
RUUHSODFHPHQWRIWKHVDPH:KHQHYHUWKLV$JUHHPHQWUHIHUVWRDQXPEHURIGD\VVXFKQXPEHU
VKDOOUHIHUWRFDOHQGDUGD\VXQOHVV%XVLQHVV'D\VDUHVSHFLILHG

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                      $SSRLQWPHQW3URFHVVHV

               8QOHVVRWKHUZLVHDJUHHGLQZULWLQJE\WKH3DUWLHVHDFK$SSRLQWHHDSSRLQWHG
SXUVXDQWWRWKLV$JUHHPHQWVKDOO L KDYHVXIILFLHQWILQDQFLDODQGRURSHUDWLRQDOH[SHULHQFHZLWK
HOHFWULFHQHUJ\SODQWVVLPLODUWRWKH3URMHFW LL EHDQLQGLYLGXDOZKRLVDQHPSOR\HHRIRQHRI
WKH3DUWLHVWRWKLV$JUHHPHQWRURQHRIWKHLUUHVSHFWLYHDIILOLDWHVDQG LLL VHUYHLQDFFRUGDQFH
ZLWKWKHDSSOLFDEOHWHUPVDQGSURYLVLRQVRIWKLV$JUHHPHQWDQGWKH2ZQHUVKLSDQG2SHUDWLRQ
$JUHHPHQW

               3XJHWVKDOODSSRLQWWKHLQGLYLGXDODQGDOWHUQDWHVZKRVKDOOEHHQWLWOHGWRXVHWKH
6KDUHG9RWHRQ3XJHW¶VEHKDOIXQGHUWKLV$JUHHPHQW WKH³Puget Appointee´ DQG1RUWKZHVWHUQ
VKDOODSSRLQWWKHLQGLYLGXDODQGDOWHUQDWHVZKRVKDOOEHHQWLWOHGWRXVHWKH6KDUHG9RWHRQ
1RUWK:HVWHUQ¶VEHKDOIXQGHUWKLV$JUHHPHQW WKH³NorthWestern Appointee’¶ 

               1RWLFHRIDQ\DSSRLQWPHQWPDGHSXUVXDQWWRWKLV6HFWLRQVKDOOEHGHOLYHUHGLQ
ZULWLQJWRWKHRWKHU3DUW\QRWODWHUWKDQRQH%XVLQHVV'D\SULRUWRWKHHIIHFWLYHGDWHRIVXFK
DSSRLQWPHQW1RWKLQJLQWKLV6HFWLRQLVLQWHQGHGWROLPLWWKH3DUWLHV¶DELOLW\WRDJUHHLQ
ZULWLQJWRDOWHUWKHVHOHFWLRQSURFHVVIRUDQ\$SSRLQWHH7KH1RWLFHRIDSSRLQWPHQWVKDOOFRQWDLQ
FRQWDFWLQIRUPDWLRQIRUWKH$SSRLQWHHLQFOXGLQJDSK\VLFDOPDLOLQJDGGUHVVHOHFWURQLFPDLO
DGGUHVVDQGWHOHSKRQHQXPEHU

                      $SSRLQWHH2EOLJDWLRQV'XULQJKLVRUKHUWHUPHDFK$SSRLQWHHVKDOODFW
LQDFFRUGDQFHZLWKWKLV$JUHHPHQW,IDQ$SSRLQWHHEUHDFKHVDQ\RILWVPDWHULDOREOLJDWLRQV
XQGHUWKLV$JUHHPHQWVXFK$SSRLQWHHVKDOOEHUHPRYHGE\WKHDSSRLQWLQJ3DUW\SURPSWO\DIWHU
 D UHFHLSWRIZULWWHQQRWLFHIURPWKHQRQDSSRLQWLQJ3DUW\ZKLFKQRWLFHVKDOOGHVFULEHWKH
EUHDFKLQUHDVRQDEOHGHWDLODQG E VXFKDSSRLQWLQJ3DUW\¶VRULWV$SSRLQWHH¶VIDLOXUHWRFXUH
VXFKEUHDFKZLWKLQILYHEXVLQHVVGD\VIURPWKHGDWHVXFKZULWWHQQRWLFHLVUHFHLYHG$
UHSODFHPHQW$SSRLQWHHVKDOOEHVHOHFWHGLQWKHPDQQHURIVHOHFWLQJWKH$SSRLQWHHVHWIRUWKLQ
6HFWLRQ

                   *HQHUDO$FNQRZOHGJPHQWVDQG$JUHHPHQWV7KH3DUWLHVKHUHE\PDNH
WKHIROORZLQJDFNQRZOHGJHPHQWVDQGDJUHHPHQWV

              :KHUHYHUHLWKHU3DUW\¶VDSSURYDOFRQVHQWRUDJUHHPHQWLVUHTXLUHGXQGHUWKLV
$JUHHPHQWLWLVXQGHUVWRRGWKDWVXFKDSSURYDOFRQVHQWRUDJUHHPHQWVKDOOQRWEHXQUHDVRQDEO\


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ZLWKKHOGGHOD\HGRUFRQGLWLRQHGXQOHVVWKLV$JUHHPHQWVSHFLILFDOO\SURYLGHVWKDWDGLIIHUHQW
VWDQGDUGVKRXOGDSSO\

               7KH3DUWLHVVKDOOPDLQWDLQLQFRQILGHQFHWKHFRPPXQLFDWLRQVGLVFXVVLRQVDQG
GHOLEHUDWLRQVZLWKWKH$SSRLQWHHVDQGEHWZHHQWKH3DUWLHVUHJDUGLQJWKHDGYLFHWRFRQVXOWDWLRQ
ZLWKDQGWKHHVWDEOLVKPHQWRIVWUDWHJ\DQGFDVWLQJRIYRWHVZLWKUHVSHFWWRWKH6KDUHG9RWH
SURYLGHGWKDW L WKHREOLJDWLRQVHWIRUWKKHUHLQVKDOOQRWEHFRQVWUXHGWRSURKLELWGLVFORVXUH $ WR
D3DUW\¶VHPSOR\HHVVKDUHKROGHUVGLUHFWRUVRIILFHUVDGYLVRUVDJHQWVUHSUHVHQWDWLYHVRU
OHQGHUV % RILQIRUPDWLRQWKDWLVRUEHFRPHVJHQHUDOO\DYDLODEOHWRWKHSXEOLFRWKHUWKDQDVD
UHVXOWRIDQ\LPSURSHUGLVFORVXUHRIVXFKLQIRUPDWLRQE\WKHGLVFORVLQJ3DUW\RU & RI
LQIRUPDWLRQUHTXLUHGWREHGLVFORVHGXQGHUDSSOLFDEOH/DZVDQG LL WKH3DUWLHVPD\PXWXDOO\
DJUHHWRGLVFORVHVRPHRUDOORIWKHFRPPXQLFDWLRQVGLVFXVVLRQVRUGHOLEHUDWLRQVDGGUHVVHG
KHUHE\1RWKLQJLQWKLV6HFWLRQ E VKDOOFRQVWLWXWHDZDLYHURIRUDJUHHPHQWQRWWRDVVHUWDQ\
DWWRUQH\FOLHQWZRUNSURGXFWRURWKHUSULYLOHJHXQOHVVRWKHUZLVHDYDLODEOHZLWKUHVSHFWWRD
3DUW\LWV$SSRLQWHHVDQGWKHLUVHSDUDWHGHOLEHUDWLRQVDQGFRQVXOWDWLRQV

              1RWKLQJFRQWDLQHGKHUHLQVKDOOSURKLELWDQ$SSRLQWHHIURPDGYDQFLQJDQ\
DUJXPHQWRUWDNLQJDQ\SRVLWLRQDWD3URMHFW&RPPLWWHHPHHWLQJLQFRQVLVWHQWZLWKWKHRIILFLDO
YRWHEHLQJFDVWE\WKH6KDUHG9RWHDQGWKH3DUWLHVVKDOOQRWLQWHUIHUHZLWKDQ$SSRLQWHH¶VHIIRUWV
WRFRPPXQLFDWHZLWKWKH3URMHFW&RPPLWWHHRQDQ\PDWWHUEHIRUHWKH3URMHFW&RPPLWWHH

                7KLV$JUHHPHQWGRHVQRWDSSO\WRULJKWVYRWHVDSSURYDOVFRQVHQWVZDLYHUVRU
WKHOLNHWKDWDUHWREHPDGHRUH[HUFLVHGGLUHFWO\E\2ZQHUVRU3URMHFW8VHUV LQFOXGLQJE\DQ
LQGLYLGXDODSSRLQWHGDVD3DUW\$SSRLQWHHEXWRQO\WRWKHH[WHQWDFWLQJRQEHKDOIRIVXFK2ZQHUV
RU3URMHFW8VHUVDQGQRWDVD3DUW\$SSRLQWHH XQGHUWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW
 DVRSSRVHGWRULJKWVYRWHVDSSURYDOVFRQVHQWVZDLYHUVRUWKHOLNHGHVLJQHGWREHPDGHRU
H[HUFLVHGE\WKHPHPEHUVRI3URMHFW&RPPLWWHHRUWKH3URMHFW&RPPLWWHHDVDZKROH 7KH3DUW\
$SSRLQWHHVVKDOOQRWKDYHWKHSRZHUWRELQGWKH3DUWLHVEH\RQGWKHLUDELOLW\WRFDVWWKH6KDUHG
9RWHKHUHXQGHULWEHLQJXQGHUVWRRGWKDW$SSRLQWHHVPD\ZDLYH2EMHFWLRQVEXWGRQRWLQ
FDSDFLWLHVDVVXFKKDYHWKHSRZHUWRZDLYHDQ\RWKHUULJKWVXQGHUWKLV$JUHHPHQW

                    ([FOXVLYH5HPHGLHV)XUWKHUPRUHHDFK3DUW\DJUHHVWKDWLWVH[FOXVLYH
UHPHG\IRUDEUHDFKRIWKLV$JUHHPHQWVKDOOEHDQDFWLRQDJDLQVWWKHRWKHU3DUW\DQGQRWLWV
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&ROVWULS'HFRPPLVVLRQLQJ3URSRVDO&ROVWULS'HFRPPLVVLRQLQJ3URSRVDORU5HPHGLDWLRQ
3URSRVDOWKH6KDUHG9RWHVKDOOEHFDVWVWULFWO\LQDFFRUGDQFHZLWKWKLV$JUHHPHQWE\RQHRIWKH
3DUW\$SSRLQWHHVDVGHVFULEHGLQWKHWDEOHFRQWDLQHGEHORZLQWKLV6HFWLRQ D 2EMHFWLRQV
VKDOOEHFRPPXQLFDWHGDVVRRQDVSRVVLEOHEXWLQDQ\HYHQWSULRUWRWKHFDVWLQJRIDQRIILFLDOYRWH
E\WKH3URMHFW&RPPLWWHHDVIROORZV L WKH2EMHFWLRQVKDOOEHFRPPXQLFDWHGYHUEDOO\E\
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3URMHFW&RPPLWWHHPHHWLQJLQZKLFKVXFK3URSRVDOLVWREHFRQVLGHUHGDQG LL WKH2EMHFWLRQ
VKDOOEHFRPPXQLFDWHGLQZULWLQJGHOLYHUHGYLDHPDLORUYHUEDOO\E\WHOHSKRQHRULQSHUVRQWRWKH
RWKHU3DUW\$SSRLQWHHIRUDQ\3URSRVDOUHFHLYHGSULRUWRWKHGD\RIWKH3URMHFW&RPPLWWHH
PHHWLQJLQZKLFKVXFK3URSRVDOLVWREHFRQVLGHUHG7KHW\SHVRI2EMHFWLRQVZKLFKPD\EH
UDLVHGDQGWKHPDQQHULQZKLFKWKH6KDUHG9RWHPD\EHFDVWDUHVHWIRUWKRQWKHWDEOHEHORZ
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DSSURSULDWHDOWHUQDWHDUUDQJHPHQWVFRQVLVWHQWZLWKWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW
KDYHQRWEHHQPDGH H[FHSWIRUVXFKDEVHQFHVGXHWRDQHPHUJHQF\RUVLPLODUFLUFXPVWDQFHV
EH\RQGVXFK$SSRLQWHH¶VFRQWURO WKHRWKHU3DUW\PD\FDVWWKH6KDUHG9RWH

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    6XEMHFW0DWWHU      9RWLQJ5LJKWV     3HUPLWWHG      'HIDXOW5HVROXWLRQ$IWHU
                         LIQR2EMHFWLRQ   2EMHFWLRQV     2EMHFWLRQLV5DLVHG
                         LV5DLVHG
    &ROVWULS3URSRVDO 3XJHW           &ODVVLILFDWLRQ 7KH3URSRVDOVKDOOEHUHFODVVLILHG
                         $SSRLQWHHFDVWV 2EMHFWLRQ      SXUVXDQWWR1RUWK:HVWHUQ¶V
                         6KDUHG9RWH                     LQVWUXFWLRQVDQGWKH6KDUHG9RWH
                                                          VKDOOEHFDVWE\WKH3DUW\HQWLWOHG
                                                          SXUVXDQWWRWKLV6HFWLRQ D 
                                                          XQOHVV3XJHWFRQWHVWVWKH
                                                          &ODVVLILFDWLRQ2EMHFWLRQLQ
                                                          DFFRUGDQFHZLWK$57,&/(
    &ROVWULS3URSRVDO 1RUWK:HVWHUQ    &ODVVLILFDWLRQ 7KH3URSRVDOVKDOOEHUHFODVVLILHG
                         $SSRLQWHHFDVWV 2EMHFWLRQ      SXUVXDQWWR3XJHW¶VLQVWUXFWLRQVDQG
                         6KDUHG9RWH                     WKH6KDUHG9RWHVKDOOEHFDVWE\WKH
                                                          3DUW\HQWLWOHGSXUVXDQWWRWKLV
                                                          6HFWLRQ D XQOHVV1RUWK:HVWHUQ
                                                          FRQWHVWVWKH&ODVVLILFDWLRQ2EMHFWLRQ
                                                          LQDFFRUGDQFHZLWK$57,&/(
    0L[HG3URSRVDO      1RUWK:HVWHUQ    &ODVVLILFDWLRQ Classification Objection7KH
                         $SSRLQWHHFDVWV 2EMHFWLRQ     3URSRVDOVKDOOEHUHFODVVLILHG
                         6KDUHG9RWH     3UXGHQF\       SXUVXDQWWR3XJHW¶VLQVWUXFWLRQVDQG
                                          2EMHFWLRQ      WKH6KDUHG9RWHVKDOOEHFDVWE\WKH
                                                          3DUW\HQWLWOHGSXUVXDQWWRWKLV
                                                          6HFWLRQ D XQOHVV1RUWK:HVWHUQ
                                                          FRQWHVWVWKH&ODVVLILFDWLRQ2EMHFWLRQ
                                                          LQDFFRUGDQFHZLWK$57,&/(

                                                            Prudency Objection1RUWK:HVWHUQ
                                                            $SSRLQWHHFDVWVWKH6KDUHG9RWH
                                                            FRQVLVWHQWZLWKWKHUHVXOWVRIDYDOLG
                                                            3ROOFRQGXFWHGLQDFFRUGDQFHZLWK
                                                            6HFWLRQ6RORQJDVD3ROOPD\
                                                            EHFRQGXFWHG$57,&/(GRHVQRW
                                                            DSSO\WR3UXGHQF\2EMHFWLRQV


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    8QLW%XGJHW     3XJHW           &ODVVLILFDWLRQ 7KH3URSRVDOVKDOOEHUHFODVVLILHG
    3URSRVDO          $SSRLQWHHFDVWV 2EMHFWLRQ      SXUVXDQWWR1RUWK:HVWHUQ¶V
                       WKH6KDUHG9RWH                 LQVWUXFWLRQVDQGWKH6KDUHG9RWH
                                                        VKDOOEHFDVWE\WKH3DUW\HQWLWOHG
                                                        SXUVXDQWWRWKLV6HFWLRQ D 
                                                        XQOHVV3XJHWFRQWHVWVWKH
                                                        &ODVVLILFDWLRQ2EMHFWLRQLQ
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    8QLW%XGJHW     1RUWK:HVWHUQ    &ODVVLILFDWLRQ Classification Objection7KH
    3URSRVDO          $SSRLQWHHFDVWV 2EMHFWLRQ      3URSRVDOVKDOOEHUHFODVVLILHG
                       WKH6KDUHG9RWH                 SXUVXDQWWR3XJHW¶VLQVWUXFWLRQVDQG
                                                        WKH6KDUHG9RWHVKDOOEHFDVWE\WKH
                                                        3DUW\HQWLWOHGSXUVXDQWWRWKLV
                                                        6HFWLRQ D XQOHVV1RUWK:HVWHUQ
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    8QLW            1RUWK:HVWHUQ    &ODVVLILFDWLRQ Classification Objection7KH
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    3URSRVDO          WKH6KDUHG9RWH 3UXGHQF\       SXUVXDQWWR3XJHW¶VLQVWUXFWLRQVDQG
                                        2EMHFWLRQ      WKH6KDUHG9RWHVKDOOEHFDVWE\WKH
                                                        3DUW\HQWLWOHGSXUVXDQWWRWKLV
                                                        6HFWLRQ D XQOHVV1RUWK:HVWHUQ
                                                        FRQWHVWVWKH&ODVVLILFDWLRQ2EMHFWLRQ
                                                        LQDFFRUGDQFHZLWK$57,&/(

                                                        Prudency Objection: 1RUWK:HVWHUQ
                                                        $SSRLQWHHFDVWVWKH6KDUHG9RWH
                                                        FRQVLVWHQWZLWKWKHUHVXOWVRIDYDOLG
                                                        3ROOFRQGXFWHGLQDFFRUGDQFHZLWK
                                                        6HFWLRQ6RORQJDVD3ROOPD\
                                                        EHFRQGXFWHG$57,&/(GRHVQRW
                                                        DSSO\WR3UXGHQF\2EMHFWLRQV
    8QLW            3XJHW           &ODVVLILFDWLRQ 7KH3URSRVDOVKDOOEHUHFODVVLILHG
    'HFRPPLVVLRQLQJ   $SSRLQWHHFDVWV 2EMHFWLRQ      SXUVXDQWWR1RUWK:HVWHUQ¶V
    3URSRVDO          WKH6KDUHG9RWH                 LQVWUXFWLRQVDQGWKH6KDUHG9RWH
                                                        VKDOOEHFDVWE\WKH3DUW\HQWLWOHG
                                                        SXUVXDQWWRWKLV6HFWLRQ D 
                                                        XQOHVV3XJHWFRQWHVWVWKH
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    5HPHGLDWLRQ         3XJHW              &ODVVLILFDWLRQ   7KH3URSRVDOVKDOOEHUHFODVVLILHG
    3URSRVDO            $SSRLQWHHFDVWV    2EMHFWLRQ        SXUVXDQWWR1RUWK:HVWHUQ¶V
                         WKH6KDUHG9RWH                     LQVWUXFWLRQVDQGWKH6KDUHG9RWH
                                                             VKDOOEHFDVWSXUVXDQWWRWKLV
                                                              6HFWLRQ D XQOHVV3XJHWFRQWHVWV
                                                               WKH&ODVVLILFDWLRQ2EMHFWLRQLQ
                                                               DFFRUGDQFHZLWK$57,&/(

               ,IGHVSLWHWKHJRRGIDLWKHIIRUWVRIERWK3DUWLHVWKH3URMHFW&RPPLWWHHYRWHRFFXUV
SULRUWRUHVROXWLRQRIWKHYDOLGLW\RIDQ2EMHFWLRQSXUVXDQWWR$57,&/(WKH6KDUHG9RWHVKDOO
QRWEHFDVW

              ,QFRQQHFWLRQZLWKDQ\0L[HG3URSRVDO8QLW'HFRPPLVVLRQLQJ3URSRVDO8QLW
'HFRPPLVVLRQLQJ3URSRVDO8QLW%XGJHW3URSRVDO8QLW%XGJHW3URSRVDORU5HPHGLDWLRQ
3URSRVDOWKH3DUW\HQWLWOHGWRFDVWWKH6KDUHG9RWHIRUVXFK3URSRVDODJUHHVWRUHDVRQDEO\
FRRSHUDWHDQGFRQVXOWZLWKWKHRWKHU3DUW\UHJDUGLQJWKHFODVVLILFDWLRQRI3URSRVDOVDQGWKH
HVWDEOLVKPHQWRIVWUDWHJ\DQGFDVWLQJRIWKH6KDUHG9RWHLQDFFRUGDQFHZLWKDQGVXEMHFWWRWKH
WHUPVRIWKLV$JUHHPHQW7KLVFRYHQDQWWRFRRSHUDWHLQFOXGHVZLWKRXWOLPLWDWLRQWKHREOLJDWLRQ
WRSURYLGHWKHRWKHU3DUW\ZLWKQRWLFHRIDQ\FRQIOLFWRUGLVDJUHHPHQWDVVRRQDVUHDVRQDEO\
SUDFWLFDEOH

                       7KH&RQGXFWDQG5HVXOWVRID3UXGHQF\2EMHFWLRQ3ROO

               ,ID3DUW\DVVHUWVD3UXGHQF\2EMHFWLRQWKHQRQREMHFWLQJ3DUW\VKDOOUHTXHVWWKDW
WKH3URMHFW&RPPLWWHHFRQGXFWD3ROOUHJDUGLQJVXFK3URSRVDODVIROORZV L LIWKH3UXGHQF\
2EMHFWLRQLVDVVHUWHGRQWKHGD\RIRUGXULQJWKH3URMHFW&RPPLWWHHPHHWLQJLQZKLFKWKH
3URSRVDOLVWREHFRQVLGHUHGWKHQRQREMHFWLQJ3DUW\VKDOOUHTXHVWGXULQJWKH3URMHFW&RPPLWWHH
PHHWLQJWKDWD3ROOEHFRQGXFWHGGXULQJVXFKPHHWLQJDQG LL LIWKH3UXGHQF\2EMHFWLRQLV
DVVHUWHGSULRUWRWKHGD\RIWKH3URMHFW&RPPLWWHHPHHWLQJLQZKLFKWKH3URSRVDOLVWREH
FRQVLGHUHGWKHQRQREMHFWLQJ3DUW\VKDOOJLYHQRWLFHERWKWHOHSKRQLFDOO\DQGE\HPDLOWRWKH
REMHFWLQJ3DUW\WKDWLWZLOOUHTXHVWWKDWD3ROOEHWDNHQDWWKH3URMHFW&RPPLWWHHPHHWLQJ

               $YDOLG³3ROO´LVRQHLQZKLFKWKH3URMHFW&RPPLWWHHPHPEHUV LQFOXGLQJHDFKRI
WKH$SSRLQWHHVVHOHFWHGSXUVXDQWWRWKLV$JUHHPHQW SUHVHQWWKHLUUHVSHFWLYHJRRGIDLWK
LQGLFDWLRQVRIKRZWKH\LQWHQGWRYRWHRQWKH3URSRVDOEHLQJFRQVLGHUHG)RUSXUSRVHVRI
FRQGXFWLQJWKH3ROOWKH3URMHFW6KDUHVRI1RUWK:HVWHUQDQG3XJHWVKDOOEHVHSDUDWHO\WDOOLHGIRU
SXUSRVHVRIWKH3ROODQGQRWFRXQWHGDVLQGLFDWLYHRIWKHVLQJOHFRPELQHG6KDUHG9RWHWREHFDVW
7KHUHIRUHWKHUHVXOWVRIDYDOLG3ROOVKDOOSUHVHQWDSXUHWDOO\RIWKH3URMHFW8VHUV¶SRVLWLRQVZLWK
UHVSHFWWRD3URSRVDOEDVHGRQHDFK3URMHFW8VHU¶VDFWXDO3URMHFW6KDUH

              7KHRIILFLDO6KDUHG9RWHRQWKH3URSRVDOEHLQJFRQVLGHUHGLQWKH3ROOVKDOOEHFDVW
FRQVLVWHQWZLWKWKHUHVXOWVRIWKH3ROOLQOLJKWRIWKHYRWLQJDQGDSSURYDOUHTXLUHPHQWVXQGHUWKH
2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW LHHLWKHUDSSURYHGRUQRWDSSURYHG 7KHIDFWWKDWD
3URMHFW&RPPLWWHHPHPEHUFDVWVDQRIILFLDOYRWHRQWKH3URSRVDOWKDWGLIIHUVIURPLWV3ROOYRWH
VKDOOKDYHQREHDULQJRQWKHRIILFLDO6KDUHG9RWHFDVWLQDFFRUGDQFHZLWKWKLV6HFWLRQ F 7KH
6KDUHG9RWHFDVWPD\EHFKDQJHGRQO\XSRQWKHFRQFXUUHQFHRIERWK3DUW\$SSRLQWHHVDQGLQ
DFFRUGDQFHZLWKWKHWHUPVDQGSURYLVLRQVRIWKH2ZQHUVKLSDQG2SHUDWLRQ$JUHHPHQW


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               :KHUHWKURXJKWKHVXFFHVVIXOH[HUFLVHRIDQ2EMHFWLRQD3DUW\WKURXJKLWV
$SSRLQWHHKDVFDVWWKH6KDUHG9RWHWRUHMHFW RUQRWDSSURYH D3URSRVDOVXFK3DUW\VKDOOKDYH
WKHVROHULJKWDQGDVEHWZHHQWKHWZR3DUWLHVWKHUHVSRQVLELOLW\WRVXEPLWD'LVDSSURYDO
6WDWHPHQWDQGWKHRWKHU3DUW\VKDOOKDYHQRULJKWWRVXEPLWD'LVDSSURYDO6WDWHPHQW
UHSUHVHQWLQJWKH6KDUHG9RWHUHODWLQJWRVXFKUHMHFWHG RUXQDSSURYHG 3URSRVDO,ILQDFFRUGDQFH
ZLWK6HFWLRQ E WKH6KDUHG9RWHZDVQRWFDVWWKH3DUWLHVVKDOODWWHPSWWRVXEPLWDMRLQW
'LVDSSURYDO6WDWHPHQWWKDWFRQWDLQVERWK3DUWLHV¶SRVLWLRQVRQDQGDOWHUQDWLYHVZLWKUHVSHFWWR
WKH3URSRVDO,QDOORWKHUVLWXDWLRQVWKH3DUWLHVVKDOOUHDVRQDEO\FRRSHUDWHWRSUHSDUHDQGVXEPLW
'LVDSSURYDO6WDWHPHQWVRQEHKDOIRIWKH6KDUHG9RWHWKDWSUHVHQWSRVLWLRQVDQGDOWHUQDWLYH
SURSRVDOVWKDWDUHDJUHHDEOHWRERWK3DUWLHVLWEHLQJWKHH[SUHVVSUHIHUHQFHRIWKLV$JUHHPHQW
WKDWD'LVDSSURYDO6WDWHPHQWDFWXDOO\EHVXEPLWWHGZLWKLQWKHWLPHSHULRGVUHTXLUHGXQGHUWKH
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                                    ',6387(5(62/87,21

                     0XWXDO'LVFXVVLRQV,IDQ\GLVSXWHRUGLIIHUHQFHRIDQ\NLQGZKDWVRHYHU
VKDOODULVHEHWZHHQWKH3DUWLHVLQFRQQHFWLRQZLWKRUDULVLQJRXWRIWKLV$JUHHPHQWRUWKH
LQWHUSUHWDWLRQSHUIRUPDQFHEUHDFKWHUPLQDWLRQRUYDOLGLW\KHUHRILQFOXGLQJZLWKRXWOLPLWDWLRQ
DQ\FODLPEDVHGRQFRQWUDFWWH[WRUVWDWXWH WKH³Dispute´ WKH3DUWLHVVKDOODWWHPSWWRVHWWOH
VXFK'LVSXWHLQWKHILUVWLQVWDQFHE\PXWXDOGLVFXVVLRQVLQDFFRUGDQFHZLWKWKLV6HFWLRQ
:LWKLQVHYHQ  %XVLQHVV'D\VRIWKHUHFHLSWE\HLWKHU3DUW\RIDQRWLFHIURPWKHRWKHU3DUW\RI
WKHH[LVWHQFHRID'LVSXWHUHIHUULQJWRWKLV$57,&/( WKH³Dispute Notice´ WKHUHFHLYLQJ
3DUW\VKDOOUHSO\ZLWKDZULWWHQUHVSRQVH D³Dispute Notice Response´ %RWKWKH'LVSXWH
1RWLFHDQGWKH'LVSXWH1RWLFH5HVSRQVHVKDOOLQFOXGH L DVWDWHPHQWRIWKHUHOHYDQW3DUW\¶V
SRVLWLRQZLWKUHJDUGWRWKH'LVSXWHDQGDVXPPDU\RIDUJXPHQWVVXSSRUWLQJVXFKSRVLWLRQDQG
 LL WKHQDPHDQGWLWOHRIWKHH[HFXWLYHZKRZLOOUHSUHVHQWWKDW3DUW\LQDWWHPSWLQJWRUHVROYHWKH
'LVSXWHSXUVXDQWWRWKLV6HFWLRQ:LWKLQVHYHQ  %XVLQHVV'D\VRIGHOLYHU\RIWKH'LVSXWH
1RWLFH5HVSRQVHWKHGHVLJQDWHGH[HFXWLYHVVKDOOPHHWDQGDWWHPSWWRUHVROYHWKH'LVSXWH$OO
QHJRWLDWLRQVSXUVXDQWWRWKLVFODXVHVKDOOEHFRQILGHQWLDODQGVKDOOEHWUHDWHGDVFRPSURPLVHDQG
VHWWOHPHQWQHJRWLDWLRQVDQGQRRUDORUGRFXPHQWDU\UHSUHVHQWDWLRQVRURIIHUVPDGHE\WKH3DUWLHV
GXULQJVXFKQHJRWLDWLRQVVKDOOEHDGPLVVLEOHIRUDQ\SXUSRVHLQDQ\VXEVHTXHQWSURFHHGLQJV

                     $UELWUDWLRQ,IDQ\'LVSXWHLVQRWUHVROYHGZLWKLQWKLUW\  GD\VRI
UHFHLSWRID'LVSXWH1RWLFHSXUVXDQWWR6HFWLRQWKHQXSRQHLWKHU3DUW\¶VUHTXHVWWKH'LVSXWH
VKDOOEHILQDOO\DQGH[FOXVLYHO\UHVROYHGE\DUELWUDWLRQDVIROORZV

             7KHDUELWUDWLRQVKDOOEHKHOGDFFRUGDQFHZLWKWKH&RPPHUFLDO$UELWUDWLRQ5XOHV
WKH³Rules´ RIWKH$PHULFDQ$UELWUDWLRQ$VVRFLDWLRQ WKH³AAA´ WKHQLQHIIHFWH[FHSWDV
PRGLILHGKHUHLQ7KHDUELWUDWLRQVKDOOEHKHOGDQGWKHDZDUGVKDOOEHLVVXHGLQ%LOOLQJV
0RQWDQD

              7KH3DUWLHVVKDOODSSRLQWDQDUELWUDWRUVDWLVIDFWRU\WRERWKSDUWLHV,IWKHDUELWUDWRU
LVQRWDSSRLQWHGZLWKLQWKHWLPHOLPLWSURYLGHGKHUHLQVXFKDUELWUDWRUVKDOOEHDSSRLQWHGE\WKH
$$$E\XVLQJDOLVWLQJVWULNLQJDQGUDQNLQJSURFHGXUHLQDFFRUGDQFHZLWKWKH5XOHV$Q\
DUELWUDWRUDSSRLQWHGE\WKH$$$VKDOOEHDUHWLUHGMXGJHSUHIHUDEO\IURPD)HGHUDO'LVWULFW&RXUW
RU)HGHUDO&RXUWRI$SSHDOVRUDSUDFWLFLQJDWWRUQH\ZLWKQROHVVWKDQWZHQW\  \HDUVRI

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H[SHULHQFHDQGDQH[SHULHQFHGDUELWUDWRUDQGLISRVVLEOHVKDOOKDYHH[SHULHQFHZLWKGLVSXWHV
UHODWLQJWRHOHFWULFSRZHULQIUDVWUXFWXUH

             7KHKHDULQJVKDOOEHKHOGLISRVVLEOHZLWKLQIRXU  PRQWKVDIWHUWKH
DSSRLQWPHQWRIWKHDUELWUDWRURUDVVRRQWKHUHDIWHUDVLVUHDVRQDEO\SUDFWLFDEOH

                %\DJUHHLQJWRDUELWUDWLRQWKHHQWLWLHVVLJQLQJWKLV$JUHHPHQWGRQRWLQWHQGWR
GHSULYHDQ\FRXUWRILWVMXULVGLFWLRQWRLVVXHDSUHDUELWUDOLQMXQFWLRQSUHDUELWUDODWWDFKPHQWRU
RWKHURUGHULQDLGRIDUELWUDWLRQSURFHHGLQJVDQGWKHHQIRUFHPHQWRIDQ\DZDUG:LWKRXW
SUHMXGLFHWRVXFKSURYLVLRQDOUHPHGLHVDVPD\EHDYDLODEOHXQGHUWKHMXULVGLFWLRQRIDFRXUWWKH
DUELWUDWRUVKDOOKDYHIXOODXWKRULW\WRJUDQWSURYLVLRQDOUHPHGLHVDQGWRGLUHFWWKHHQWLWLHVVLJQLQJ
WKLV$JUHHPHQWWRUHTXHVWWKDWDQ\FRXUWPRGLI\RUYDFDWHDQ\WHPSRUDU\RUSUHOLPLQDU\UHOLHI
LVVXHGE\VXFKFRXUWDQGWRDZDUGGDPDJHVIRUWKHIDLOXUHRIDQ\HQWLW\VLJQLQJWKLV$JUHHPHQW
WRUHVSHFWWKHDUELWUDWRU¶VRUGHUVWRWKDWHIIHFW

                $Q\DUELWUDWLRQSURFHHGLQJVGHFLVLRQRUDZDUGUHQGHUHGKHUHXQGHUDQGWKH
YDOLGLW\HIIHFWDQGLQWHUSUHWDWLRQRIWKLVDUELWUDWLRQDJUHHPHQWVKDOOEHJRYHUQHGE\WKH)HGHUDO
$UELWUDWLRQ$FW86&HWVHT,QDUULYLQJDWWKHLUGHFLVLRQWKHDUELWUDWRUVKDOOEHERXQGE\
WKHWHUPVDQGFRQGLWLRQVRIWKLV$JUHHPHQWDQGWKH&ORVLQJ'RFXPHQWVDQGVKDOODSSO\WKH
JRYHUQLQJODZRIWKLV$JUHHPHQWDVGHVLJQDWHGLQ6HFWLRQKHUHRI

               $Q\FRQWURYHUV\FRQFHUQLQJZKHWKHUD'LVSXWHLVDQDUELWUDEOH'LVSXWHRUDVWR
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                   WKHUHSUHVHQWDWLRQVDQGZDUUDQWLHVRI6HOOHUVHWIRUWKLQ$UWLFOHRIWKH
                      3XUFKDVH$JUHHPHQWDUHWUXHFRUUHFWDQGFRPSOHWHDVRIWKHGDWHKHUHRI
                      H[FHSWLQVXFKFLUFXPVWDQFHVDVVKDOOQRWLQGLYLGXDOO\RULQWKHDJJUHJDWH
                      KDYHRUUHDVRQDEO\EHH[SHFWHGWRKDYHD0DWHULDO$GYHUVH(IIHFW

                   WKHFRQGLWLRQVVHWIRUWKLQ6HFWLRQRIWKH3XUFKDVH$JUHHPHQWKDYH
                      EHHQIXOILOOHGRUZDLYHGRQRUEHIRUHWKHGDWHKHUHRIDQG

                   WKHFRYHQDQWVRI6HOOHUVHWIRUWKLQ$UWLFOHRIWKH3XUFKDVH$JUHHPHQW
                      KDYHEHHQIXOILOOHGRUZDLYHGLQZULWLQJE\%X\HU

                                    [Signature page follows]




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ILUVWZULWWHQDERYH


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                                                   1DPH
                                                   7LWOH
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                      >Signature page to Seller’s Officer’s Certificate@
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                                        )2502)'(('
$IWHU5HFRUGLQJ5HWXUQWR
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 ³*UDQWHH´ DOORI*UDQWRU¶VULJKWWLWOHDQGLQWHUHVWLQDQGWRWKHIROORZLQJSURSHUW\VLWXDWHGLQ
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         D     7KHUHDOSURSHUW\LQWHUHVWVLQUHDOSURSHUW\DQGRWKHULQWHUHVWVGHVFULEHGRU
        UHIHUHQFHGRUGHVFULEHGLQWKHGRFXPHQWVUHIHUHQFHGLQ3DUW,RI([KLELW$ ZKLFKLV
        DWWDFKHGKHUHWRDQGKHUHE\PDGHDSDUWKHUHRI  ³)HH/DQGV´ 

         E      7KHHDVHPHQWVXVHULJKWVDQGRWKHULQWHUHVWVGHVFULEHGRUUHIHUHQFHGRUGHVFULEHG
        LQWKHGRFXPHQWVUHIHUHQFHGLQ3DUW,,RI([KLELW$ ³(DVHPHQWV´ 

        F     7KHZDWHUULJKWVGHVFULEHGLQ3DUW,,,RI([KLELW$DQGDOORWKHUZDWHUULJKWVLQWKH
        &RXQW\ ³:DWHU5LJKWV´ 

         G      7KHRLODQGJDVOHDVHVVHYHUHGIHHPLQHUDOVVHYHUHGIHHRLODQGJDVULJKWV
        UR\DOWLHVDJUHHPHQWVDVVLJQPHQWVJDVVWRUDJHDJUHHPHQWVDQGULJKWVDQGRWKHULQWHUHVWV
        GHVFULEHGRUUHIHUHQFHGRUGHVFULEHGLQWKHGRFXPHQWVUHIHUHQFHGLQ3DUW,9RI([KLELW
        $DQGDOORSHUDWLQJDJUHHPHQWVIDUPRXWDJUHHPHQWVIDUPLQJDJUHHPHQWVDUHDVRI
        PXWXDOLQWHUHVWVDOWZDWHUGLVSRVDODJUHHPHQWVZDWHULQMHFWLRQDJUHHPHQWVJDVVWRUDJH
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        SURGXFWLRQVDOHVDJUHHPHQWVDQGDOORWKHUDJUHHPHQWVULJKWVDQGLQWHUHVWVUHODWLQJWRWKH
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        OLPLWDWLRQDOOHDVHPHQWVDSSXUWHQDQWWR)HH/DQGVRU0LQHUDO,QWHUHVWVRUJUDQWHGRU
        UHVHUYHGLQDQ\GRFXPHQWUHIHUHQFHGLQ([KLELW$ SUHVFULSWLYHSRVVHVVRU\RLOJDV
        PLQHUDOUR\DOW\GHIHUUHGDQGUHYHUVLRQDU\LQWHUHVWVDQGULJKWVRWKHUWKDQWKH³.OXYHU
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         I     $OOEXLOGLQJVIL[WXUHVHTXLSPHQWDQGRWKHULPSURYHPHQWVDQGDOOWHQHPHQWV
        KHUHGLWDPHQWVDQGDSSXUWHQDQFHVEHORQJLQJDSSHUWDLQLQJRUUHODWHGWRWKH)HH/DQGV
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       (DVHPHQWV:DWHU5LJKWV0LQHUDO,QWHUHVWVDQG2WKHU,QWHUHVWV WKH³$SSXUWHQDQW
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2WKHU,QWHUHVWVDQG$SSXUWHQDQW5LJKWVDUHFROOHFWLYHO\UHIHUUHGWRKHUHLQDVWKH³3URSHUW\´

7KHGHVFULSWLRQ PHDQLQJKHUHLQERWKZRUGGHVFULSWLRQVDQGVSHFLILFGHVFULSWLRQV RIWKH
3URSHUW\VKDOOEHFRQVWUXHGEURDGO\DQGDVLQFOXVLYHDQGWKHUHVKDOOEHQRLPSOLHGH[FOXVLRQV
EHFDXVHRIWKHVWUXFWXUHRIWKHGHVFULSWLRQRIWKH3URSHUW\RURWKHUZLVH,WLV*UDQWRU¶VLQWHQWWR
PDNHDIXOODQGFRPSOHWHWUDQVIHUWR*UDQWHHRIDOORI*UDQWRU¶VULJKWWLWOHDQGLQWHUHVWLQDQGWR
DQ\DQGDOOUHDOSURSHUW\DQGLQWHUHVWVLQUHDOSURSHUW\RWKHUWKDQWKH.OXYHU3URSHUW\ORFDWHGLQ
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ORFDWHGDQGZKHWKHURUQRWGHVFULEHGRULQDFFXUDWHO\RULQDGHTXDWHO\GHVFULEHGLQ([KLELW$DQG
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*UDQWRU¶VSUHGHFHVVRUVLQWLWOHDQGZLWKIXOOVXEURJDWLRQRIDOOULJKWVDFFUXLQJXQGHUVXFK
FRYHQDQWVDQGZDUUDQWLHVDQGWKHVWDWXWHVRIOLPLWDWLRQUHSRVHRUSUHVFULSWLRQXQGHUWKHODZVRI
0RQWDQDDQGDOOULJKWVRIDFWLRQRIZDUUDQW\DJDLQVWDOOIRUPHURZQHUVRIWKH3URSHUW\

*UDQWRUDJUHHVWRWDNHDOOVXFKIXUWKHUDFWLRQDQGH[HFXWHDFNQRZOHGJHDQGGHOLYHUDOOVXFK
IXUWKHUGRFXPHQWVDVPD\EHUHDVRQDEO\QHFHVVDU\RUXVHIXOWRDFFRPSOLVKWKHSXUSRVHVRIWKLV
'HHGDQGWRHYLGHQFH*UDQWHH¶VLQWHUHVWVRIUHFRUG

7KLV'HHGVKDOOEHELQGLQJXSRQDQGVKDOOLQXUHWRWKHEHQHILWRI*UDQWRUDQG*UDQWHHDQGWKHLU
UHVSHFWLYHVXFFHVVRUVOHJDOUHSUHVHQWDWLYHVDQGDVVLJQV

                     >6LJQDWXUHDQGDFNQRZOHGJPHQWRQWKHIROORZLQJSDJH@




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    Case 22-90054 Document 608-1 Filed in TXSB on 06/20/22 Page 83 of 106




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                                                         3$57,

                           An undivided twenty-five percent (25%) interest as Tenant in
                           Common in and to the real property described in Schedule I
                                                     below.

                                                       SCHEDULE I
                                                    UNIT 4 GENERATION

3DUFHO             7KDW SRUWLRQ RI 6HFWLRQV DQG  LQ 7RZQVKLS 1RUWK 5DQJH (DVW 300
                       GHVFULEHG DV 3DUFHO $PHQGHG RI &HUWLILFDWH RI 6XUYH\ 1R ILOHG
                       'HFHPEHUIRUUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURI5RVHEXG
                       &RXQW\0RQWDQDDVGRFXPHQW1R

3DUFHO             ,QWHQWLRQDOO\GHOHWHGDQGUHSODFHGE\3DUFHOV$%DQG&

3DUFHO$            7KDW SRUWLRQ RI WKH (1( RI 6HFWLRQ DQG :1: RI 6HFWLRQ LQ
                       7RZQVKLS 1RUWK 5DQJH(DVWGHVFULEHGDV7UDFWRI&ROVWULS8QLWDQG
                       &RROLQJ7RZHUV0LQRU6XEGLYLVLRQEHLQJDVXEGLYLVLRQRI3DUFHORI&HUWLILFDWH
                       RI6XUYH\1RDVDPHQGHGE\&HUWLILFDWHRI6XUYH\1RZKLFK0LQRU
                       6XEGLYLVLRQZDVILOHGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURI5RVHEXG&RXQW\
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                       &RROLQJ7RZHUV0LQRU6XEGLYLVLRQEHLQJDVXEGLYLVLRQRI3DUFHORI&HUWLILFDWH
                       RI6XUYH\1RDVDPHQGHGE\&HUWLILFDWHRI6XUYH\1RZKLFK0LQRU
                       6XEGLYLVLRQZDVILOHGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURI5RVHEXG&RXQW\
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                       5DQJH(DVWGHVFULEHGDV7UDFWRI&ROVWULS8QLWDQG*HQHUDWLRQ6LWHV0LQRU
                       6XEGLYLVLRQ EHLQJ D VXEGLYLVLRQ RI 3DUFHO RI &HUWLILFDWH RI 6XUYH\ 1R
                       $PHQGHGILOHGIRUUHFRUGDV'RFXPHQW1RZKLFK0LQRU6XEGLYLVLRQZDV
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    Case 22-90054 Document 608-1 Filed in TXSB on 06/20/22 Page 85 of 106




3DUFHO&   7KDWSRUWLRQRIWKH61(DQG16(RI6HFWLRQLQ7RZQVKLS1RUWK
              5DQJH(DVWGHVFULEHGDV7UDFWRI&ROVWULS8QLWDQG*HQHUDWLRQ6LWHV0LQRU
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              ILOHG LQ WKH RIILFH RI WKH &OHUN DQG 5HFRUGHU RI 5RVHEXG &RXQW\ 0RQWDQD RQ
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3DUFHO    7KDWSRUWLRQRI6HFWLRQLQ7RZQVKLS1RUWK5DQJH(DVW300GHVFULEHGDV
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              %XUOLQJWRQ 1RUWKHUQ 5DLOURDG &RPSDQ\ WR WKH 0RQWDQD 3RZHU &RPSDQ\ D
              0RQWDQD FRUSRUDWLRQ 3DFLILF 3RZHU  /LJKW &RPSDQ\ D 0DLQH FRUSRUDWLRQ
              3RUWODQG *HQHUDO (OHFWULF &RPSDQ\ DQ 2UHJRQ FRUSRUDWLRQ 7KH :DVKLQJWRQ
              :DWHU 3RZHU &RPSDQ\ D :DVKLQJWRQ &RUSRUDWLRQ DQG 3XJHW &ROVWULS
              &RQVWUXFWLRQ &RPSDQ\ D :DVKLQJWRQ FRUSRUDWLRQ GDWHG -DQXDU\ 
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              6HFWLRQ    7KRVHSRUWLRQVRIWKH6EHLQJWZRVHSDUDWHWUDFWVKHUHLQUHIHUUHG
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              IHHWDORQJWKHFRPPRQOLQHEHWZHHQ6HFWLRQDQGWRWKHWUXHSRLQWRI
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              3DUFHOEHJLQQLQJDWWKHFRPPRQFRUQHURI6HFWLRQVDQG715(DQG
              6HFWLRQVDQG715(WKHQFH6¶´:DORQJWKHFRPPRQ/LQHRI
              6HFWLRQV DQG  D GLVWDQFH RI  IHHW WR D SRLQW RQ WKH 6RXWKZHVWHUO\
              ERXQGDU\RIWKH%XUOLQJWRQ5DLOURDGULJKWRIZD\ZKLFKSRLQWLVWKHWUXHSRLQWRI
              EHJLQQLQJWKHQFH6¶´:DORQJWKHFRPPRQOLQHRI6HFWLRQVDQGD
              GLVWDQFHRIIHHWWKHQFH1¶´:DGLVWDQFHRIIHHWWRD
              SRLQWRQWKHVRXWKZHVWHUO\ERXQGDU\RIWKH%XUOLQJWRQ1RUWKHUQ5DLOURDGULJKWRI



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              ZD\WKHQFH6¶´(DORQJWKHVRXWKZHVWHUO\ERXQGDU\RIWKH%XUOLQJWRQ
              1RUWKHUQ5DLOURDGULJKWRIZD\WRWKHSRLQWRIEHJLQQLQJ

              'HVFULSWLRQV DUH IURP D GHHG LQ VHWWOHPHQW RI D FRQGHPQDWLRQ DFWLRQ JLYHQ E\
              %XUOLQJWRQ 1RUWKHUQ 5DLOURDG &RPSDQ\ WR 7KH 0RQWDQD 3RZHU &RPSDQ\ D
              0RQWDQD FRUSRUDWLRQ 3DFLILF 3RZHU  /LJKW &RPSDQ\ D 0DLQH FRUSRUDWLRQ
              3RUWODQG *HQHUDO (OHFWULF &RPSDQ\ DQ 2UHJRQ FRUSRUDWLRQ 7KH :DVKLQJWRQ
              :DWHU 3RZHU &RPSDQ\ D :DVKLQJWRQ FRUSRUDWLRQ DQG 3XJHW &ROVWULS
              &RQVWUXFWLRQ &RPSDQ\ D :DVKLQJWRQ FRUSRUDWLRQ GDWHG -DQXDU\ 
              UHFRUGHGLQ%RRN'HHGVSDJHUHFRUGVRI5RVHEXG&RXQW\0RQWDQD

3DUFHO%   7RZQVKLS1RUWK5DQJH(DVW3005RVHEXG&RXQW\0RQWDQD

              6HFWLRQ7KDWSRUWLRQRI/RWDQGWKH6(1(EHJLQQLQJDWWKHFRPPRQ
              FRUQHURIVDLG6HFWLRQVDQG715(DQG6HFWLRQVDQG715(
              ZKLFKLVWKHWUXHSRLQWRIEHJLQQLQJWKHQFH6C¶´:DORQJWKHFRPPRQ
              OLQHVEHWZHHQ6HFWLRQVDQGDGLVWDQFHRIIHHWWKHQFH6C¶´:
              DGLVWDQFHRIIHHWWRWKHHDVWZHVWPLGVHFWLRQOLQHRI6HFWLRQWKHQFH1
              C¶´(DORQJWKHPLGVHFWLRQOLQHDGLVWDQFHRIIHHWWRWKHTXDUWHU
              VHFWLRQ FRUQHU FRPPRQ WR 6HFWLRQV DQG  WKHQFH 1 C ¶ ´ : DORQJ WKH
              FRPPRQOLQHEHWZHHQ6HFWLRQVDQGDGLVWDQFHRIIHHWWRWKHWUXHSRLQW
              RIEHJLQQLQJ

              'HVFULSWLRQV DUH IURP D GHHG LQ VHWWOHPHQW RI D FRQGHPQDWLRQ DFWLRQ JLYHQ E\
              %XUOLQJWRQ 1RUWKHUQ 5DLOURDG &RPSDQ\ WR 7KH 0RQWDQD 3RZHU &RPSDQ\ D
              0RQWDQD FRUSRUDWLRQ 3DFLILF 3RZHU  /LJKW D 0DLQH FRUSRUDWLRQ 3RUWODQG
              *HQHUDO(OHFWULF&RPSDQ\DQ2UHJRQFRUSRUDWLRQ7KH:DVKLQJWRQ:DWHU3RZHU
              &RPSDQ\D:DVKLQJWRQFRUSRUDWLRQGDWHG-DQXDU\UHFRUGHGLQ%RRN
              'HHGVSDJHUHFRUGVRI5RVHEXG&RXQW\0RQWDQD

3DUFHO    7RZQVKLS1RUWK5DQJH(DVW3005RVHEXG&RXQW\0RQWDQD

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              6HFWLRQ6

              7RZQVKLS1RUWK5DQJH(DVW3005RVHEXG&RXQW\0RQWDQD

              6HFWLRQ$OO
              6HFWLRQ/RWVDQG6(61((6:6(1:

              5HFRUGLQJ5HIHUHQFH:DUUDQW\'HHGUHFRUGHG6HSWHPEHULQ%RRN
              'HHGVSDJH 

3DUFHO$   7RZQVKLS1RUWK5DQJH(DVW3005RVHEXG&RXQW\0RQWDQD

              6HFWLRQ1(1:11(
              6HFWLRQ11:



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3DUFHO    (DVHPHQWVDQGULJKWVRIZD\PRUHSDUWLFXODUO\GHVFULEHGLQGRFXPHQWVUHFRUGHGLQ
              WKH RIILFH RI WKH &OHUN DQG 5HFRUGHU RI 5RVHEXG &RXQW\ 0RQWDQD XQGHU WKH
              IROORZLQJ ERRN DQG SDJH QXPEHUV ZKLFK GRFXPHQWV DUH LQFRUSRUDWHGKHUHLQ E\
              WKLVUHIHUHQFHDQGPDGHDSDUWKHUHRI

              %RRN'HHGV            3DJH
              %RRN'HHGV            3DJH
              %RRN'HHGV            3DJH
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              %RRN'HHGV            3DJH
              %RRN'HHGV            3DJH

              An undivided 12.5% of the real property described in Schedule II below.

                                          SCHEDULE II
                                        UNITS 3 & 4 OTHER

3DUFHO    7KDWSRUWLRQRI6HFWLRQLQ7RZQVKLS1RUWK5DQJH(DVW300GHVFULEHG
              DV7UDFW$$RI&HUWLILFDWHRI6XUYH\1RILOHG-XO\IRUUHFRUGLQ
              WKHRIILFHRIWKH&OHUNDQG5HFRUGHURI5RVHEXG&RXQW\0RQWDQDDV'RFXPHQW
              1R

3DUFHO    ,QWHQWLRQDOO\GHOHWHG

3DUFHO    7KDWSRUWLRQRI6HFWLRQLQ7RZQVKLS1RUWK5DQJH(DVW300GHVFULEHG
              DV7UDFW$RI$PHQGHG7UDFW$RI$PHQGHG7UDFWRI&HUWLILFDWHRI6XUYH\
              1RILOHG2FWREHUIRUUHFRUGLQWKH&OHUNDQG5HFRUGHURI5RVHEXG
              &RXQW\0RQWDQDDV'RFXPHQW1R

3DUFHO    7KDWSRUWLRQRI6HFWLRQLQ7RZQVKLS1RUWK5DQJH(DVW300GHVFULEHG
              DV 7UDFW $PHQGHG RI &HUWLILFDWH RI 6XUYH\ 1R ILOHG 0D\  IRU
              UHFRUG LQ WKH RIILFH RI WKH &OHUN DQG 5HFRUGHU RI 5RVHEXG &RXQW\ 0RQWDQD DV
              'RFXPHQW1RH[FHSWLQJWKHUHIURP

              D 7UDFWRI&HUWLILFDWHRI6XUYH\1R

              E &DVWOH5RFN/DNH6XEGLYLVLRQ)LUVW)LOLQJ'RFXPHQW1R

              F &DVWOH5RFN/DNH6XEGLYLVLRQ6HFRQG)LOLQJ'RFXPHQW1R

              G &DVWOH5RFN/DNH6XEGLYLVLRQ7KLUG)LOLQJ'RFXPHQW1R

              H &LPDUURQ6XEGLYLVLRQ)LUVW)LOLQJ'RFXPHQW1R

              I  3ODWRI$PHQGHG/RWVDQG%ORFN&LPDUURQ6XEGLYLVLRQ)LUVW)LOLQJ
                  'RFXPHQW1R



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              J $PHQGHG3ODWRI&LPDUURQ6XEGLYLVLRQ6HFRQG)LOLQJ'RFXPHQW1R

               K &LPDUURQ6XEGLYLVLRQ7KLUG)LOLQJ'RFXPHQW1R
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3DUFHO    7KDW SRUWLRQ RI 6HFWLRQV DQG  LQ 7RZQVKLS 1RUWK 5DQJH (DVW 300
              GHVFULEHGDV7UDFWRI&HUWLILFDWHRI6XUYH\1RILOHG$XJXVWIRU
              UHFRUG LQ WKH RIILFH RI WKH &OHUN DQG 5HFRUGHU RI 5RVHEXG &RXQW\ 0RQWDQD DV
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3DUFHO    7KDWSRUWLRQRI6HFWLRQLQ7RZQVKLS1RUWK5DQJH(DVW300GHVFULEHG
              DV7UDFWRI&HUWLILFDWHRI6XUYH\1RILOHG$XJXVWIRUUHFRUGLQ
              WKHRIILFHRIWKH&OHUNDQG5HFRUGHURI5RVHEXG&RXQW\0RQWDQDDV'RFXPHQW
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3DUFHO    7KDWSRUWLRQRI6HFWLRQLQ7RZQVKLS1RUWK5DQJH(DVW300GHVFULEHG
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3DUFHO    7KDWSRUWLRQRI6HFWLRQLQ7RZQVKLS1RUWK5DQJH(DVW300GHVFULEHG
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              WKHRIILFHRIWKH&OHUNDQG5HFRUGHURI5RVHEXG&RXQW\0RQWDQDDV'RFXPHQW
              1R

3DUFHO    7KDWSRUWLRQRI6HFWLRQLQ7RZQVKLS1RUWK5DQJH(DVW300GHVFULEHG
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              1R VXEMHFW WR 'HGLFDWLRQ RI 7UDFW $ 3LQHEXWWH 'ULYH  DV D SXEOLF
              URDGZD\




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3DUFHO    7RZQVKLS1RUWK5DQJH(DVW3005RVHEXG&RXQW\0RQWDQD

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              ([SDQVLRQ5RVHEXG&RXQW\0RQWDQDDFFRUGLQJWRWKHRIILFLDOSODWWKHUHRIRQILOH
              DQG RI UHFRUG LQ WKH RIILFH RI WKH &OHUN DQG 5HFRUGHU RI VDLG &RXQW\ XQGHU
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              68%',9,6,215RVHEXG&RXQW\0RQWDQDDFFRUGLQJWRWKHRIILFLDOSODWWKHUHRI
              RQILOHDQGRIUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURIVDLG&RXQW\XQGHU
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              %ORFN /RW %ORFN /RWV DQG  %ORFN DQG /RW %ORFN RI 7KH
              $PHQGHG3ODWRI6:((7*5$6668%',9,6,21)LUVW)LOLQJ5RVHEXG&RXQW\
              0RQWDQDDFFRUGLQJWRWKHRIILFLDOSODWWKHUHRIRQILOHDQGRIUHFRUGLQWKHRIILFHRI
              WKH&OHUNDQG5HFRUGHURIVDLG&RXQW\XQGHU'RFXPHQW1R

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              68%',9,6,215RVHEXG&RXQW\0RQWDQDDFFRUGLQJWRWKHRIILFLDOSODWWKHUHRI
              RQILOHDQGRIUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURIVDLG&RXQW\XQGHU
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              68%',9,6,21 6HFRQG )LOLQJ 5RVHEXG &RXQW\ 0RQWDQD DFFRUGLQJ WR WKH


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              RIILFLDOSODWWKHUHRIRQILOHDQGRIUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURI
              VDLG&RXQW\XQGHU'RFXPHQW1R

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              RIUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURIVDLG&RXQW\XQGHU'RFXPHQW
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              RIUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURIVDLG&RXQW\XQGHU'RFXPHQW
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              6:((7*5$66 $&5($*( 75$&76 68%',9,6,21  7KLV 6XEGLYLVLRQ 3ODW
              $PHQGV D SRUWLRQ RI $PHQGHG 3ODW RI 6ZHHWJUDVV 6XEGLYLVLRQ )LUVW )LOLQJ
              6ZHHWJUDVV 6XEGLYLVLRQ 6HFRQG )LOLQJ DQG D SRUWLRQ RI $PHQGHG 3ODW RI
              6ZHHWJUDVV6XEGLYLVLRQ7KLUG)LOLQJ5RVHEXG&RXQW\0RQWDQDDFFRUGLQJWRWKH
              RIILFLDOSODWWKHUHRIRQILOHDQGRIUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURI
              VDLG&RXQW\XQGHU'RFXPHQW1R

              /RWV    DQG  %ORFN DQG /RW %ORFN RI &,0$5521
              68%',9,6,21 6HFRQG )LOLQJ 5RVHEXG &RXQW\ 0RQWDQD DFFRUGLQJ WR WKH
              RIILFLDOSODWWKHUHRIRQILOHDQGRIUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURI
              VDLG&RXQW\XQGHU'RFXPHQW1R

              /RWVDQG%ORFN/RWV
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              SODWWKHUHRIRQILOHDQGRIUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURIVDLG
              &RXQW\

              /RW%%ORFNDQG/RWV%DQG%ORFNRI&,0$552168%',9,6,21
              7KLUG)LOLQJ5RVHEXG&RXQW\0RQWDQDDFFRUGLQJWRWKHRIILFLDOSODWWKHUHRIRQ
              ILOHDQGRIUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURIVDLG&RXQW\XQGHU
              'RFXPHQW1R

              /RWV$ % DQG & %ORFN RI WKH 6HFRQG $PHQGHG 3ODW RI %ORFN RI
              67,//:$7(5 68%',9,6,21 5RVHEXG &RXQW\ 0RQWDQD DFFRUGLQJ WR WKH
              RIILFLDOSODWWKHUHRIRQILOHDQGRIUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURI
              VDLG&RXQW\XQGHU'RFXPHQW1R

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              DFFRUGLQJWRWKHRIILFLDOSODWWKHUHRIRQILOHDQGRIUHFRUGLQWKHRIILFHRIWKH&OHUN
              DQG5HFRUGHURIVDLG&RXQW\XQGHU'RFXPHQW1R


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              /RWLQ%ORFNDQG/RWVDQGLQ%ORFNRIWKH&255(&7('3/$72)
              7+($0(1'('3/$72)%/2&.6$1'2)&2/675,372:16,7(
              5RVHEXG &RXQW\ 0RQWDQD DFFRUGLQJ WR WKH RIILFLDO SODW WKHUHRI RQ ILOH DQG RI
              UHFRUG LQ WKH RIILFH RI WKH &OHUN DQG 5HFRUGHU RI VDLG &RXQW\XQGHU 'RFXPHQW
              1R

3DUFHO    ,QWHQWLRQDOO\GHOHWHG

               An undivided 12.5% of the Colstrip Units 3 and 4 interest in the
                Common Facilities real property as allocated by the Common
               Facilities Agreement in the real property described in Schedule
                                          III below.

                                   SCHEDULE III
                            COMMON FACILITIES - ALL UNITS

3DUFHO    7KDW SRUWLRQ RI 6HFWLRQV DQG  LQ 7RZQVKLS 1RUWK 5DQJH (DVW 300
              GHVFULEHG DV 3DUFHO% &HUWLILFDWH RI 6XUYH\ 1R ILOHG -DQXDU\  IRU
              UHFRUG LQ WKH RIILFH RI WKH &OHUN DQG 5HFRUGHU RI 5RVHEXG &RXQW\ 0RQWDQD DV
              'RFXPHQW1R

3DUFHO    7KDW SRUWLRQ RI 6HFWLRQV DQG  LQ 7RZQVKLS 1RUWK 5DQJH (DVW 300
              GHVFULEHGDV3DUFHO&RI&HUWLILFDWHRI6XUYH\1RILOHG-DQXDU\IRU
              UHFRUG LQ WKH RIILFH RI WKH &OHUN DQG 5HFRUGHU RI 5RVHEXG &RXQW\ 0RQWDQD DV
              'RFXPHQW1R

3DUFHO    7KDW SRUWLRQ RI 6HFWLRQ LQ 7RZQVKLS 1RUWK 5DQJH (DVW  6HFWLRQ LQ
              7RZQVKLS 1RUWK 5DQJH (DVW 300 GHVFULEHG DV 7UDFW+ 7UDFW+
              7UDFW+RI&HUWLILFDWHRI6XUYH\1RILOHG0DUFKIRUUHFRUGLQWKH
              RIILFH RI WKH &OHUN DQG 5HFRUGHU RI 5RVHEXG &RXQW\ 0RQWDQD DV 'RFXPHQW
              1R

3DUFHO    7KDWSRUWLRQRI6HFWLRQLQ7RZQVKLS1RUWK5DQJH(DVW300GHVFULEHGDV
              3DUFHO*RI&HUWLILFDWHRI6XUYH\1RILOHG0DUFKIRUUHFRUGLQWKH
              RIILFH RI WKH &OHUN DQG 5HFRUGHU RI 5RVHEXG &RXQW\ 0RQWDQD DV 'RFXPHQW
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3DUFHO    7KDWSRUWLRQRI6HFWLRQLQ7RZQVKLS1RUWK5DQJH(DVW300GHVFULEHG
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              IRUUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURI5RVHEXG&RXQW\0RQWDQDDV
              'RFXPHQW1RH[FOXGLQJWKHUHIURPDWUDFWRIODQGGHVFULEHGDV3DUFHO$
              %RI&HUWLILFDWHRI6XUYH\

3DUFHO    7KDW SRUWLRQ RI 6HFWLRQV DQG  LQ 7RZQVKLS 1RUWK 5DQJH (DVW 300
              GHVFULEHGDV3DUFHO)$PHQGHGDQG3DUFHO)$PHQGHGRI&HUWLILFDWHRI6XUYH\
              1RILOHG0D\IRUUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURI
              5RVHEXG&RXQW\0RQWDQDDV'RFXPHQW1R



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3DUFHO    7KDWSRUWLRQRI6HFWLRQLQ7RZQVKLS1RUWK5DQJH(DVW300GHVFULEHG
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               IRU UHFRUG LQ WKH RIILFH RI WKH &OHUN DQG 5HFRUGHU RI 5RVHEXG &RXQW\
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3DUFHO    7KDWSRUWLRQRI6HFWLRQLQ7RZQVKLS1RUWK5DQJH(DVW300GHVFULEHG
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              %DQG'ILOHG-XO\IRUUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHU
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              DV7UDFW$DQG7UDFW&RI&HUWLILFDWHRI6XUYH\1RILOHG)HEUXDU\
              IRUUHFRUGLQWKHRIILFHRIWKH&OHUNDQG5HFRUGHURI5RVHEXG&RXQW\0RQWDQDDV
              'RFXPHQW1R

3DUFHO    7KDW SDUFHO FRPPHQFLQJ DW WKH VHFWLRQ FRUQHU FRPPRQ 6HFWLRQV 7KLUWHHQ  
              )RXUWHHQ  7ZHQW\WKUHH  DQG7ZHQW\IRXU  7RZQVKLS6L[  1RUWK
              RI 5DQJH 7KLUW\QLQH  (DVW 030 5RVHEXG &RXQW\ 0RQWDQD UXQQLQJ
              WKHQFH QRUWKHUO\ DORQJ WKH VHFWLRQ OLQH FRPPRQ WR 6HFWLRQV )RXUWHHQ  DQG
              7KLUWHHQ  WR WKH <HOORZVWRQH 5LYHU UXQQLQJ WKHQFH VRXWKHDVWHUO\ DORQJ WKH
              <HOORZVWRQH5LYHUWRDSRLQWZKHUHWKHVRXWKERXQGDU\OLQHRI6HFWLRQ7KLUWHHQ
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              RI WKH VDLG 6HFWLRQ 7KLUWHHQ  WR WKH SRLQW RI EHJLQQLQJ FRQWDLQLQJ LQ DOO
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              DQGIRUWKH&RXQW\RI5RVHEXGUHFRUGHG0DUFKLQ%RRN2UGHUVDQG
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              0RQWDQD

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              IROORZLQJ%RRNDQG3DJHQXPEHUVZKLFKGRFXPHQWVDUHLQFRUSRUDWHGKHUHLQE\
              WKLVUHIHUHQFHDQGPDGHDSDUWKHUHRI

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               An undivided 12.5% of the real property described in Schedule
                                        IV below.

                                   SCHEULDE IV
                        COLSTRIP COMM SERV, LLC - PROPERTY

              7RZQVKLS1RUWK5DQJH(DVW030

              6HFWLRQ/RWV    16(61(6(1:OHVVDQGH[FHSW
              WKHH[LVWLQJ5DLOURDG5LJKWRIZD\EHLQJWKH1RUWKHUQ3DFLILF5DLOZD\&RPSDQ\¶V
              &RZ&UHHN([WHQVLRQRILWV5RVHEXG%UDQFKOLQHULJKWRIZD\

              7RZQVKLS1RUWK5DQJH(DVW030

              6HFWLRQ  /RW    OHVV DQG H[FHSW  DFUHV RI WKH %XUOLQJWRQ 1RUWKHUQ
              5DLOURDG5LJKWRIZD\

              6HFWLRQ/RWV    6(1:1(6:16(61(
              OHVVDQGH[FHSW7UDFWDVGHVFULEHGLQ(DVHPHQW'HHG1R(GDWHG2FWREHU
              UHFRUGHGLQ%RRN'HHGV3DJHRQ'HFHPEHU5RVHEXG
              &RXQW\ 0RQWDQD DQG OHVV DQG H[FHSW WKDW SRUWLRQ RI WKH %XUOLQJWRQ 1RUWKHUQ
              5LJKWRIZD\ORFDWHGLQ/RWVDQG

              6HFWLRQ  1( 61: 6 OHVV DQG H[FHSW  $R RI WKH %XUOLQJWRQ
              1RUWKHUQ 5DLOURDG 5LJKWRIZD\ DQG OHVV DQG H[FHSW 7UDFW  DV GHVFULEHG LQ
              (DVHPHQW'HHG1R(GDWHG2FWREHUUHFRUGHGLQ%RRN'HHGV
              3DJHRQ'HFHPEHU5RVHEXG&RXQW\0RQWDQD




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              6HFWLRQ(O\LQJQRUWKDQGHDVWRIWKHQRUWKDQGHDVWERXQGDU\OLQHRI7UDFW
              DVGHVFULEHGLQ(DVHPHQW'HHG1R(GDWHG2FWREHUUHFRUGHGLQ
              %RRN'HHGV3DJHRQ'HFHPEHU5RVHEXG&RXQW\0RQWDQDDQG
              O\LQJQRUWKDQGZHVWRIWKH&RZ&UHHN5RDGDVQRZHVWDEOLVKHGLQWKH((DQG
              DVUHFRUGHGLQWKH&RXQW\5RDG%RRN5RVHEXG&RXQW\0RQWDQD




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FXELFIHHWSHUVHFRQGRIZDWHUDVVLJQHGWR&ROVWULS&RPPXQLW\6HUYLFH&RPSDQ\E\LQVWUXPHQW
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H[SUHVVGHVFULSWLRQRIWKHVHFWLRQRIWKLV'LVFORVXUH6FKHGXOHDVVHWIRUWKLQWKH$JUHHPHQW




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